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                                                                 1cI5zs
                                                        Volume          III   of IV



                                               CLERKS RECORD
                                               TRIAL      COURT NO.08CRO333

             In the   122ND District Court of Galveston        County Texas.       Honorable     JOHN ELLISOR          Judge Presiding


                                                      THE STATE OF TEXAS                                                RECEIVED          IN

                                                                                                               COURT OF CRIMINAL APPEALS
                                                                   vs.

                                                                                                                          JUL       05 2011
                                                  TRAVIS JAMES MULLIS


  Appealed     to the   Court of Criminal Appeals        for   Texas      in Austin    Texas.                    Louise Pearson Clerk
              for Appellant                                         Attorney      for Appellee
  Attorney

 Name TRAVIS JAMES MULLIS                                           JACK ROADY Criminal District Attorney
 Address POLUNSKY UNIT                                              600 59TH STREET SUITE 1001
         3872 FM 350 SOUTH                                              Galveston Texas 77551                                  FILED     IN
              LIVINGSTON          Texas   77351
                                                                                                               COURT OF CRIMINAL              APPEALS
                                                                        Phone   No.   409 766-2355
  TDCJ       999563                                                     Bar No.   24027780
                                                                                                                           J   UL   05 2011
                                                                                                               461-
  De ivered    to the Court of Criminal     Appeals   for Texas in Austin         Texas by mail on the                   day of

                              12011.
                                                                                                                  Louise Pearson Clerk

                                            anon b.
                                                       JASON E. MURRAY
                                                            District Clerk

                                                          Galveston County



                                       By
                                                                                      eputy
                                                                                                  _
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  Court of Criminal     Appeals   Cause No. AP-76525


  Filed in the Court of Criminal Appeals    Austin    Texas on   this   the           day of                          12011.



                                                  LOUISE PEARSONS                 CLERK

                                                                                                       Clerk
                                  By                                                          Deputy




                                                                                      SCANNED
                                                                                      -4           DATE
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                                                      CASE NUMBER 08CR0333


  THE STATE OF TEXAS                                                                       IN    THE 122nd DISTRICT COURT
           VS

  TRAVIS JAMES MULLIS                                                                      GALVESTON      COUNTY TEXAS
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                                                                   CAUSE NO. 08-38-72


THE STATE OF TEXAS                                                                                   IN    THE DISTRICT COURT QF


Vs.                                                                                                  GALVESTON COUNTY TEXAS


TRAVIS JAMES MULLIS                                                                                   122         JUDICIAL                DISTRICT.



        MOTION FOR DISCOVERY PRODUCTION AND RULE 702/705 HEARING


             COMES NOW                         ROBERT              K.    LOPER and GERALD BOURQUE                                                  attorneys for the

Defendant       TRAVIS .JAME MULLIS                                       and pursuant                to   the   51h 6i 8h and 101                  Amendments to
      United
the              States            Constitution            and      Article          1        sections       3     10     13         15           19    of   the     Texas

Constitution          and     further         pursuant       to    Tex.       Code           Crim. Proc. arts. 39.14                  a and b and                  Tex.   R.

Evid.   104 702         703 and 705.                 In                  thereof the Defendant would                           show the following
                                                          support




         1.     The     Defendant              has      been   indicted        by the Harris County grand                                                                 of
                                                                                                                                          jury for the       offense

        capital       murder



        2.    The      State       is   seeking the death                penalty




        3.     The     Defendant              anticipates         that    during             trial   of this case       the    State       will    call   one or more

        witnesses           who         will    offer     opinions         that        are      either     scientific     in    nature           or are    based     upon

        personal        training          or experience.                The    admissibility               of such      opinions           are    governed     by Tex.
        R.    Evid.     702         703 705 and                Daubert          v.       Merrell          Dow     Pharms.            113    S.    Ct.   2786    1993
        Kumho          Tire        Co.   v.    Carmichael            119 S. Ct.               1167     1999          Kelly      v.   State        824 S.W.2d         568
        573 Tex.            Crim. App.            1992 and Jordan                      v.    State     928 S.W.2d         550 Tex.               Crim. App.         1996
        and Nenno             v.   State        970 S.W.2d              549 Tex.              Crim.        App. 1998 overruled                     in part    on other

        grounds.



        4.      The proponent                  of scientific        evidence                bears the burden            of demonstrating                  by clear    and

        convincing            evidence           that     the evidence            is        reliable.      This    is   accomplished               by showing         1
        the    validity       of the underlying                   scientific       theory             2    the    validity     of the technique               applying

        the   theory and            3         proper      application         of the technique                   on the occasion             in question.          Kelly

        824 S.W.2d             at 573.




        Prior    to   the offer          of scientific         evidence           the         trial   court must conduct                  a hearing        outside the


                                                                                     1




                                                                                                                                                                               nnn
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           presence          or Inc jury to determine                      whether              the   proponent           has established                     all   three       criteria.


           This pre-admission                    determination               is   required whether the science at issue                                        is   novel       or well

           established.             Jacksnn        v.    State       17 S.W.3d             664 Tex. Crim. App. 2000.



           5.     The    United        States       Supreme Court has said



                        Faced         with a proffer               of expert scientific                 testimony          then     the           trial


                        judge        must determine                 at the     outset           pursuant       to   Rule     104a
                        whether        the       expert       is   proposing          to    testify to        1      scientific         knowledge
                        that    2      will assist the              trier of fact          to    understand          or determine                  a fact

                        in issue.          This entails a preliminary                           assessment          of the reasoning or

                        methodology underlying the testimony                                          is scientifically           valid           and of
                        whether        that       reasoning          or methodology properly can                             be applied                 to

                        the    facts    in issue.




           Daubert           113 S. Ct. at          482


           6.       This      Court        must find           that      the      opinion            evidence        is    not   only reliable                      but    that     it    is



           relevant under              Tex.       R.     Evid.       401       that   it    meets the standard                    set        in    Rule        702 and           that     it




           assists      the     trier of fact            in understanding                       the    evidence           in determining                      a fact      in    issue.

           If the    trial    judge        finds        the   proposed            expert         testimony          meets        both the Rule 401                        and Rule

           702 requirements                     then the judge           must perform                   a Rule      403     analysis              to   determine            whether

           the    evidence           should        in    fact       be   presented              to    the jury.      Morales            v.    State           32 S.W.3d             862

           Tex.     Crim. App.             2000          at   page 6



           This     Court      is    the    gatekeeper                that     must screen expert testimony                                  for scientific             reliability.


           Evidentiary reliability                 is    based        on     scientific          validity.         Jordan        928 S.W.2d                    at   6

7.   The    Texas       Court         of Criminal              Appeals            identified            the   following           factors              that    the      trial    judge

could   consider        in performing              its   gatekeeper function



                        a       the    extent            to    which         the      underlying              scientific         theory                and      technique           are


                      accepted             as    valid        by the relevant scientific                      community if such                          a community                can

                      be ascertained




                        b      the    qualifications               of the experts testifying




                        c       the    existence              of literature           supporting              or    rejecting       the           underlying              scientific


                                     and technique                   specifically                this    Court       should        be         provided              citations            to
                     theory


                                                                                      2




                                                                                                                                                                                               nnc
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                        empirical          studies         supporting         the   opinion         and    citations     to    articles     or chapters       in


                        scientific         treatises       or journals supporting                 the   opinion.




                         d     the    potential          rate    of error of the technique



                        e     the    availability          of other experts to test and evaluate                       the    technique




                        f   the clarity            with which the underlying scientific                         theory and technique           can    be

                         explained          to     the   court




                         g     the    experience                and   skill   of the persons who                  applied       the   technique       on     the


                        occasion       in question.




             Kelly 824 S.W.2d               at     573.



              Should the Court determine that the testimony to be offered is in a field of science that
             8.

is   based upon experience and training as opposed to a scientific method the Courts review of
the   reliability of the science is even more important and the Court must find




                        a   whether         the      field      of expertise is a legitimate              one



                       b    whether          the subject           matter     of the experts            testimony       is   within the scope         of that

                        field and




                       c      whether            the      experts        testimony        properly          relies     upon      and/or      utilizes       the


                       principles       involved           in the field.




           Nenno 970 S.W.2d                   at    561.




      9.      The     Court     of Criminal                Appeals        in    Nenno        v.     State       970    S.W.2d         549   Tex.      Crim.

             App.1998         said     that        not    only were       the criteria            described      in   Kelly    peer review           rate    of

             error etc.       not categorically                 ruled out     when reviewing              the   reliability     of opinions      based      on

             soft science            but    in     addition        the Court        listed    the following            additional         criteria   for    the


             trial   court to consider




                                    i interviews conducted by                       the   witness while in the field in which he is to


                       express and opinion




                                                                                3




                                                                                                                                                                   nnc
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                                    ii          the    facts     of the cases             in which       he conducted                 those interviews




                                    iii statistical research performed in the                                        field       in   which          the        witness

                   is    to    express           an      opinion.             Specifically         the        witness        should            provide            to    the


                   Court           data collected                by the witness or those under                               his      or her supervision

                   and        provide            the         data       collection         instruments              that         were     used             the         data

                   collection              procedures                and      the     statistical        analysis applied                  to        the        date     in


                   forming           the       opinion          to   be proffered.




      10.         The        United            States        Supreme Court                has held        that      the reliability standard announced

      in    Dauhert applies                      to    all     expert         testimony          regardless of whether                         it    is    scientific          expert

      testimony              or clinical              opinion        expert         testimony.          Kumho Tire                 Co.    v.        Carmichael                119   S.


      Ct.    1167 1999.                   All of the material that                        is    sought by this motion                     is   relevant to reliability

      of opinions              based           upon soft or hard science                           testimony.               The         Supreme Court of Texas

      has held that                Daubert             and therefore               Robinson         applies to             all   expert         testimony-Whether

      the    expert           would             opine         on economic                 valuation            advertising                psychology                    emphasis

      added or engineering                                   application            of    the    Daubert            factors        is     germane                to    evaluating

      whether           the        expert        is    a hired           gun or a person                 whose         opinion            in        the     courtroom            will


      withstand              the    same         scrutiny            that     it   would among                his    professional                   peers. Gammill                  v.




     Jack         Williams              Chevrolet 972                     S.W.2d          713      725        Tex. 1998                   affirmed in                    part    and

      reversed in part.




     11.      So        as    to    aid    the Court              in    its   gatekeeping                function           to    determine               the reliability of

     the    offered opinion the                          State       should         be required          to    provide           the Court                 at    least    30 days

    prior    to    trial       the following




                  a      a concise               and         specific       statement           of each        expert        opinion            the        State       intends      to


                  introduce             at trial




                  b      the        name address                     and curriculum               vita    of each            witness           the        State        intends      to


                  qualify          as   an exert in order to present such testimony




                  c      all        literature             supporting              or rejecting      the underlying                     theory            methodology or

                  technique             used          or     relied                  by each        State        witness           that    will           provide         opinion
                                                                         upon

                  testimony               at    trial.         This       information            will     allow        the        Court         to    determine               if the


                  relevant          theory methodology or technique                                       has       been subjected                    to        review        by the


                                                                                      4




                                                                                                                                                                                         A   7
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                witnessess                peers     and if the purported                  science       is   generally accepted                    in the      field.




                 d       the         results        of any         tests      that        have     been           performed          on        the        science        or


                methodology                  relied        upon         by    each        State        witness        that        will        provide          opinion

                testimony            at    trial.       This information               will     allow the Court              to    determine              if the    basis


                for the       opinion            has been        or can      be subjected          to   testing       to   determine            its      reliability




                    e        the     names of each person about                           whom a witness              to    be called          by the         state     has


                expressed             an    opinion         in    the     past      and     the   opinion           expressed            as    to     each         by   the


                States         witness.           This     information             will   allow     the       Court    to    determine              if a      known or

                potential           rate    of error exists




                  ta         listing       of any standards               that      control the          technique           or    methodology used                      to


                arrive       at    any     opinion        that    may be expressed                 at    trial.     This will            allow        the     Court      to


                determine             if there      is   an accepted               protocol for gathering                   relevant information                        and

                interpreting              that    information           in arriving        at   an opinion



                g        the       qualifications          that    allow         the   witnesses             to   form and express                  the       opinions.

                This     will        allow        the    Court     to    determine            if the    opinion        of the witness                    is   based     on

                scientific          knowledge            and training            or is merely an opinion                    based        on personal belief

                bias    or prejudice.




                h        a    list   of each interview conducted                           by the witness while                     in the         field      in   which

                he is to express and opinion




                i       the facts          in each       of the cases         in    which he conducted                     those interviews




                j      statistical         research performed in the field in which the witness                                               is    to
                                                                                                                                                          express an

                opinion        with supporting              documentation                  as   outlined in Paragraph                    9 iii above.




     12.   In   Nenno        the     court said




                 To the extent that a fact finder could decide that the absence                                                      of peer

                review         casts       doubt        on the credibility             of the testimony such                      affects      the


                                   weight of the evidence                    rather       than    its   admissibility.




                                                                             5




                                                                                                                                                                              ann
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                      Nenno 970 S.W.2d                      at    562.    If   some        of the described                    material goes        to   the     weight

        that    a jury should            give      the     testimony           as    is   stated       in   Nenno         then          should    be                     to
                                                                                                                                  it
                                                                                                                                                         provided

        the    Defendant                 impeachment                                under        Unites      States
                                    as                            material                                                v.
                                                                                                                                Bagley 473 U.S. 667                    105

        S. Ct.       3375 87 L.           Ed. 2d 481.             In   addition and as provided                       for      in Tex.        C. Crim. Proc.           Art.


        39.14a             counsel       for the      Defendant           should          be given          the    opportunity           to    not only examine

        but to copy any documents                          that   are                       to    the   Court                                   Order.
                                                                         provided                                    pursuant to         its




WHEREFORE                   PREMISES                CONSIDERED                            Counsel           for    the     Defendant            prays     that        upon

        hearing of this motion                  the      Court



1   Order      the    State    to    provide        to     the    Court        those documents                    that    have         been    identified        in    this

        motion        as   being important to the Courts gatekeeping                                              function




2   Order that       counsel        for the     Defendant              be allowed           to    photocopy each of the documents                                if
                                                                                                                                                                      any
        produced           by the    State    in    support of the witnesss opinion                                testimony



3   Order that       this matter         be set for a pre-trial hearing                          at   which the          State    be required to establish

        under    the cited      authority             the reliability of                                      that    are to      be offered at trial
                                                                         any                opinions




4   Order that       this hearing         be    set sufficiently               in    advance of trial so that                    the     accused       can   arrange

       for
              necessary        rebuttal       testimony            should
                                                                                any       of the States              opinion        testimony          be found         to

       be scientifically            reliable       and     helpful       to    the   trier of fact           and



5 Such       other and further            relief      to   which        the    Defendant or his counsel may show himself                                          to   be

       entitled.




                                                                                          Respectfully             Submitted
                                                                                      t




                                                                                          ROBE                                 ER
                                                                                          SBN 12562300
                                                                                          111 West           15h Street

                                                                                          Houston           Tx 77008
                                                                                          713-880-9000office
                                                                                          713-869-9912 fax




                                                                                6




                                                                                                                                                                              AA
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                                                                      GERALD BOUR UE
                                                                      SBN 02716500
                                                                      24 Waterway  Ave. 660
                                                                      The   Woodlands Tx 77380
                                                                      713-862-7766office
                                                                      832-813-0321 fax


                                                                      ATTORNEYS         FOR DEFENDANT


                                          CERTIFICATE                OF SERVICE

         I
             hereby   certify   that   a true   and    correct   copy of the above and foregoing   instrument   has



been   furnished to counsel       for the   State     by hand-delivery      of a copy of same   onl-          2010.




                                                                      ROBERT       K. LOP




                                                                                                        wJ




                                                                                                         C1
                                                                                                         N




                                                                 7




                                                                                                                      A 4   A
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                                                 CAUSE NO.

08-397-2-THE
        STATE OF TEXAS                                            IN THE     DISTRICT COURT OF


Vs.                                                               GALVESTON COUNTY TEXAS


TRAVIS .LAME MULLIS                                               122ND    JUDICIAL DISTRICT


                                                      ORDER


BE IT REMEMBERED                that    on the   iday of             jCG         t   l              201   Q came
to   be considered   the   Defendants     MOTION FOR DISCOVERY PRODU                      TION AND

RULE 702/705 HEARING.                  The court is of the opinion   the   motion should be   in all things




          GRANTED

          DENIED




                                                              J    D E PRESIDING




                                                         8




                                                                                                                   A 4 4
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                                                                                                  X333
                                                               CAUSE NO. 08-3892


THE STATE OF TEXAS                                                                          IN     THE DISTRICT COURT OF


Vs.                                                                                          GALVESTON COUNTY TEXAS


 TRAVIS JAMES MULLIS                                                                         122ND JUDICIAL DISTRICT


  MOTION TO FIND THAT TEX. CODE CRIM. PROC. ART.                                                                       37.071          Sec.   2   2b1               IS

                        UNCONSTITUTIONAL
                                                         Future Danger Issue

TO THE HONORABLE JUDGE OF SAID COURT

           COMES NOW TRAVIS JAMES MULLIS                                                          Defendant          in    the     above          cause        by   and


through         counsel        and pursuant       to    the      51h    61h      8th    and        14th   Amendments                  to   the    United        States




Constitution           and Article       1   Sections          3 10 13          and 19 of the Texas Constitution                                 and moves the


Court     to    find    that    Tex.    Code     Crim.         Proc.    art.    37.071             Sec.   2    2b1               is   unconstitutional.                  In




support    thereof        Movant        would show the Court                    the    following



           1.    The     Defendant        has been indicted             for the        offense       of capital       murder.



          2.      The     State    is   seeking     the        death     penalty.            The     Eight         Amendment               requires    a greater



          degree        of accuracy        and   fact    finding        than would be true                    in   a non-capital case.                Gilmore v.


          Taylor 508 U.S.                333     113     S.     Ct.    2112           124    L.    Ed. 2d 306          1993                Woodson        v.   North


          Carolina 428 U.S. 280 305 1976.


          3.      Tex.    Code     Crim. Proc.          art.    37.071         Sec.    2    b21           provides          that      the jury determining



          the    punishment for one found                      guilty    of capital          murder shall            set   punishment by answering


          two      or perhaps           three    special         issues.        The         issue that        is    commonly               referred    to      as   the




          future danger                special   issue     asks        the   jury to        determine              beyond     a reasonable            doubt         the




          following




                                                                                                                                                                              A 4   n
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                                     whether there               is   a probability        that    the    Defendant would


                                     commit criminal                  acts    of violence       that     would constitute                  a



                                     continuing           threat      to   society


4.   Because         the    future    dangerousness                             issue     increases        the                                                     murder
                                                                   special                                        punishment                   for    capital




beyond        the    prescribed           statutory       maximum               the     issue     acts     as    the       functional             equivalent           of a


traditional     element of the crime                  that      has to be proven           to   a jury beyond               a reasonable               doubt.       Texas


Penal    Code         19.03     provides          that    the    offense       of capital murder is a capital                          felony.          Texas Penal


Code       12.31a           provides        that      an         individual          adjudged          guilty    of a capital              felony           in   a case    in



which the state seeks            the       death    penalty        shall      be punished         by life imprisonment.. or by death.


5.   A Texas judge             can    impose the death                 penalty        only if the jury first makes                         statutorily           required



findings on one or two special                      issues       and then       returns    a negative           answer           to   the mitigation               special



issue.   Tex. Code          Crim.         Proc. requires that the jurors are charged                            as    follows




         c The         state    must prove            each       issue       submitted     under        Subsection              b of       this article           beyond
         a reasonable           doubt         and     the    jury shall         return     a special         verdict        of yes or                 no on each
         issue      submitted        under        Subsection           b of      this Article.




         d The         court shall          charge       the jury that



                               2     it
                                          may not answer               any     issue     submitted        under           Subsection           b      of this article

                      yes unless             it
                                                  agrees unanimously and it                     may not answer any issue                             no unless 10
                      or more jurors agree.



         e1 The              court shall           instruct      the jury that           if the    jury returns an                    affirmative answer                  to

         each       issue    submitted            under      Subsection          b of       this      article        it   shall       answer          the    following
         issue



                      Whether              taking         into        consideration             all     of      the        evidence                                    the
                                                                                                                                                     including
                      circumstances               of the offense              the Defendants              character             and background                   and   the

                      personal            moral     culpability              of the     Defendant            there         is    a    sufficient            mitigating
                      circumstance            or    circumstances               to    warrant      that      a sentence               of   life      imprisonment
                      rather    than a death             sentence          be imposed.




                                                                                                                                                                                A A   1%
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            f The        court      shall       charge      the   jury that          in   answering the               issue      submitted               under          Subsection

            e      of this article             the jury

                         I     shall      answer         the    issue    yes or no

                         2 may             not    answer          the    issue       no unless                it
                                                                                                                    agrees        unanimously and may not
                         answer          the    issue     yes unless 10 or more jurors agree

            g      If the   jury returns an affirmative finding on each                                       issue       submitted           under           Subsection              b
            of this article and a negative                         finding         on an       issue    submitted                under       Subsection                 e      of this
            article      the   court shall              sentence         the       Defendant       to      death.          If    the jury returns                       a negative
            finding        on any         issue submitted                 under       Subsection              b of         this        article          or    an    affirmative
            finding on an            issue       submitted            under        Subsection          e      of this article or                   is   unable to             answer
            any    issue    submitted            under      Subsection             b e    or      of this article                 the      court shall sentence                       the

            Defendant          to    confinement                in      the    institutional           division           of the            Texas            Department of
            Criminal Justice              for    life.




            Tex.       Code Crim. Proc.             art.    37.071             2b g.  -




 6.     Like    the     Defendant          convicted            of first-degree                murder      in      Ring     v.        Arizona            122       S.    Ct.      2428


 2002 a Defendant                   convicted            of a capital           felony in Texas                 cannot        receive         a sentence                 of death


 unless     a                                               makes             an    affirmative
                  sentencing         jury         first
                                                                                                           finding          on         the     aggravating                     future




 dangerousness           special         issue    and          then     answers           no      to    the        mitigation              special           issue.            In    the



absence      of a finding           of future           dangerousness the                  maximum sentence                           to   which a Texas                     capital



Defendant         is   exposed      is    life   imprisonment not the death                                               As was made clear                        in
                                                                                                       penalty.                                                              Blakely


v.
      Washington         124 S. Ct. 2531                 2004 made clear the relevant statutory maximum                                                                 is   not the


maximum         sentence       a judge           may impose after                  finding      additional            facts but the                maximum                   he     may

impose without           any   additional findings.                      Blakely          124 S. Ct at 2537 emphasis                                in original.




7.    The   Texas Court of Criminal                        appeals        has      incorrectly         said        that   Apprendi            v.        New Jersey                  530


U.S. 466     2000 and Blakely                    do not apply            in    Texas and their rationale                         is   unreasonably                 wrong.            Its




                                                                                                                                                                                            A4   n
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 alternative           holding    in   Rayford        v.    State    125 S.W.3d            521 533-34 Tex.                    Crim. App.               2003      blithely



 dispenses             with     the    constitutional           challenge          by                     on        cases         that
                                                                                           relying                                         predate        Apprendis


 groundbreaking               decision       by many years.              See    Rayford          125 S.W.3d             at    534 relying on Robison                       v.




 Slate     888      S.W.2d 473 481                  Tex.     Crim. App.           1994 App.               1    at   I
                                                                                                                        relying          on Sosa v.         State       769


 S.W.2d       909 917 Tex.                Crim. App.          1989.


             It   is   apparent       that    the   Court      of Criminal Appeals is unwilling                              to    grapple        with the serious



constitutional            implications           of Apprendi              Ring and            Blakely           on the        Texas         capital        sentencing


scheme.




8.       The       Texas        capital      sentencing         schemes           future      dangerousness                  special        issue       violates        the



reasonable          doubt       standard        of Apprendi because                both       Apprendi and Blakely                         do     in fact       apply    in



Texas.       As Blakely made clear the relevant                                 statutory      maximum is not the maximum sentence

a judge      may impose after                finding        additional     facts but the            maximum              he       may impose without                 any


additional             findings.             Blakely         124     S.    Ct      at     2537       emphasis                 in     original.              Blakelys


straightforward               and unambiguous                 definition         of Apprendis                  prescribed                statutory       maximum

language          leaves no doubt            that    Apprendi applies to                the   Texas           capital    sentencing             schemes           future




dangerousness             special      issue.       Because        the   determination           of future          dangerousness                 is   a fact    that    if




found exposes             the    Defendant to a penalty exceeding                          the   maximum                he would receive if punished



according         to    the   facts    reflected       in   the jury verdict            alone       the       future                                               issue
                                                                                                                        dangerousness                  special



must be found             by a jury beyond                 a reasonable         doubt.        The    only question                 for     this   Court then            is




whether       the       term     probability found                  in    the    future       dangerousness                  inquiry unconstitutionally


lowers the reasonable doubt                     standard       in violation        of Apprendi.




                                                                                                                                                                                A 4   C
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             When          a   judges          finding       based     on a mere preponderance                        of the       evidence        authorizes an



 increase      in the      maximum punishment                         it   is   appropriately         characterized            as   a    tail   which wags             the




clog    of the substantive               offense.        Apprendi               530 U.S. at 495 internal quotation                         marks and citation


omitted.         Apprendis               fear    of such        a wag-the-dog               scenario         is   realized     here.        Because           the    term



probability in                 the    future    dangerousness                special      issue   swallows           the    reasonable          doubt      standard



this    aggravating             factor    acts     as    a    tail    that
                                                                                wags      the   dog of        the    substantive           offense        of capital


murder.



             Apprendi           Ring and Blakely                 create         in effect       a new offense          of aggravated             capital        murder


in Texas.        As Justice            Thomas noted             in his Apprendi             concurrence if the                 legislature         defines           some


core crime        and then provides                for    increasing the punishment of that                           crime        upon a finding of some


aggravating         fact               the core     crime        and       the    aggravating         fact        together     constitute         an     aggravated



crime                   The          aggravating         fact    is   an     element        of the aggravated                crime. 530 U.S.                    at    501



Thomas           J. concurring.                  The aggravating                 factor    of future         dangerousness               found     in    the    Texas



capital      sentencing          scheme         now attains the status                 of an element of the crime                    of aggravated              capital




murder.       Together           with     the    traditional          elements         of the offense             of capital       murder found            in   Texas


Penal     Code       19.03 the future dangerousness                               aggravating         factor       must be found            by a jury beyond


a reasonable        doubt        before        the statutory          maximum punishment death may be imposed.




9.     The   term    probability in                 the      future        dangerousness           special         issue     impermissibly              dilutes       the



reasonable       doubt         standard.         At a sentencing                stage     a capital     jury will have              to   answer         the    future



dangerousness inquiry Do you find from the evidence                                               beyond a reasonable doubt                       that    there       is   a



probability the Defendant would                          not will which further                       dilutes       the    reasonable           doubt     standard


commit criminal                acts   of violence         that       would       constitute       a continuing            threat    to   society          See        Tex.




                                                                                                                                                                               AA_
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 Crim.      Proc.      Code      art.    37.071            2b1.                The        term           probability wreaks havoc on                                 the    reasonable



 doubt      standard.           Its                          in   conjunction                      with        the    reasonable         doubt          standard           relieves       the
                                      appearance



 State     of    its   constitutional               burden        to
                                                                         prove           every           element           of the offense               beyond         a reasonable



 doubt.      The         term    eviscerates          the       reasonable               doubt           standard            rendering           it   a nullity       or        at   best        a



 preponderance             of the        evidence           standard.                In       addition               the    term     undermines the                   vital      role    the




 reasonable         doubt       standard        plays in reducing                    the risk of erroneous                         factual       determinations.



             Placing        competing burdens                     of proof               in    such        close           proximity        to    each        other can          produce



only       confusion           and      frustration          in    jurors               minds as                they       grapple      with           the    incomprehensible



concept       of proof of a probability                         beyond a reasonable                            doubt.        This    Court            recognized           in   Boyde       v.




California          494 U.S. 370 1990 that


            Jurors do not               sit    in    solitary          isolation              booths           parsing        instructions              for    subtle        shades         of

            meaning            in the    same way that                   lawyers          might.                Differences          among them                 in interpretation

            of    instructions
                                          may        be     thrashed               out        in    the        deliberative          process             with        commonsense
            understanding               of the instructions                   in    the light of all                 that    has taken           place at the         trial     likely      to

            prevail       over technical             hairsplitting.




Id.   at   380-81.               The      concept          of probability                          beyond            a reasonable            doubt            was     described             as




execrable           and absurd             by Judge Roberts                        in    Horne            v.    State        607 S.W.2d               556 565 Tex.                    Crim.



App.       1980.          When          average           lay    jurors            are    faced           with        an     illogical       instruction              like      the     one


mandated         by Tex. Code                 Crim.       Proc.        art.   37.071               the    commonsense                understanding                   most       likely      to




prevail     in their      minds would focus on the more                                   familiar
                                                                                                                concept        of probability                   to   the detriment



of a less familiar legal term of art like reasonable                                                     doubt.             Jurors would quickly                      abandon any


technical        hairsplitting once they realized                                   the futility of attempting                         to    determine           what quantum


of evidence            would     constitute           proof        of a future                 events            probability beyond                     a reasonable                 doubt.



Jurors will         be    no    more       successful             at     deciphering                 the execrable                   and absurd                than        was Judge


Roberts      in Horne.




                                                                                                                                                                                                     A 4 -7
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                    Merely having              the    phrase        beyond         a reasonable        doubt        in the     jury instructions                 to   describe



 the     burden            of proof on the                 future     dangerousness            special      issue     neither                                                       a
                                                                                                                                         adequately          safeguards


 Defendants Fourteenth                           Amendment due                 process rights          nor advances                the       vital   interests     served by



 the     reasonable               doubt        standard.         If   such    an     incantation       were      sufficient             to               the     reasonable
                                                                                                                                              protect



 doubt             standard       from        infection       by      the   term     probability then Cage                          error       would not          exist.       In




 Cage         v.    Louisiana the Court                     held that jury instructions                improperly         defining the phrase                      beyond          a



 reasonable                doubt         unconstitutionally                 diluted     the   reasonable          doubt            standard.          498    U.S.       39 41

 1990 per curiam                             overruled on other grounds.                       The     critical     inquiry is not whether                       the phrase



 beyond                 a reasonable           doubt         appears        in the    instructions.          Instead          it    is   whether         the     reasonable



doubt          standard has been tainted                         by other instructions             that    may allow               the jury to find              an element


of the crime                based        on a burden             of proof     that     is   below that       required by the                    Due     Process        Clause.



Id.      It        would not           satisfy       the    Due     Process        Clause     if the      instructions             on one of the elements                      of


robbery             required           the     jury to find             from the            evidence       beyond         a        reasonable           doubt         that    the




Defendant                probably         inflicted         serious bodily injury or threatened                      another             with        immediate serious


bodily injury.                    Such        an instruction          unconstitutionally             diminishes the reasonable                          doubt      standard.




This      Court            should        conclude           no   differently         about    an     instruction       that         allows           a jury to        find    the




future        dangerousness                   aggravating           element    of the        new enhanced crime of death-eligible                                      capital



murder based on the same diminished                                       burden      of proof.


                   Blacks Law Dictionary                         1081     5h ed. 1979 defines the term probability as likelihood

a      condition or state                     created      when       there   is   more evidence           in    favor of the existence                     of a general


proposition                than       there     is   against        it.     A lay dictionary           defines       the      term            probability             as     the


quality            or    state    or    being        probable with probable                        being        defined       as        supported           by     evidence



strong         enough            to    establish           a presumption             but    not    proof.         There            is    however            also      another




                                                                                                                                                                                        A 1 0
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 definition          of the word with a much                       different        - but commonly understood - meaning                                              the chance


 that    a given         event         will     occur.       Merriam- Websters                         Collegiate           Dictionary            928 101h            ed.    1993

 see Hughes             v.    State      878 S.W.2d               142    148 Tex.           Crim. App.                   1992    setting          out similar            legal       and


 lay definitions              of the word         probability.


                On      first    impression             a juror seeing              the    term        probability               in    the       future        dangerousness



 special        issue    might         equate     its    meaning with              the    legal definition                or the   first        lay   definition a           more

 likely       than      not       burden         that     closely        resembles              the    preponderance                  of    the       evidence           standard.




 However             upon       closer        inspection          a juror would discard                      this definition               in   favor of the             chance

definition.             The      reason       a juror would              settle     on     this       commonsense               definition             is
                                                                                                                                                            straightforward


 Read      in    context          the    Texas          special     issue         asks    the    juror to           predict      whether              a future       event       will




occur.        The juror is being asked                      if there         is   any chance                that    the Defendant will commit criminal



acts     of violence            that    would       constitute          a continuing             threat       to    society        whether            that     chance       is   1   in




100      51     in    100 or 80 in               100.      The      special        issue        does    not        ask    the juror to            answer           yes to the

special       issue     only if it       is   more likely than not                       that    the    Defendant will pose a future                            danger.


              Because           the    future    dangerousness                special      issue       is   not concerned              with whether                the    odds of


future     danger        are great        or negligible             a juror would answer the issue                              affirmatively as long as some


measurable                                    existed.       Just       as   bookies        calculate              the    odds of winning                    for   each      horse
                      percentage



entered       in a    race       from the long-shots to                  the      favorites           or weather          forecasters            predict       the   chance          of


rain jurors use                 their    commonsense                understanding                of probability to                 conclude             that    nearly every


criminal         Defendant             - especially one              recently            found        guilty       of every        traditional               element        of the


offense       of capital          murder - possesses                 some chance                      of committing future                       acts       of violence          that




would threaten               society.




                                                                                                                                                                                           A A   A
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                 Hughes           v.   Slate           878 S.W.2d              142     146-48       Tex.        Crim. App.           1992 and Robison                    v.    Stale


 888       S.W.2d                473         481-82            Tex.       Crim.        App.         1994           rejected         understandings            of    the         term



 probability based                           on        any percent          possibility rather                  than likelihood               or   good chance.                      In




 Hughes              the    Court        of Criminal                                                     the
                                                                     Appeals noted             that               second      special     issue      calls    for        proof       of



 more than a bare chance                                of     future     violence.            Requiring            more than a mere               possibility           that       the



 Defendant              would commit criminal                            acts     of violence            and would           constitute       a continuing            threat         to




 society         prevents          the       freakish          and wanton            assessment           of the death             penalty.        878 S.W.2d             at    148.



 In   Robison              the    Court of Criminal                                                      horse race
                                                                        Appeals found              the                        analogy      inapt



                Appellant                               that     the     term                                           mean one                                              As
                                       argues                                     probability could                                       in   a    hundred.                        an
                                   he alludes to
                analogy                                         a horse        race where a horse with such                            odds    will   be      wagered              on
                there                    a probability the                      horse      could         win.
                            being                                                                                However appellants analogy fails to
                recognize              the    reason           the    better
                                                                                wages         is   based        much on the potential payout of a win
                when compared                      with      the     chance          the   horse will win.              It    is   probable the          horse will not

                win however                   because           of the odds it is worth the gamble.


888 S.W.2d                 at   481.



                The     lower          courts                             in    these cases
                                                        reasoning                                     predating        Apprendi cannot              possibly serve as


the   foundation                 for dispensing                with Apprendi challenges.                        Moreover           the lower       courts                           of
                                                                                                                                                              rejection



the   odds or chances                         definition             of the term probability fails to consider two                                 additional            factors.




First      it
                 ignores          the commonsense                        definition        of the term that jurors will adopt                          when         they           are



asked      to                      whether a              future        event     will                    rather     than     determine        whether         an
                     predict                                                               occur                                                                         alleged


historical           event        did occur.              In     the     latter   case jurors              will
                                                                                                                   equate      probability with                 the       more


likely     than       not        understanding                 of the term.          Compounding                  the problem           no statutory         definition            of


the   term       exists and the                    Court        of Criminal          Appeals has repeatedly                        held that   the    trial    court does



not err in refusing to                       instruct          the    jury as     to    the    definition           of the term.          See e.g. Hughes 878


S.W.2d          at   178 Earhart                  v.   State       823 S.W.2d          607 632 Tex.                 Crim. App.          1991 Caldwell               v.    State
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  818 S.W.2d           790 797 Tex.                  Crim. App.           1991.      The Court of Criminal                       Appeals and               prosecutors


 and defense                            in     Texas may understand                       that             term
                        attorneys                                                                    the           probability means more than a


 mere      possibility         but most jurors do not.



               The     second         factor        that     the    lower    courts            definition         of    the    term    probability cannot


 account        for     is     the    incredibly             high    error    rate        by Texas            capital         juries       in    predicting        future




 dangerousness.                Even     with the assistance                 of psychiatrists               and   other mental          health          experts     juries



 affirmatively answering                  the       future     dangerousness              special      issue      get   it
                                                                                                                             wrong     95% of the time.                See



 Texas      Defender            Service         Deadly Speculation                                               Texas                          Juries     with    False
                                                                                          Misleading                          Capital


 Predictions of Future Dangerousness                                 2004 at www.texasdefender.org/publication.htm.                                               Jurors



 use of an        odds        or   chance           definition       of the term probability may provide                                   one explanation             for



 this astonishing             error   rate.     Because nearly everyone from Charles Manson to                                              the    Pope has some


 chance        however         slight     of committing future                  violence             juries      are    answering          yes to the special

 issue    based      on a quantum of proof well below a more likely than not                                                   standard.




            Regardless             of which         definition       of the term probability that jurors in Texas                                        are           to
                                                                                                                                                               using


answer      the      future    dangerousness               special       issue there           can    be no question            that   they are employing a


less     onerous       burden         of proof         than        the   reasonable         doubt          standard.          Such     a diluted           reasonable



doubt     standard        can      no longer serve as                the prime instrument for reducing                               the    risk   of convictions


resting    on     factual       error.         In    re    Winship        397 U.S.             358     363       1970.          When        a jurys finding            of


future    dangerousness               based     on a mere preponderance                          standard        - or less - authorizes an increase


in the    maximum             punishment             for capital         murder      it   is   appropriately characterized                        as   a   tail   which



wags     the   dog of the substantive                      offense.         Apprendi             530 U.S.         at    495 internal quotation                    marks


and citation         omitted.




                                                                                                                                                                             A   A
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 10.       The jurors are              further         encouraged           to   speculate      thus reducing                the    states burden                 by the use


 of the phrase would commit criminal                                        acts   of violence        in    the       instruction          rather          than the       phrase


 will commit criminal                           acts     of violence.                   The   jurors are         then        encouraged               to    speculate           that




 anyone who would commit                                  the    capital     murder for which we have found                                this   Defendant               guilty



 probably         would commit criminal                          acts    of violence.




 1   i.   The Texas Court of Criminal Appeals has approved                                           this    form of speculative                      decision          making


in    holding          that    a verdict         on     the     future      dangerousness          issue    can        be supported              by the         facts     of the



crime       alone.           Kunkle       v.    State         771    S.W.2d        435 449 Tex.            Crim. App.                1986 and               Willingham            v.




State       897 S.W.2d               351 356 Tex.                   Crim. App.           1995.     The      state       has no burden                 to    prove       that    the



Defendant              is   a future      danger.             The    Texas       legislature     has created            the crime           of aggravated                capital



murder           for    which         death       is    a possible punishment.                     Through             its   devious            use        of   the    English



language          and         the    failure      of the        Court       of Criminal         Appeals          to    provide            any   effective             appellate



review       of the jurys verdict                       an essential             element      of the offense           of aggravated              capital         murder is


won       by the state              by default not beyond a reasonable doubt                                as    is   required by the                 8h Amendment


to the      United          States    Constitution.




             Wherefore premises                         considered           Defendant prays             that     he be            granted       a hearing             on      this




motion and that upon hearing                             this court find           that



1         Tex.    Code         Crim.      Proc.        art.    37.071       Sec.    2   2b1          the     language              that    embodies             the    future



danger       issue             fails to        require that          this   element       of the   capital        crime       with        which        the      Accused          is




charged to be proven                    by the State                beyond a reasonable doubt




                                                                                                                                                                                       A 11 -1
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 2   that        this    and any    other    portion    of Tex.     Code     Crim.     Proc.    that     is   found   to   offend   the




 provisions of the United           States       Constitution   be found    to   be unconstitutional          and


3    that       as   a result thereof   death     must be precluded    as    a sentencing      option     in this case.




                                                                           Respectfully      submitted




                                                                           ROBERT                       ER
                                                                           SBN 12562300
                                                                           111 West    15x     Street


                                                                           Houston     Tx 77008
                                                                           713-880-9000office
                                                                           713-869-9912 fax




                                                                           GERALD BOURQUE
                                                                           SBN 02716500
                                                                           24 Waterway   Ave. 660
                                                                       The        Woodlands Tx 77380
                                                                           713-862-7766office
                                                                       832-813-0321 fax




                                                                       ATTORNEYS                FOR DEFENDANT



                                                  CERTIFICATE          OF SERVICE



                                                                                                         t-
            I
                hereby certify that     a true    and correct copy of the above and foregoing                  instrument has


been furnished to counsel           for   the State    by hand-delivery          of a copy of same                         2010.




                                                                       ROBERT          K. LOPER




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                                                 CAUSE NO. 08-38-72


THE STATE OF TEXAS                                               IN   THE DISTRICT COURT OF


Vs.                                                              GALVESTON COUNTY TEXAS


TRAVIS DAMES MULLIS                                                 122ND JUDICIAL DISTRICT


                                                         ORDER

  BE IT REMEMBERED                    that   on the        day of                             2010


came    to   be considered   the   Defendants         MOTION TO FIND THAT TEX. CODE CRIM.

PROC. ART. 37.071            Sec. 2   2b1         IS   UNCONSTITUTIONAL       Future Danger   Issue.



The    court is of the opinion     the   motion should be   in all things




             GRANTED

             DENIED




                                                               JUDGE PRESIDING




                                                                                                       A   1 A
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                                                                 CAUSE NO.08-38
                                                                                                                                          r      y

 THE STATE OF TEXAS                                                                       IN     THE DISTRICT COURT ONE


 Vs.                                                                                      GALVESTON COUNTY TEXAS


  TRAVIS JAMES MULLIS                                                                      122ND JUDICIAL DISTRICT



             MOTION TO HOLD UNCONSTITUTIONAL TEX. CODE CRIM. PROC. ART.
     37.071    SEC. 2e AND 1 FAILURE TO REQUIRE MITIGATION BE CONSIDERED
                                                   -




TO THE HONORABLE JUDGE OF SAID COURT

              COMES NOW TRAVIS JAMES MULLIS                                                     the   Defendant by counsel and pursuant


to     the   5h    68          and 14x Amendments to the United                          States        Constitution     Article     1 Sections   3

10 13         19 and 29 and TEx.               CODE CRIM. PROC. ANN.                                      1.06   and 1.09 and by and through
                                                                                         art.    1.05



his     attorneys of record makes this his Motion to Hold Unconstitutional                                           TEx. CODE CRIM. PROC.


art.    37.071       Sec.     2e and f         -   Failure to Require           Mitigation            be Considered and as grounds



therefore          would show the Court                 as    follows



              1.    Article    37.071     Sec.         2e and     f      submitted       to     a jury upon conviction            of capital murder


reads as follows



                            e The     court shall instruct           the   jury that if the jury returns               an
                         affirmative finding to each                    issue   submitted         under      Subsection      b of
                         this article     it   shall     answer     the    following          issue



                         Whether        taking         into   consideration       all   of the evidence including
                         the   circumstances            of the offense          the    Defendants character and

                         background            and the personal moral                 culpability        of the Defendant
                         there   is   a sufficient           mitigating    circumstance               or circumstances       to

                         warrant that      a sentence            of life imprisonmentrather                   than a death

                        sentence        be imposed.



                        0 The court            shall     charge     the   jury that      in     answering        the issue

                        submitted        under         Subsection       e of     this article          the   jury




                                                                                                                                                      A   I
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                                        1      shall     answer     the    issue   yes or no

                                        2 may           not answer        the   issue        no unless             it
                                                                                                                        agrees

                                        unanimously and may not answer                            the       issue       yes unless 10
                                        or more jurors agree.



            2.   This statute            is   unconstitutional            because       it   fails to        require that         mitigation           be



considered.        A juror         is   required to consider              and give           effect    to    all    mitigation.             After the juror has



considered       the     mitigation           it   is   then up to the juror to determine                          what    effect          to   give   the




mitigation.       Failure         to    mandate consideration                of mitigating             evidence           makes this statute


unconstitutional            in violation           of the Eighth      Amendment.                  Penry v. Johnson                     532 U.S. 782 2001.


            3.   Capital murder statutes                    that   have survived             constitutional              scrutiny          all   require that   the




jury be told      that      it   must consider            all   mitigating      evidence.             E.g. Johnson               v.    Texas       113 S. Ct. 2658



1993 Boyde             v.    California            494 U.S. 370           1990 Blystone                 v.    Pennsylvania                  494 U.S. 299



1990.


            WHEREFORE PREMISES CONSIDERED Defendant prays this Court will find

Article 37.071         Sec.       2e and f unconstitutional                        and for such other relief                          as   Defendant         may be


entitled.




                                                                                              espectfully           submitted




                                                                                         ROBERT                 K. LOPER
                                                                                         SBN 12562300
                                                                                             111 West         15th      Street

                                                                                         Houston              Tx 77008
                                                                                         713-880-9000office
                                                                                         713-869-9912 fax
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                                                                 GERALD IOURQUE
                                                                 SBN 02716500
                                                                 24 Waterway     Ave. 660
                                                                 The   Woodlands Texas 77380
                                                                 713-862-7766office
                                                                 832-813-0321 fax


                                                                 ATTORNEYS            FOR DEFENDANT



                                            CERTiF1ATE OF SERVICE

         I   hereby certify that   a true   and correct   copy of the above and foregoing   instrument has


been   furnished to counsel for the State         by hand-delivery     of a copy of   same              2010.




                                                                ROBERT K.1LOPER




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                                                                       iJ33
                                             CAUSE NO. 08-3894


THE STATE OF TEXAS                                                   IN THE DISTRICT              COURT OF

Vs.                                                                  GALVESTON COUNTY TEXAS


TRAVIS JAMES MULLIS                                                  122ND JUDICIAL DISTRICT



                                                        ORDER

         BE   IT    REMEMBERED             that    on   the             day   of



2010 came     to   be considered   the   Defendants      MOTION TO HOLD UNCONSTITUTIONAL

TEX.     CODE CRIM. PROC. ART.               37.071      SEC.        2e AND f         -   FAILURE      TO REQUIRE

MITIGATION          BE CONSIDERED.                The   court   is   of the opinion       the   motion should   be   in   all




things




         GRANTED

         DENIED




                                                                 JUDGE PRESIDING




                                                                                                                                A   A
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                                                                   CAUSE                         38-72


                                                                                                                                                              rP

THE STATE OF TEXAS                                                                          IN    THE DISTRICT COURT OF-                              -




Vs.                                                                                         GALVESTON COUNTY TEXAS


 TRAVIS JAMES MULLIS                                                                         122ND JUDICIAL DISTRICT


                                      MOTION TO DECLARE TEXAS DEATH
                                  PENALTY STATUTE TO BE UNCONSTITUTIONAL
                                      Jurors inability                to    Predict Future Dangerousness



TO THE HONORABLE JUDGE OF SAID COURT

          COMES NOW TRAVIS JAMES MULLIS Defendant in the above-cause                                                                        by and



through      counsel and pursuant                   to    the     5h 6cn Bch       and 14th Amendments to                the   United    States




Constitution         and Article 1 Sections                       3 10 13 and 19 of the Texas Constitution and files this

Motion       to   Declare the Texas                Death Penalty            Statute    to   be Unconstitutional and               for good      and


sufficient        cause      would show the Court the following


          1.      The     Defendant has been indicted                       for the    offense       of capital   murder.



          2.      The     State      is   seeking the death           penalty.




          3.      Tex. Code           Crim. Proc.          art.    37.0712b1                requires       a jury during        the penalty phase         of



          a capital          trial   to    answer    the       following        question



                        Whether             there is a probability that the Defendant                        would commit
                        criminal           acts   of violence        that       would constitute          a continuing     threat

                        to    society
          4.      The   ability       to   accurately          predict whether or not a person would commit criminal acts



          of violence           is   not within          the    ability    of the    lay   people on the jury.           The     probability      that    a



          person will commit future                        violence        is   not a prediction that         even the     psychiatric




         community can                    make particularly               in the    long run.       The    unreliability       of psychiatric



         predictions of long-term future                            dangerousness           is   by now an established            fact   within    the




                                                                                                                                                                   A   -A
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     profession.         American Psychiatric Association                            Task Force on Clinical Aspects                            of the


      Violent      Individual           Clinical     Aspects    of the Violent                  Individual             1974 and Amicus                  Brief



     of the American Psychiatric Association                              APA in Barefoot                      v.   Estelle        1983.       The      APA

     in    its   brief said      that    the primary finding of the task                    force          was      that   judgments concerning


     the    long-run potential             for future     violence        and the dangerousness                        of a given          individual     are




     fundamentally of very low reliability adding                                    that       the    state     of the art regarding



     predictions of violence                is   very unsatisfactory.



     5.    The     unreliability        of long term predictions of future                           dangerousness                is    acknowledged


     even        today by those         who      take the position that            there        is    some       ability        to predict




     dangerousness.              Using modem assessment                      tools      however                there       is   a growing body of



     data to suggest that               psychiatrists     can in fact         predict violence                      more accurately           than      many


    believe-at        least      in   the short term.          Ken Hausman                  Predicting                Violence           Risk Possible



    but     Complex Psychiatric News Vol 36 Number                                         13    2001.              These predictions of


    violence         even if more accurate than                in the       past     come            in a civil setting            where a


    determination           is   made about         possible civil         commitment not in the context of a capital


    murder case where the issue                     is   whether someone              is    going to live or die not will their civil



    liberties       be limited for short            period of time.



                   Despite         the pervasiveness         of violence             risk   assessment                in   mental

                   health    law research           continues    to       indicate     that          the   unaided         abilities

                   of mental health professionals to perform                           this task            are     modest         at

                   best.     MacArthur            Research Network             on Mental Health                       and the
                   Law      Executive            Summaryat           1.      April 2001.




    6.    The consideration              for the   jury must necessarily be a long-term consideration                                          as   a



    Defendant who             is   given    a life sentence      will       not be eligible for parole                           for 40   calendar




                                                                                                                                                                AfA
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     years.        The    ability    to   make        such     long-term predictions                is   rendered more unreliable by the



      propensity of a person to commit violence                                   to   age out as he grows older.

      7.    The     State   will    often make the argument that                         the Defendant         is   a future danger             to




     prison society because                  he has an anti-social                 personality.          The Diagnostic           and Statistical


      Manual of Mental Disorders                        Fourth           Edition       DSM-IV         states   at   page 648


                   Anti-social Personality Disorder                            has a chronic        course but       may
                   become         less   evident      or     remit as the individual                grows older
                   particularly          by the fourth          decade of life.          Although         this remission

                   tends to be particularly                  evident       with respect        to   engaging        in criminal


                   behavior         three   is   likely       to   be a decrease         in the full      spectrum         of
                   antisocial       behaviors         and substance               abuse.

     8.    The jurors are not instructed                      to   consider        either    the unreliability            of long-term



     predictions nor the aging-out                            effect      noted    by the DSM-IV. This makes                      the   application



     of the Texas           Death Penalty             statute      both arbitrary           and capricious.          It   further denies this



     Defendant           a fair trial and due process of law.



WHEREFORE PREMISES CONSIDERED Defendant prays that

     1.     Art.      37.071      be found       to   be unconstitutional               and the death penalty be precluded                      as   a



     sentencing          option     for    the jury that           is   sworn to decide         this case




     2.    In   the    alternative        that   the jury that            is   empanelled      to    decide this case           be instructed        as to




     the unreliability            of long term predictions of future                         dangerousness and


     3.    that    the   jury be instructed            that     as      a person ages        their   propensity to commit violent acts



     remits        particularly      in the      4h decade              of life and


     4.    That    the    Defendant have such                   other and further            relief to    which he may show himself                      to




     be justly        entitled.




                                                                                                                                                              A 1% 4
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                                                               Respectfully    submitted




                                                               ROBERT k-LOVIER
                                                               SBN 12562300
                                                               111 West     15h Street

                                                               Houston     Tx 77008
                                                               713-880-9000office
                                                               713-869-9912 fax



                                                           I-JQj\ 6jk4
                                                               GERALD BOURQUE
                                                               SBN 02716500
                                                               24 Waterway Ave. 660
                                                               The    Woodlands Tx 77380
                                                               713-862-7766 office
                                                               832-813-0321     fax

                                                               ATTORNEYS         FOR DEFENDANT



                                          CERTIFICATE         OF SERVICE
       I
           hereby certify that   a true   and correct   copy of the above and foregoing    instrument has

been furnished to counsel    for   the State   by hand-delivery      of a copy of same


                             2010.




                                                              ROBERT        K. LOPER




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                                                                  V33
                                               CAUSE NO. 08-583-2


THE STATE OF TEXAS                                           IN   THE DISTRICT COURT OF


Vs.                                                          GALVESTON COUNTY TEXAS


TRAVIS JAMES MULLIS                                          122ND JUDICIAL DISTRICT


                                                    ORDER

       BE IT REMEMBERED                 that   on the       day of


2010 came   to   be considered   the   Defendants       MOTION TO DECLARE TEXAS DEATH

PENALTY STATUTE TO BE UNCONSTITUTIONAL. The                             court is of the opinion   the



motion should    be in all things




       GRANTED

       DENIED




                                                            JUDGE PRESIDING




                                                                                                        A1-
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                                                              CAUSE NO. 08-397-2




  000RTOF-Vs.
  THE STATE OF TEXAS                                                                        IN   THE DISTRICT


                                                                                            GALVESTON COUNTY TEXAS


      TRAVIS JAMES MULLIS                                                                    122ND JUDICIAL DISTRICT



        MOTION REQUESTING THE COURT TO FIND TEX. CODE CRIM. PROC
             ART. 37.071. SECTION 2fl4 TO BE UNCONSTITUTIONAL



  TO THE HONORABLE JUDGE OF SAID COURT

              COMES NOW TRAVIS JAMES MULLIS Defendant by and through counsel

 and pursuant                to   the   8h and 14h Amendments to the United                         States   Constitution   and Article


  1 Sections            13    and 19 of the Texas Constitution and applicable Rules                             of Criminal


 Procedure makes this Motion                           in Limine.        In   support      thereof Defendant would           show


              1.   The Defendant                   has been   indicted        for capital    murder.



              2.   The        State     is   seeking    the   death   penalty.       The Eighth       Amendment to the United


 States    Constitution requires a greater                                     of accuracy       and fact-finding    than would be
                                                                 degree



 true   in a non-capital                case. Gilmore v. Taylor 508 U.S. 333 342                             1993 see also Woodson

 v.   North      Carolina           428 U.S. 280 305 1976.


            3.     It   is    the   duty of this Court         and the Texas Court of Criminal Appeals                      to   make


 certain    that              death     sentence
                    the                                is   not wantonly         or freakishly        imposed and that       the




 purposes        of Art. 37.071              are    accomplished.        Ellason      v.    State   815 S.W.2d      656 660 Tex.

 Crim. App. 1991.




                                                                                                                                          A% A
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                4.    The        Supreme Court of the United                             States    has held that       accurate        sentencing


   information              is   an indispensable              prerequisite              to   a reasoned      determination         of whether       a


   Defendant                               or die.
                          shall    live                      Gregg    v.    Georgia 428 U.S. 153 190 1976.


             5.           Art.    37.071       2e1 of             the      Texas Code             of Criminal        Procedure      requires      the    court


  to   instruct           the   jury to determine



                                 Whether         taking        into   consideration               all of the    evidence including             the



                                 circumstances               of the offense              the Defendants             character and



                                 background            and the personal moral                      culpability       of the Defendant



                                 there    is   a sufficient                              circumstance          or circumstances
                                                                  mitigating                                                            to



                                 warrant       that    a sentence          of life                                       than a death
                                                                                         imprisonmentrather


                                 sentence       be imposed.



    Tex. Code              Crim. Proc.          art.    37.071        2e1.
            6.       Art.        37.071        2f4           defines mitigating                 evidence       to   be evidence      that    a juror



  might regard as reducing                       the Defendants                moral          blameworthiness.


           7.        This statutory             definition        violates       the Eighth           and Fourteenth            Amendments to the


 United    States           Constitution.




           8.        It
                           impermissibly              instructs       jurors to disregard mitigating                     evidence     that   is




 unrelated       to       a Defendants                moral    blameworthiness.                    The     instruction    unconstitutionally



 narrows     the          jurys discretion              in   sentencing         to factors          that    concern      only moral


 blameworthiness.



           9.        The Eighth            and Fourteenth              Amendments to the                    United     States    Constitution



 require   that           the    sentencer      not      be precluded           from considering                    as a mitigating factor any



 aspect of a Defendants                        character or record and any of the circumstances                                  of the offense          that




                                                                                     2




                                                                                                                                                                 A   1%   r
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  the   Defendant        proffers        as    a basis    for a   sentence       less    than death.         Eddings        v.    Oklahoma


 455 U.S. 104 110 1982 overruled in part on other grounds quoting Lockett                                                               v.   Ohio


 438 U.S. 586 604               1978 plurality opinion                   of     BURGER C.J..

            10.     The Supreme Court of the United                            States    found    the Texas death             penalty statute



 to   be constitutional             on   the   basis     of guarantees that            sentencing     juries    would be able                to




 consider     whatever              mitigating         circumstances           the     Defendant might be able to show.


 Lockett     438 U.S.          at   607 referring           to   Jurek v.      Texas 428 U.S. 262 1976.


            11.     The Court held              that    these mitigating         circumstances          were necessary to ensure


 that   the death       penalty        was not imposed in an              arbitrary          or capricious manner.                This belief



 was based         on the principle             that   Defendants        who commit              criminal     acts that      are       attributable




 to   a disadvantaged           background               or to emotional         and mental problems may be less culpable


 than Defendants             who have no such excuse.                        Penry      v.   Lynaugh 492 U.S. 302 319 1989


 overruled on other grounds.


            12.    It   is   therefore well established                that    a sentencer       may not refuse              to    consider       or



 be precluded           from considering               any relevant mitigating evidence.                        Skipper           v.   South



 Carolina 476 U.S.              1 4 1986 quoting Eddings                          455 U.S.       at   114.


            13.    The Supreme Court of the United                            States    has held that       relevant        mitigating



 evidence     is   evidence            which tends         logically    to     prove     or disprove     some        fact    or circumstance



 which a fact-finder            could         reasonably     deem to have mitigating value. Tennard v. Dretke


 159 L.   Ed. 2d 384           395        124 S. Ct.       2562 2570 2004.


            14.    The Supreme Court of the United                            States    has further    ruled that           once the low


 threshold for relevance                 is   met the      Eighth   Amendment requires that                    the   jury be able to



consider     and give         effect     to    a capital    Defendants mitigating evidence.                          Tennard            159 L. Ed.




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  2d at 396           124 S. Ct. at 2570 quoting Boyde v. California 494 U.S.                                        370 377-378 1990.


  It   is   therefore      unconstitutional            for a state   to    exclude     or limit a Defendants                    ability       to   present



  relevant       mitigating         evidence.



                15.     However         Art.    37.071      2t4           of the Texas         Code of Criminal                Procedure



  instructs      jurors     to     disregard any potentially              relevant mitigating            evidence            that    does     not relate



  to the      Defendants moral                 blameworthiness.



               16.    The        instruction     can    only reasonably          be interpreted          as   a limitation           on    the




 mitigating circumstances                      referred     to in Art.     37.071      2e1           that     a jury can consider                     to




 warrant        a sentence          of life imprisonmentrather                 than a death        sentence.          If the        clause    is   not



 read as a limitation               on what mitigating evidence                  can    be considered           it   is    rendered



 completely           superfluous        when read in conjunction                 with        Art 37.071       2e1.
               17.    It    is   an elementary         rule   of construction          that     when     possible to do              so effect


 must be given             to    every sentence           clause and word         of a statute so that no part thereof be


 rendered superfluous                  or inoperative.            Spence v. Fenchler              107 Tex.           443 457 Tex.                  1915.


 The only way to give                 effect    to   Art.   37.071    2f4           without       rendering          it
                                                                                                                          superfluous            is   to




 read it as a limitation              on Art 37.071           2e1.
               18.    Limiting        the jurys consideration              of mitigating         evidence        to       factors     that    reduce



 the   Defendants moral                 blameworthiness            creates      an unacceptable           risk that          the    death     penalty



 would be imposed despite the existence of evidence                                    that    would infer the              basis     for a




 sentence        less   than death.        When the choice                is   between        life and   death        that    risk    is




 unacceptable           and incompatible               with the   commands of the Eighth and Fourteenth


 Amendments. Lockett 438 U.S. at 605 1978.




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                19.    The Supreme Court of the United                                 States         has held that            the sentencing            process


  must permit consideration                        of the character               and record of the individual                           offender       and the



  circumstances             of the particular             offense        as    a constitutionally                   indispensable           part    of the



  process of inflicting                the   penalty       of death                   in order to             ensure the reliability                under    Eighth



  Amendment standards                        of the determination                 that       death           is   the    appropriate       punishment in a


  specific      case. Lockett 438                    U.S. at       601 quoting Woodson                                  v.   North Carolina 428 U.S.


 280      at   304-305           1976.

               20.    A restriction              on the mitigating evidence                           that    can be considered             by jurors in the


 sentencing           phase       of this trial      is   therefore           unconstitutional                    and also renders whatever                    if




 any sentence              to    be delivered unreliable                  since       it   is   not certain             that   all   relevant      factors   have


 been considered.



               21.    In   determining             whether        to    impose a sentence                     of death         the jury can do           little




 more - and must do nothing                         less    - than express the conscience                                    of the community on the


 ultimate issue            of life     or    death. Witherspoon v.                         Illinois          391    U.S.       510 519 1968.             The


 conscience           of the community can                      only be reliably expressed by a jury that                                  has access        to   all




 mitigating          evidence        to   make      an informed               decision.




               WHEREFORE PREMISES CONSIDERED                                                                 Defendant prays              that     upon hearing


 hereof        this court find            that   Art.   37.071          2f4 of                  the    Texas Code of Criminal Procedure


 that   defines mitigating                evidence         to   be evidence                that       a juror might            regard as reducing            the




 Defendants moral blameworthiness                                      violates       the 8h and 14h                    Amendments to the               United



 States   Constitution.                Defendant prays             that       relief       be granted             by appropriate          Order precluding


        instruction              the                                       evidence                           which reduces             the Defendants
 any                        to         jury that        mitigating                               is   that




 moral    blameworthiness.




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                                                                  Respectfully          submitted




                                                                  ROBERT              K.   LOPER
                                                                  SBN 12562300
                                                                  1   1   1   West   15x   Street


                                                                  Houston            Texas 77008
                                                                  713-880-9000 office
                                                                  713-869-99 2 fa




                                                                  GERALD BOURQ                       E
                                                                  SBN 02716500
                                                                  24 Waterway              Ave. 660
                                                                  The         Woodlands Texas 77380
                                                                  713-862-7766 office
                                                                  832-813-0321             fax

                                                                  ATTORNEYS                 FOR DEFENDANT



                                   CERTIFICATE OF SERVICE


        I   hereby certify that   a true   and   correct   copy of the above and foregoing               instrument



 has been   furnished to counsel     for   the State   by hand-delivery         of a copy of same on


              2010.


                                                               L
                                                                 ROBERT K                       ER




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                                                               0333
                                         CAUSE NO. 08-8



 THE STATE OF TEXAS                                             IN    THE DISTRICT COURT OF


 Vs.                                                            GALVESTON COUNTY TEXAS


  TRAVIS JAMES MULLIS                                              122ND JUDICIAL DISTRICT


                                                  ORDER

       BE IT REMEMBERED that               on the            day of


 2010 came   to   be considered   the   Defendants       MOTION REQUESTING THE COURT

 TO FIND TEX. CODE CRIM. PROC. ART.                       37.071.    SECTION 204 TO BE

 UNCONSTITUTIONAL. The court                 is   of the opinion     the   motion should be   in all   things




       GRANTED

       DENIED




                                                              JUDGE PRESIDING




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                                                                                        u33
                                                               CAUSE NO. 08-38


THE STATE OF TEXAS                                                                     IN THE         DISTRICT COURT OF.


Vs.                                                                                    GALVESTON COUNTY TEXAS


 TRAVIS JAMES MULLIS                                                                   122ND JUDICIAL DISTRICT



                 MOTION TO DECLARE THE 10-12 RULE UNCONSTITUTIONAL

TO THE HONORABLE JUDGE OF SAID COURT

           TRAVIS JAMES MULLIS                                 pursuant     to the     Fifth Sixth Eighth and Fourteenth


Amendments to the              United     States       Constitution          Article    One Sections            Three Ten Thirteen                       and

Nineteen       of the Texas Constitution                    and other applicable law moves this Court                            1        to   declare


Tex. Code        Crim. Proc.         article   37.0712d2 and 37.0712f2 unconstitutional on the ground
that   they create      an impermissible risk of arbitrary                     imposition of the death                 penalty by placing                a


false   dilemma before          the    jury     2      to     declare Article      37.07l2a unconstitutional                         with respect to


its   prohibition on informing the jury that a life                       sentence      necessarily results from an inability                            to



answer any of the special              issues      and in the alternative               3   to    provide      clarifying       instructions             to


the jury with regard to the failure of jurors to agree                          upon answers            to   special        issues   and        4   to


allow the attorneys        to    voir dire prospective              jurors    in   order to discover           their beliefs         regarding           the


substantive      outcome        of deadlock        at       the sentencing      phase.

          In   support of his motion               Tex. Code            Crim. Proc.      art.    37.071      states    as follows




                                                                  The    10-12 Rule

                 Tex. Code       Crim. Proc.           art.    37.0712d2 requires                     the Court to charge            the       jury that       it




          may not answer             any issue     submitted         under     Subsection         b     of this article        yes unless            it




          agrees unanimously              and     it
                                                       may not answer any              issue     no unless            ten   or more jurors


          agree.


                 The   Court    is   required by Tex.             Code Crim. Proc.             art.   37.0712f2 to charge                        the jury


          that   it
                      may not answer           the issue        submitted     under     Subsection           e no           unless   it
                                                                                                                                           agrees


          unanimously and it may not answer                         yes unless ten or more jurors agree.




                                                                                                                                                                    A   Al
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                             Under Tex. Code                             Crim.    Proc.       art.    37.0712c                   and     37.0712f1 the jurors shall
                     answer each                 interrogatory                  either    yes or no.
                             In    the     event        that        the jury is unable to answer any issue either because                                                   it   was unable           to



                     secure unanimity                        for a        yes answer or ten votes for a no answer pursuant to the issues
                     submitted              under           Subsection            b       or    because          it    was unable              to   secure unanimity               for a       no
                     answer         or     ten votes for a                     yes answer pursuant to the issue submitted                                          under          Subsection


                     c       Tex.         Code Crim.                 Proc.       art.   37.0712g                  requires the Court                    to   sentence        the       Defendant


                     to   Iife     in prison.               This         is   substantively identical                      to the    sentence           that   results      if the      jury is


                     able to answer                   no            to    at least      one    issue      submitted              under      Subsection           b    or     yes to the
                     issue        submitted             under            Subsection           e.

                           Tex.          Code Crim. Proc. art. 37.0712a                                          prohibits           the Court either              attorney and the


                     Defendant              himself from informing                             the jury or any prospective                             juror that        the      failure to



                    answer any of the issues                                  presented will result in a mandatory life sentence.                                                Jurors who


                    ask questions                 regarding                   the consequences              of such             a deadlock           are     routinely      reread the


                    original         instructions.



                           .Deat            is   different               not only in severity               but also             in kind       from all other punishments.

                    The Eighth               and Fourteenth                      Amendments to the United                                States       Constitution          demand

                    additional             procedural                safeguards           in capital         trials.           See generally               Furman      v.        Georgia 408

                    U.S. 238             1972 Gregg v. Georgia 428 U.S. 153 1976 See Woodson v. North
                    Carolina              428 U.S. 280 305                        1976 holding that death                                 is   qualitatively          different.               The

                    effect        of this is that                  legislatures          and courts         are        obligated to strike a difficult                           but


                    constitutionally                   mandated                 balance        between the non-arbitrary imposition of the death


                    penalty         and the            right         of each Defendant to individualized sentencing.                                                The Texas death


                    penalty        statute by providing                           misleading             information to jurors and then prohibiting the


                    court         the     attorneys                and the Defendant from correcting that misinformation                                                         both creates


                    a constitutionally                      impermissible risk of arbitrariness                                    and denies Defendants                         their right to



                    individualized                sentencing.




I   It   is    precisely this            difficulty         that    caused      Justice Blackmun            to   conclude         that    the entire       enterprise of seeking          to   make

the death           penalty constitutionally acceptable                            was flawed.           In his       dissent from the Courts denial of a                    petition     to   grant

a writ of certiorari Blackmun                               declared           From this day           forward        I   no   longer    shall      tinker with the machinery            of death.

..       It   is   virtually      self-evident          to    me now that no             combination         of procedural            rules      or substantive regulations ever can

save      the death          penalty from             its    inherent constitutional                 deficiencies.             Callins v.   Collins        510 U.S.      1141 1145

I994Blackmun                        J.
                                          dissenting.




                                                                                                                                                                                                           A no%
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                            The 10-12 Rule Creates an Impermissible Risk of Arbitrariness

            The        requirement              that   a death           sentence          not be imposed arbitrarily                           is   derived             from      the



     Eighth Amendments                            heightened                  need     for reliability in the                  determination                      that   death         is




     the    appropriate              punishment in a specific                          case.          Caldwell        v.       Mississippi                  472 U.S. 320

     323        1985quoting                  Woodson                v.   North       Carolina 428 U.S.                at       305       1976.                   It   was    chiefly


     the    concern          that    decisions           of life and death                   were being         arbitrarily              that    led        the       Supreme

     Court        in   1972     to    declare          the     death          penalty       in violation        of the Eighth                   and Fourteenth

     Amendments to the Constitution.                                          See generally            Furman        v.    Georgia 408 U.S. 238

     1972.             In capital          cases therefore                    the   Court      is    committed to ensuring                           that        there      is




     sufficient         process to guarantee                             as   much      as    is   humanly possible                      that    the    sentence                 was

     not    imposed out of whim .. or mistake.                                              Eddings v. Oklahoma 455 U.S. 104 118

     I 982OConnor                          J. concurring overruled on other grounds.


            The      Texas death                penalty        statute         affirmatively creates                 confusion             in the           minds of the


    jurors.          Jurors    are     first     told        that    the jury as a whole                 shall answer                     yes or no to each
     issue       presented           they are subsequently                          told    that     ten or more jurors must be in agreement


     to    give one set of answers                      and that they must be unanimous                                   in order to                give another.                 This


     necessarily            raises     the      question            of what happens                  in the   event       that      the    jury despite being

     instructed         that    it   must answer each question                                is    unable to get the               minimum number of

     votes required to give either                            answer.           The        statute    clearly    provides                that    in the           event       of a


    non-answer               the     Defendant is to receive a sentence                                 that    is   substantively identical                                to that



    which he or she would have received had there                                                   been a verdict             in    favor of life and thus the


    law itself exhibits                no confusion                  with regard to the situation                      presented.                However                    not only


    does        the statute         fail   to    do    all    that       is   humanly possible to ensure that decisions regarding

    life   and death           are    not       made as a result of that                       manufactured               confusion              but        it    actively



    prohibits          any    clarification            of the confusion                     by preventing            jurors from being informed                                   at



    any     point of the effect                  of a non-answer.

           It   is   true    that    state      legislatures             are    often given           discretion          to   decide what information                                  is




    relevant to a capital                   sentencing              determination                  and are thus able                to   exclude            some

    information              from jury instructions.                          See    California v.        Ramos 463 U.S. 992                                     1001


    1983holding                 that       the Court           generally defers to the States                                   choice of substantive




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      lactors       relevant        to    the    penalty determination.                                  However            that   discretion        is   bound by                   the


      requirements            of due           process.         See       e.g.        Simmons v. South Carolina 512 U.S. 154                                                   175


      I994OConnor                         J.   concurring            in   judgment                  Ramdass            v.   Angelone             530 U.S.            156        195


     2000Stevens                     J.   dissenting Shafer                      v.    South            Carolina        532 U.S. 36 39               2001 Kelly v.
     South         Carolina          534 U.S. 246 248 2002.

             In    Ramos the Court                 permitted a jury instruction                                    regarding       the    State    Governors

     commutation powers on the ground that                                            the     instruction             was both accurate and relevant to

     a legitimate           state     penological              interest.          California v.                Ramos 463 U.S. 992                         1.001-06.


     Despite        being prompted to apply                           Ramos            in the       case of Caldwell                 v.   Mississippi               the    Court


     refused         holding         that      when the         State
                                                                           argues that                  automatic           appellate          review     is   meant            to


     determine         whether            the    death                      is                                in
                                                           penalty                appropriate                       a given case this information                              not

     only inaccurately depicts the role of the appellate                                                 court        but more importantly                     it
                                                                                                                                                                     serves an

     illegitimate          state     purpose        by diminishing                     the        ability     of jurors to          feel the      gravity           of their

     task.        Caldwell      v.    Mississippi               472 U.S. 320 336-41                                1985.

            The     Texas procedural                 rules          and corresponding                        jury instructions             are    equally inaccurate

     and                             When        jurors are instructed                                                                                     of life unless
             illegitimate.                                                                   that        they      may not give a verdict

     ten    or more agree             upon a life answer                    in                          to    at    least   one of the three issues                       this
                                                                                  response


     provides        an incorrect              picture     of the         state       of the law.              In    fact    if only      one juror is able                    to


    conclude         that    sufficient          mitigation            exists         to    warrant           the imposition of a life
                                                                                                                                                        sentence

    despite that jurors                   inability       to   convince               nine other jurors of his or her position                                      a life

    sentence        will    be imposed.               This situation                  is                     to capital
                                                                                           unique                             sentencing juries.                    During

    the    guilt/innocence                phase     of a criminal                trial       it    is   strictly correct           to    inform the jury that


    unanimity         is required              for either       a verdict             of guilt or acquittal.                   Although anything                     short           of

    unanimity         will     lead       to   a mistrial and thus might lead the Defendant to be released as


    though        he were.     acquitted            he may still be retried                             and is thus unable                to   claim numerous


    basic    constitutional               protections such                as that          of double jeopardy.                      Under the Texas


    sentencing         scheme while the legislature                                   might prefer a life sentence                         that   derives            from the

    agreement of ten jurors to one that                               arrives          by default the position of the Defendant                                           is



    identical       in both.         See       Padgett v. State              717 S.W.2d                      55 58 Tex.            Crim. App.             1986

    holding         that   a jurys             inability        to   answer a punishment question                                   in a capital        murder case

    has the same                                 effect        as    a negative            answer. Thus                                           the
                           sentencing                                                                                        instructing                jury that              ten




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         or more of them must agree                             upon a life answer                         in order to          sentence          the    Defendant to

         life    regardless of whether                        the    court informs the jury of the effects                               of a non-answer                          is   an

         incorrect     statement                of the       law.        So long       as     the   Texas         statute     equates         the    sentencing


         consequences            of a life            verdict        with the consequences                        of a non-verdict                 the   jury must not

         be misled             believe




         non-answer
                          to                     that   anything            more than one vote                     for   life     is   required to secure that

         sentence.        The. false distinction                         between a life answer often or more jurors and a

                     of less than ten jurors must be-removed.


             This was           not the case prior to                       1981.       Under Texass                 former         capital        sentencing                statute

         if a jury failed        to   respond             to    any of the three               special       issues         the    result     was a complete

         mistrial requiring a new                       trial       not just on sentencing                   but on guilt as well.                      See        Eads v.

         State    598 S.W.2d 304 308 Tex.                                  Crim. App. 1980.                       Under such a scheme setting aside

     the     other arguments proffered here an instruction                                                 that    ten or more jurors                   are    required for

     a life      sentence        would be just                  as       unobjectionable              as   an instruction              that       unanimity             is



     required for death a finding of guilty or an acquittal.                                                       Presumably in response                          to    Eads

     and the         additional        costs          and      difficulties            that    such    a situation           would pose              the       Texas

     legislature          in    1981       amended              the      death    penalty           statute inserting              the default           sentence              of life

     in the       event    of a non-answer.                         It   was    at this time that             the legislature             also      added the infirm

     language          that     is   now         in Article          37.0712a prohibiting jurors from being informed                                                              of

    this default          result.                is   clear     that      the legislature             wished to change                  the
                                           It
                                                                                                                                              sentencing                reality        of


    Defendants            without               informing jurors of this change.                              In    doing         so however              the      legislative


    change made the old instructions                                      inaccurate          depictions of the law.

            Not only are             the        instructions             inaccurate           but they were intended                     to       be inaccurate               and


                                                                                                                                   jurors who are informed
    confusing          in order to               serve an illegitimate state                        interest.        Just     as


    that    their     decision                    be reviewed
                                       will                                 for       appropriateness               by an appellate               court are


    impermissibly               led    to       deflect        their      awesome responsibility                      onto the appellate                  courts             Texas

    jurors are impermissibly                           led     to   relieve       themselves           of a sense of responsibility                            by placing

                                      other jurors who are unwilling
    it   either    upon        the                                                                   to join the         vote in favor of life                     It        is



    their fault that            the   Defendant will be killed because                                     by not joining me they prevent us

                                      required minimum of ten
    from        reaching       the                                                            votes         or upon the statutory                    scheme              that



    purports to require ten votes                              rather       than merely             one in order to give                    life    It        is   the       fault


    of the Texas           statute         because            unless        I   can    get at least ten            votes for life             I
                                                                                                                                                  myself may not




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     vote for life.             The        principle          behind        Caldwell         is   that    courts      must ensure that jurors are

     not   invited       to    place their individual                     responsibility           onto anyone else.                 Just    as    it   is




     impermissible to lead jurors to place that                                     responsibility             upon    the appellate              courts           it   is




     impermissible to lead them to                             place                   their      fellow jurors             or upon a restrictive
                                                                           it
                                                                                upon

     sentencing          statute.



           Assuming            arguendo           that        the   Texas        statute    does     not provide             the   jury with the type of


     inaccurate         and     illegitimate                information          prohibited by a traditional                   reading of Caldwell


     new empirical             data suggests that                   such        a reading     of Caldwell             is   entirely       inadequate               to



     ensure that         capital      jurors feel the truly                      awesome          responsibility placed upon them.


     McGautha            v.   California 402 U.S.                        183 208 1971.                   One recent          study by the Capital Jury


     Project      concluded           that    many death                  penalty jurors seek                  and manage            to    find        ways to deny

     their      personal       moral       responsibility                for the    sentencing           decision.           Joseph         L.    Hoffman

     Wheres             the   Buck - Juror Misperception                               of Sentencing            Responsibility               in    Death           Penalty


     Cases 70 Ind.              L.J.       1137 1157 Fall 1995.                            Given that jurors hardly need                          to    have


     inaccurate         information           provided              to    them     in order for          them    to deflect         responsibility the


     Caldwell          rule   itself should             be read          in light    of the empirically supported                          premise that


     death penalty jurors will take advantage                                      of any     available         opportunity           to    mislead


     themselves about                the   extent           of their responsibility                for   the sentencing             decision.                Id.        If   we

    are    to   give any meaning                  to    Justice          Harlans       concern       that      death       penalty jurors be required


    to    individually feel this terrific weight                                upon   their      shoulders          courts        must inform jurors

    that just      as   each of them              is    required to vote for death                       in order for that           punishment to take

    place       each has the power                     to    give the      Defendant          life unilaterally.


           The    result      of misinforming                  jurors and forcing them to deliberate without                                           knowledge

    of what happens              in the      event           of a non-answer is that they                      are    presented           with a false


    dilemma.            Jurors are given                general          instructions       that    they must answer either                       yes or no
    to   the issues       before them and specific                          instructions          that    define       the   minimum number of

    votes required to give each                         of these answers.                  Because they are told                   that    a death       sentence


    follows       from one set of answers and a life sentence                                       follows        from another              a reasonable


    juror might          conclude          that    the only way to get either of these punishments                                          is    to    answer           the



    questions          posed    to    them.        See        California v.          Brown 479 U.S. 538                       541     1987 quoting
    Francis       v.   Franklin        471     U.S. 316             1985holding                   that   the   constitutional             sufficiency               of




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     capital      sentencing            instructions               is   determined             by    what a reasonable juror could                                      have

     understood           the       charge      as    meaning.                   This leaves jurors free                       to    speculate            as to     what

     would occur            should          they be unable to provide                           an answer               to    the    issues.         While         it   is




     possible that jurors might                        correctly            guess that         the        failure to
                                                                                                                              agree        will     result       in a life



     sentence        it   is   perhaps          more         likely       that    they will conclude                     that       a non-answer will lead to a


     lesser      sentence            a costly        retrial or resentencing                    proceeding                    or absolute            freedom            for the



     Defendant.            Given that each of the jurors has already found                                                    the Defendant                 guilty       of a


     capital     offense            none of these options                        would look desirable to a juror who honestly

     believes that          a life      sentence             in warranted.            Jurors are left to deliberate                                 with the false belief


     that    if they are            unable to gain unanimity                        for   a death           sentence           or ten or more votes                          for a


     Iife   sentence           an altogether unacceptable                           third      option         will       result.


            In   Simmons the                Court       prohibited just this sort of unfairness holding                                                   that   The State

     may not create                 a false dilemma by advancing                               generalized               arguments regarding the

     Defendants             future      dangerousness                    while      at the          same time preventing                            the   jury from


     learning that          the      Defendant never                     will    be released on parole.                             Simmons v. South

     Carolina       512 U.S. 154 171 1994.                                   The Texas               statute       instructs          jurors that            at least         ten of


     them must agree                 in order for                a life sentence          to    be imposed                   yet it prohibits              jurors from


     learning that only one vote                            is   actually        required for a life                   sentence.            It is    precisely           because


    jurors are       left      to    speculate         when capital               juries       are       not informed               of the consequences                        of a


     deadlock       that       several       states         have declared            the practice                 to    be in violation               of Eight

     Amendment protections as found in Gregg                                          v.       Georgia 428 U.S. 153 1976.                                        See      e.g.


     Louisiana       v.    Williams 392 So.2d                            619 634-35             1980holding                         that    by allowing the jurors
    to    remain    ignorant of the true                         consequence          of their failure                   to    decide unanimously upon a


    recommendation                    the    trial     court failed              to suitably             direct    and        limit the       jurys discretion                    so


    as to    minimize the              risk     of arbitrary              and capricious action New Jersey v. Ramseur 106

    N.J.     123 314 1987stating                             that       the jury must be told                          in effect       that       the     law recognizes

    deadlock        as    a permissible result an outcome                                  allowed            by the statute a legal                        trial       verdict



    that    by law results             in   imprisonmentrather                       than       death.

            .Whil    this confusion                  might pressure voters                          to    change         their      position in order to avoid


    the     unknown third option                       it
                                                            might lead to an even more basic misunderstanding.

    Because jurors              are told        that        each question            must be answered                          and voting             ballots       do not




                                                                                                                                                                                       A   A -1
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               include                an option            for non-answer               a reasonable juror following                                   the    instructions         might

               believe                that     a non-answer is not only undesirable                                     but        is   in fact        impermissible.              Such a

               juror might                     believe      that     because        he or she         is   unable to secure the ten votes required to


               give the answer that                           that   juror wishes             the   jury to give and because                                  some     answer         either



               way must be given                             that    juror is in fact          obliged           to     vote with the others and sentence                                     the


               Defendant                  to     death.                           the   law         clear        that    a death              sentence                             be
                                                              Although                         is
                                                                                                                                                               may never

               mandatory and individual                                   jurors must always                     be free to vote for life such                             a belief      would


               reasonably                     follow       from the        instructions          mandated by the Texas sentencing                                           scheme.               In


               fact jurors often mistakenly                                 believe       that      they are required by law to impose death.2                                                One

               study found                     that    when jurors asked                 for clarification                   and were simply referred                            back    to        the



               original               instructions            rather       than being disavowed                         of their false                belief        they became          more

               likely            to    mistakenly            believe       that    the evidence             required them to vote for death.3                                      This       is




               precisely                what       the     Texas      statute      would have judges do when jurors ask questions


               regarding                 the     implications of a non-answer.                             The Texas                    statutory          scheme creates             a set of


               instructions                    that   lead    jurors to have false beliefs regarding                                          their    sentencing           options


               prohibits                them from learning their true options                                     and then operates in a fashion                                 that


               solidifies               their      pro-death          leanings.


                        .I       is   not mere conjecture                   that    jurors might be confused                                  by the Texas            statute      in



               particular.                A quick survey of Texas capital cases reveals numerous instances in which

           jurors have exhibited their confusion                                           by asking             the    judge            for clarification.0                Even        in    the


             absence                  of such         evidence        of confusion             however                the      Court has stated                     unambiguously that

             the    trialjudges                        duty    is    to   give     instructions            sufficient              to    explain the            law an obligation

             that       exists           independently               of any question                from the jurors or any other indication of


           perplexity                    on their part.               Kelly v. South                Carolina            534 U.S. 246 256.                           The Court           in Kelly



           held that                   though         the   jury in that          case did not exhibit                       its   confusion               by inquiring about



2 .Se generally                  Garvey         Stephen      P. Sheri      Lynn Johnson and Paul Marcus Correcting                                           Deadly   Confusion

Responding         to    Jury          Inquiries      in   Capital    Cases        85   Cornell     L.    Rev.    627 2000.                   In   addition    to   this   mistaken      belief

one   study also found                  that    about        half the jurors incorrectly believe                      that    a mitigating factor must                 be proved        beyond a
reasonable      doubt.                Less than       a third of jurors understand             that      mitigating factors               need       only    be proved      to   the jurors

personal satisfaction.                   The great majority of jurors - in excess of sixty percent                                       in   both    life   and    death cases     -

erroneously believe                    that   jurors must agree           unanimously         for   a mitigating circumstance                         to   support a vote against

death.    Eisenberg                   Theodore and Martin T. Wells Deadly Confusion                                           Juror      Instructions         in Capital     Cases           79

Cornell   L.    Rev.         I
                                 1993.
3   85 Cornell      L.    Rev.          627 639 2000.
0




                                                                                                                                                                                                         AAO
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      parole as the juries                      in   Simmons and Shafer had common sense was                                                     all      that   was required

     to    know        that       the    jurors might have been                        confused.              Id.   at 20.         Similarly even                  if empirical



     evidence              were not available to demonstrate                                   that     the   10-12 Rule                   fosters          confusion


     among jurors common sense                                     is   sufficient        to    conclude            that     the statute             itself      and in


     particular            its    prohibition on permitting                          trial   judges           from fulfilling              their       duty to give


     sufficient            instructions              to    explain the          law is unconstitutional.

            Commentingon the                              prohibition on informing juries of the effect                                          of deadlock Judge

     Clinton was                 likely       correct       when        lie   stated      in his      dissent in Sattiewhite                         v.    State   that    it
     seems apparent                     to    me that        the   purpose           .. is to act as a kind of inverted dynamite

     charge.          The        Legislature did not want jurors to                                know         that    failure to          reach          a punishment


     verdict-a hung jury-would not result                                              in the State           incurring the additional                           expense         of a

     retrial.          Sattiewhite v. State                        786 S.W.2d             271 292 Tex.                  Crim. App.                   1989Clinton J.

     dissenting.              The        converse            of this is that           the   Texas        legislature             did want to foster the false


     belief      of jurors that a non-answer would require                                             the additional                  expense         of a retrial.        Even

     when      it     is   true       that    a hung jury will result                     in a costly          retrial the             Constitution              does not


     permit.judges to refer to the additional expenses                                                  when they urge deadlocked                                juries    to     try


     to    come to a verdict.                    See        United       States      v.   Taylor 530 F.2d                    49 52 5th Cir. 1976.                           In    the


    event     that         such       costs do not in fact                    exist as       is   the    case under           the Texas statute                     it   is all    the



    more      clear         that      the Constitution                  cannot       permit the legislature                       to    benefit        from that


    misperception                     by prohibiting judges                    and lawyers              from correcting the mistaken                               beliefs        of


    jurors.


           The        inaccurate              and    illegitimate             instructions            provided         to    Texas        capital          sentencing


    juries    creates            an unacceptable                   risk that      decisions             are   being         made arbitrarily                 or by mistake.


    While        it   is   true       that     uncertainty about                 the    consequences                of a non-answer might lead a lone

    holdout           for a      life    sentence           to join the         other jurors voting                  for     death         it   is   equally true          that



    this confusion                 might lead              at least     one of the three                holdouts            for    death        to   join the nine other


    jurors voting             for       life.    See        e.g.
                                                                     Jones      v.   United           States        527 U.S. 373 394 1999stating

    that    the petitioner                   could        not demonstrate              prejudice because                    it          is just      as likely      that    the



    jurors loathe                to     recommend a lesser                     sentence           would have compromised                                  on a sentence            of


    life   imprisonmentas on a death                                 sentence.               With regard               to the          Texas statute while this


    point might             be correct                    fails to                     serious constitutional                      infirmities             for two       reasons.
                                                     it
                                                                        prevent




                                                                                                                                                                                         AA
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     First    because          the      statute        provides              Defendants            with    the    exact same             sentence        regardless of


     whether        they receive one vote for                            life       or ten the State             itself is       not prejudiced           when      votes


     for    death    are changed                into     votes for life for the sake                        of obtaining the ten vote minimum.


     The     Defendant however                         suffers          a tremendous wrong                       when holdouts                for life    switch     their



     votes to death            out of confusion                     or a feeling             of obligation.              Thus         only the Defendant and


     not the State            could       suffer        harm from such                       confusion.          Even      if the      State       did have an


     interest      in   keeping          life    sentences              that       derive        from a verdict           distinct       from life sentences

     that    derive     by default              that     interest            is   vastly     overshadowed                 by the Defendants                   interest.



     See Lowentield                v.   Phelps 484 U.S. 231 252 Marshall                                            J.   dissentingstating                that     when

     the    substantive         outcome            of a deadlock                    is     identical      to that    of a life verdict                the States

     interest      in a verdict           .. is relatively                         weak       whereas        the    Defendants                interest    in



     preserving         the    integrity          of a dissenting vote                        is correspondingly                      strong.         Stated simply


     while the Defendant                   never         needs          to    have a voter change                   his   or her vote out of confusion


     the    State because               death     may only be imposed through                                    a unanimous             verdict         does.     Thus

     while    it
                   might       be true          that    it    would be difficult                   to   determine          whether        a particular


     Defendant          was prejudiced                   it   is   beyond dispute                  that    the    system as a whole can only


    prejudice the Defendant.


            Second       it   is   eminently             clear       that         when confusion             regarding           the     outcome         of a deadlock

    leads    jurors      to    change their votes                       in either           direction      simply for the sake                     of a verdict      those


    decisions        regarding            life and           death       are       being     made arbitrarily.              In    cases       in    which the jury

    does     not quickly             and without               dispute              come to agreement on the appropriate                                 punishment

    the     two most important                    factors          remaining               for   a decision        are    the    general confusion                of the


    jurors caused             by misinformation                         and the          initial disposition              of the jury regarding                 whether

    or not to impose death.                       If nine          jurors find             sufficient       mitigation           to   warrant        a life    sentence


    at least      one of the three jurors holding                                  out for death           will    be likely to switch                over solely


    out of uncertainty regarding                             the    consequences of a non-answer or due                                       to   a mistaken       belief



    that    an answer must be reached                              at   all       costs.     If eleven      jurors vote for death                     and one finds

    that    the    mitigating evidence                       warrants             life that       juror might        be swayed to vote for death                          for



    identical       reasons.            When jury instructions                             misinform jurors and purposefully prevent


    clarification        and verdicts                  are    rendered out of such                      confusion           it   is   clear    that    those


    instructions        introduce                  a level          of uncertainty and unreliability                              into    the factfinding




                                                                                                                                                                                Al   %
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     process that          cannot        be tolerated                               case.           Beck
                                                                in   a capital                                  v.    Alabama 447              U.S.   625 643

     1980 overruled                 on other grounds.




             The 10-12 Rule Denies                        the        Defendants Right                     to   Individualized            Sentencing

             The    Constitution           requires           that   states      balance        the                          to   minimize the risk of
                                                                                                         obligation

     arbitrariness         with the need            for individualized
                                                                                         sentencing.             In          capital     cases the

     fundamental                          for humanity                                                          Amendment requires
                           respect                                   underlying the Eighth

     consideration          of the character and record of the individual offender                                                 and the circumstances

     of the    particular         offense     as    a constitutionally                                                       of the process of
                                                                                         indispensable               part


     inflicting      death.         Woodson          v.       North     Carolina              428 U.S. 280 304                    1976 In furtherance
     of this demand the Court held in Lockett                                     that    The sentencer .. can not be precluded
     from     considering          as a mitigating               factor any aspect of a Defendants                                  character         or record

     and any of the circumstances                        of the offense             that      the    Defendant                           as   a basis   for   a
                                                                                                                            proffers


     sentence       less   than death.citation                                           Lockett
                                                                     omitted.                            v.    Ohio 438           U.S.   586 604 1978.

     Later cases       have       clarified       that    such                            evidence             need
                                                                      mitigating                                       only be proven            by a

     preponderance           of the evidence.                  See Walton           v.    Arizona 497 U.S. 639 649-50 1990

     overruled       on other grounds.                    More importantly                     the       Court has unequivocally                  held and

    the   Texas statute                                   under
                                  clearly    states                    Article          37.0712f3 that a single                            juror must be


    permitted to consider                 and weigh mitigating evidence                                  unilaterally            regardless of whether


    any other jurors             accept     the    evidence           as    mitigation.             See       McKoy         v.   North Carolina 494

    U.S.     433 435 1990                 Mills v. Maryland                      486 U.S. 367 374-75 1988.

          Although         the    capital    sentencing jury resembles juries that                                     sit   in   the guilt/innocence


    phase     of capital and non-capital                      trials       its   role    is   distinct.         All juries have historically                  been


    expected        to secure unanimity                   by comparison of views and by arguments                                             among the

    jurors themselves. Jones 527 U.S. at 382 quoting Allen v. United                                                                States     164 U.S.       492

    501    1896.           The    capital     sentencing              jury however                  is   charged       more        precisely     with the


    duty to express the conscience                            of the community on the ultimate question of life or

    death.      Lowenfield               484 U.S.        at    238 citation omitted.                           Because extraordinary


                                                                                                                                       impositions of
    protections      are constitutionally                 required to ensure against unwarranted


    death     the   Texas sentencing               scheme like the                  Louisiana             statute creates              a   situation     unique

    to the             trial      that    a single                                             in    a sentencing                recommendation at
             capital                                     juror by persisting




                                                                                                                                                                     A r 4
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      variance       with     all   of his fellow jurors               may alone cause                      imposition of a life               sentence.


      State    v.    Loyd 459         So. 2d 498           503 La.            1984.         The        requirement              of individualized


      sentencing        in capital         trials means         not simply that                  Defendants              must be judged based upon

     their     own character              but that      they must be judged as such                              by individual jurors charged                 with


     considering            the    evidence      and asked        to     make determinations                        of    life   and     death.     This clearly


      follows        from the Courts demands                     that        each     individual            juror be capable              of considering


     mitigating        evidence           that   that    juror alone finds                to exist         simply by a preponderance                    of the

     evidence.


            Members of a capital                  sentencing jury sit through                          the       courts     instructions           take an oath


     and pass through               the    extraordinary process of death                             qualification.             More than any other

     jury that sits in a courtroom                       we can    be confident                  in our      presumption               that   such jurors are


     unbiased impartial and capable                          of deliberation.                    It   cannot       be correct           therefore to say


     that    informing jurors of the effects                     of a deadlock                  would act           as    an open invitation            for the



     jury to avoid           its   responsibility          and to disagree.                     Davis       v.   State     782 S.W.2d             211 221

     Tex. Crim. App. 1992overruled                              on other groundsquoting                                  Justus v.       Commonwealth

     266 S.E.2d 87 92 Va. 1980.                             Rather when a juror decides                              that       sufficient      mitigation


     exists     to   warrant        a life sentence          and wishes             to    stick       to   that    position despite the fact               that   it




     will    prevent the jury from reaching                       a verdict           he does not violate                   some        abstract    duty to


     secure unanimity or to not disagree.                                     It is      true    that      under     the    Texas sentencing statute

     a juror would be abdicating                     his   or her responsibility                      were he or she              to   not answer one of


     the    questions.         The issues          are     framed in a manner which permits them                                         to   be answered


     either    affirmatively or negatively                      and     it   is   the purpose              of the    deliberative             process to


     resolve juror vacillation.                    Nobles v. State 843 S.W.2d 503 510 Tex.                                               Crim. App. 1992.


     Once      deliberation          has taken          place   vacillation              has been           resolved        and each juror has

     settled    upon     his       or her answer to the three                     special        issues          however         surely the failure of


     those votes to meet the numerical                          requirements                of the 10-12 Rule cannot                           be considered


     a violation      of the jurys duty.                 On the contrary                  as the Supreme                  Court of New            Jersey held


     in   Ramseur and as is equally true                        under        Texass          statutory            scheme         A      capital   jury does


     not avoid        its   responsibility by disagreeing                          - genuine               disagreement           is    a statutorily


    permissible conclusion                   of its deliberations.                   Ramseur                106 N.J.       at    311.
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                             .Indee       McKoy            and Mills together stand                         for the     principle       that     setting        up barriers             to


               prevent             the   jury from disagreeing                      can         itself be constitutionally                  prohibited.              This     is



               precisely            the       case with the            10-12 Rule the                       substantive        effect       of which is that                 it




              prohibits             individual            jurors from having                        a meaningful             opportunity            to   judge         the


               Defendant                 on the       basis     of mitigation                 by creating       the   appearance             that    while each juror may


              introduce                 and weigh mitigating evidence                                unilaterally        a minimum of ten jurors                         are


              required to pass judgment on such                                          factors.5         This was exactly what the Court was


              concerned                 about        in   McKoy when                it       held that      Mills requires            that    each juror be permitted


              to    consider             and give         effect       to   mitigating              evidence      when deciding               the    ultimate question


              whether              to    vote for a sentence                 of death.                McKoy 494 U.S. at 442-43.                           It    is   not enough

              for       Texas to inform the jury that they need                                           not agree     on what         particular             evidence


              supports             an affirmative finding on the issue                                    of mitigation               Article
                                                                                                                                                    37.0712f3                        if


              the effect            of the          entire    instruction           is       that   ten   or more jurors must agree                      upon an

              affirmative finding in order to give effect                                            to the    finding of any one juror.                       Each juror must

              be capable                of giving         effect      to    mitigating              evidence     when determining                   the    appropriate


              punishment and thus only one juror not ten must be sufficient                                                                 under Article

              37.0712f2 to answer yes to the mitigation                                                         issue    present by 37.0712e1.                                     By

              instructing               the    jury that        ten   jurors are required in order to give a                                yes answer                  the       Texas

              statute          violates         the principles              underlying Mills and                  McKoy by preventing                          individual


             jurors from having                       a meaningful                 opportunity to consider                    mitigating         factors.




                             The   10-12 Rule                 Denies         the    Defendants Right                    to   a Fair and Impartial Jury


                    As discussed above                          the    10-12 Rule operates by necessarily creating confusion                                                        in


             the    minds of the jurors and then prohibiting them from having                                                           their       confusion           clarified.


             This was earlier discussed within                                     the context             of the additional                         Amendment
                                                                                                                                       Eighth


             safeguards                 required to reduce                  the risk of arbitrary               and unreliable sentences.                            An additional

             problem created by such                            confusion               is   that    it
                                                                                                          permits jurors        with misconceptions                      about       the




5        Roberts
    In             v.        Louisiana        the   Supreme Court invalidated Louisianas                         mandatory          death    penalty      scheme on the

grounds     that         afforded             no meaningful                                  for consideration     of mitigating factors                               by the
                   it
                                                                      opportunity                                                                   presented
circumstances           of the particular            crime or by the attributes                 of the individual offender.             Roberts                               428 U.S.
                                                                                                                                                     v.   Louisiana
325 333-34         1976.           That       the   sentencer    must       have    a    meaningful opportunity                to   consider mitigating factors

suggests    that   not only       may legislatures              not actively        prohibit such           consideration       but they also must also take positive

steps to foster         it   when necessary.




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     law formed prior to the                      trial   and outside of the courtroom                           to    introduce      such        ideas into


     deliberations.


            It   is   beyond dispute              that    capital      juries        are   often dominated by misconceptions


     regarding           the    state   of the law their role                   as   jurors and the definition                    of key concepts                  such


     as   mitigation.              As discussed above                   a reasonable juror who conscientiously attempts                                            to


     understand              the   Texas sentencing               statute       might       be led to believe             that    just      as   a sentence             of


     death       may not be imposed unless the jury is unanimous                                           with regard to             all    three         special


     issues       a sentence            of life may not be imposed unless                               at least ten     jurors agree             with respect


     to at least         one of the       three        special        issues.    Not only does                 this   mistaken        belief      raise       an


     Eighth       Amendment problem with regard                                  to arbitrariness              and reliability           but the possibility


     that   jurors might             draw upon            their    preconceived               notions      to    resolve       such    a situation            raises


     Sixth       Amendment concerns.

            The       right to      an impartial          jury has long been recognized                           as   fundamental.               See e.g.

     Lockhart           v.   McCree 476 U.S.                    162    1986.          This      is   particularly        crucial      in
                                                                                                                                            capital         cases

     where        the    Constitution         demands            that    the decision                whether      a man deserves                 to    live   or die


     must be made on scales                    that       are    not deliberately               tipped    toward        death.         Witherspoon v.

     Illinois         391     U.S.   510     523 n. 20           1968 overruled on other grounds.                                     To protect             this



    right courts are obliged                      to   take reasonable                steps     to   ensure the impartiality                 of a jury.            It    is




    for this reason that                voir dire         is   made available to both parties the judge is equipped                                             with


    the
            power       to    strike    jurors for cause each                   party is granted a certain                  number           of peremptory


    challenges               and jury instructions               are    fashioned          to    clarify the      jurys role and impress upon

    them the importance                   of their task and the oath to which they have sworn.


            By manufacturing                 confusion           in the    minds of the jury and preventing                              the court or the


    attorneys from correcting it the                            10-12 Rule creates                      fertile ground for jurors to                        draw


    upon     their       own biases and                preconceived             notions         in coming        to    a verdict.        This         is




    particularly             dangerous       when jurors are confused                           about    their    sentencing          options              and the

    results       of their sentencing              decisions.            The concept             of a hung jury is widely                    understood                 to



    be a disfavored                result.   In    most trials a hung jury leads                          to   a mistrial and most people


    understand           that      a mistrial will either               lead to a costly             retrial or to       the     dropping         of charges.

    While        neither       of these undesirable                   outcomes         will result        in the       case of capital           sentencing


    under        the Texas statute jurors are required to be kept in the dark with regard to that




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         materially relevant           fact.      The     10-12 Rule                effectively           forces      the    jury to wonder                       what

         would happen were they are unable                            to    answer      the   special         issues        possibly leads                        them   to


     believe        that    an unacceptable              third alternative            other than            life    and death would follow and

     then leaves them to draw upon their own                                                               notions         in coming
                                                                                preconceived                                                       to   a verdict.

     While      the       concept     of a mistrial might be distasteful                         to       a holdout          and        is   certainly


     disfavored            by the court         during        the                                            of a criminal
                                                                     guilt/innocence            phase                                    trial          it   is   surely      all



     the    more unacceptable                to    a juror in a capital              sentencing            proceeding              who        has already                found

     the    Defendant guilty of a capital                       offense.        The     risk that         jurors will enter the courtroom

     with that        misconception               is   too great      to    allow them to continue                        deliberating in the dark.

            To ensure that            capital      juries      do not               upon    their biases
                                                                            rely                                     regarding               hung juries during

     deliberations            jurors must either have their misperceptions                                     corrected            or they must be

     examined          for bias
                                      during      voir dire.          Because of the additional                                     Amendment
                                                                                                                      Eighth


     problems with forcing jurors to                          deliberate        using false information                           this Court             should

     declare        Article    37.0712a                 unconstitutional              with respect to               its   prohibition on informing

     the   jury of the effects             of a deadlock.                 The Court should                protect         the right          to    a fair and


     impartial       jury by informing                  the   jury that       if they   are unable to reach                       the   minimum number

    of votes required to give an answer                              to    any one of the        special           issues          they are permitted to

     return    the    ballot    without                                    In the
                                               any answer.                          event     that    the    jury is unable to answer any of

    the    three     special    issues       the       court will sentence              the   Defendant              to                                                  if
                                                                                                                           life    imprisonmentas

    he had been sentenced                   by the jury itself.


           Should this Court not wish to                        protect       the Defendants right to a fair and impartial                                               jury


    by invalidating            Article      37.0712a the Court must permit the attorneys to voir dire
    potential       jurors to discover                 what they believe             would happen                  in the    event           of a non-answer.

    See Rosales-Lopez                      United        States      451      U.S.    182      188
                                      v.                                                                  1981holding                   that       voir       dire



    plays a critical function                  in      assuring the criminal                Defendant that                 his     Sixth Amendment


    right to    an impartial          jury will be            honored. Not               only        is   such      questioning               permitted by

    the Texas statute           on the grounds                that         would not involve
                                                                      it
                                                                                                            informing              prospective                jurors of

    the    actual    consequences            of a non-answer but it is clearly                             in line        with the central                    holding

    in    Turner     v.    Murray that       the       risk of juror bias            must be considered                     in light of the ease

    with which that                                           been minimized.
                               risk   could       have                                        Turner         v.    Murray 476 U.S. 28 36

    1986 overruled in part on other grounds affirmed in part.                                                       In    Turner             the   Court held
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         that    because          of the complete         finality of the             death     penalty            and the risk that            racial    prejudice

         would infect jury deliberations                     the      trial   judge          failed    to protect             the    Defendants                     to
                                                                                                                                                         right               an


         impartial       jury by not permitting              the      lawyers          to    question         prospective             jurors on their racial


         prejudice.          ldl.
                                     Similarly because           of the finality of the death penalty                                  and the        risk that


         preconceived               notions                  the effects          of a hung jury will improperly
                                               regarding                                                                                        infiltrate jury


     deliberations                  the    right to   an impartial        jury must be protected                         at   the
                                                                                                                                     very least by granting

     attorneys the right to question jurors about                                 their beliefs.               While Defendants                  may not have
     an absolute             right to        voir dire potential                                            their beliefs            about
                                                                        jurors regarding                                                       deadlocked

     juries when               the    legislature       has barred        all   other means of bringing such                               biases to                and
                                                                                                                                                          light


     correcting them                  it   becomes imperative that Defendants                               be equipped               with the tools to


     confront           those       who sit in judgment upon                    them.


                In    King   v.     Lynaugh       the   Fifth Circuit           sitting       en bane reversed an                     earlier    decision          by a

     three           judge   panel which concluded                 that    for Texas            to    deny a Defendant the opportunity                                  to


     present information                     about    parole eligibility is therefore                         to   limit his decision              to    bring to

     the     sentencers              consideration       relevant information                    and circumstances                     that    might cause              the


    jury to decline                 capital    punishment.         King v_Lynaugh                      828 F.2d 257 264 5th Cir. 1987.

                     dissent from the en bane              ruling Judge Rubin wrote
     In his                                                                                                        It                         because
                                                                                                                         is   precisely                       Texas

     courts refuse to give accurate                       corrective instructions                      that    voir dire about                potential       jurors


     understandings                  of parole law becomes necessary.                             King v_Lynaugh                       850 F.2d 1055

     1067 5th Cir.                  1988Rubin Williams Johnson                                JJ. dissenting.                 An essential         feature         of

    the     Courts holding                  in that   case was     that       trial   judges          can     use their discretion               in


    determining              how to restrict voir dire and fashion                            jury instructions                 relying        upon

    immediate                perceptions Rosales-Lopez 451                              U.S. at 188-89 and the                         demeanor of the

    jury Ristaino v. Ross 424 U.S. 589 595                                      1976 citation omitted.                               The   present case            is



    distinguishable from King however                                                        the legislature              and not the trial judge




    10-12
                                                                      in that     it    is



    that    has decided              not to issue       accurate       corrective instructions                      to    the       jury regarding

    deadlock.            Whereas the trial judge maintains                            the freedom to instruct                        the jury on parole or


    to    allow the attorneys to voir dire the jury with regard to their beliefs on                                                                     the
                                                                                    parole

           Rule         expressly restricts the judges                    discretionary powers with regard to instructing


    the    jury on the law of deadlock.                     Thus even if King                     is correct            in instances          in which        it   is



    the    courts       which make the decision                  to    not give clarifying                    instructions             when the




                                                                                                                                                                                  A   r/
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     legislature             makes such               a decision             as    is   the     case here           it   is   the    duty of the courts                  to protect



                                                                                                                                                                   process of
     the right to             an impartial                 jury by providing                    additional          safeguards through                       the


     voir       dire.      That        duty derives from the unique                                  advantages               that   the    trial      judge has over             the



     legislature             to      ensure a fair and impartial                             jury on a case by case basis.




  The 10-12 Rule Prevents                              the      Defendant               from Receiving                   Effective          Assistance             of Counsel

             It   is   a fundamental                  principle           in death            penalty jurisprudence                       that    If an experienced

     trial      judge        who daily           faces          the difficult            task       of imposing sentences                             has a vital need           for



     accurate information                        about          a Defendant and the crime                                he committed in order to be able                                 to



     impose a rational                     sentence             in the      typical          criminal        case then accurate sentencing

     information                is   an indispensable                     prerequisite              to    a reasoned           determination                 of whether          a


     Defendant               shall     live   or die            by a jury of people                      who may never                    before have          made a

     sentencing              decision.            Gregg              v.   Georgia 428 U.S. 153 190 Stewart                                             Powell           and


     Stevens JJ..                    This   is   so clear            that    the    Fifth        Circuit in Burley                   v.    Cabana declared                that    it




     was     ineffective              assistance of counsel                         in violation            of the Sixth Amendment                             for the        trial




     lawyer         to   not      inform the                trial     court of sentencing                    alternatives                             Burley       v.   Cabana

     818 F.2d 414 418 5th Cir. 1987.

            If it      was      ineffective           assistance            of counsel              to     not inform           the   judge           of his sentencing

    alternatives                it   would surely be ineffective                               assistance        of counsel                to    not inform a


    sentencing             jury of its sentencing                         alternatives.                  Yet this is precisely                  what     the       10-12 Rule

    forces        trial      counsel to do by preventing                                attorneys from informing                            the       jury of the true           state


    of the        law.       A reasonable defense                           attorney would surely inform each juror that                                                not only          is




    it   that     jurors          right but           it   is   in fact      that       jurors duty            to    individually weigh the evidence


    presented and make a determination                                            for    life    or death       on the basis of that individuals

    conscience.                 Such a statement would accurately                                         describe        the role of the capital juror and


    would provide                    the   jury with information                             materially relevant to their sentencing


    responsibilities.                  To prevent an attorney from informing                                              the jury of the true                 state      of the

    law     when such                information                is   essential          to    the   capital     jurors role                is    to   prevent the attorney


    from providing the Defendant with                                        his right to                adequate         counsel.              This    is   equally true            in



    the   event          that     counsel        is    prevented             from conducting                   voir dire in order to intelligently




                                                                                                                                                                                               A   1   7
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     utilize           counsels peremptory                      strikes        to    remove prospective                       jurors      harboring           devastating


     misunderstandings                          of the consequences                      of deadlock             under        the   Texas death              penalty.




                                         The     10-12 Rule Has                      a Coercive             Effect       upon       the    Jury


              The                principle        that   jurors may not be coerced                              into   surrendering              views


     conscientiously held                         is    so clear    as to       require no elaboration.                             Jenkins       v.   United               States

     380 U.S. 445 446 1965quoting                                         the Solicitor                 Generals         brief to         the    Court.                In   Jenkins


     the     Court           declared           that    in its context              and under             all   the circumstances                  the      judges

     statement               to    the jury that          You have got to reach a decision in this case was coercive.
     Id.     In   United               States   v.     United     States       Gypsum Co. the                      Court applied             Jenkins          in        holding

     that     reversal             would have been appropriate                              solely because                of the       risk that        the foreman


     believed               the court was              insisting    on a dispositive                    verdict.          United          States       v.   United            States



     Gypsum Co. 438 U.S. 422 462 1978.                                                     In    his   concurrence             with the Third Circuits


     judgment               in the        case prior to the Supreme Courts ruling                                        Judge         Adams concluded                        that


     when         the       jury foreman suggested                       to   the        trial   judge      that   he    knew        the    court wanted a verdict


     one way or the other the trial judge                                           at    that    time possessed the affirmative obligation to


     make         it    clear      to the       foreman that          the      jury had the option                     of reaching no verdict                           should


    juror unanimity                      prove         impossible.             United            States    v.    United        States      Gypsum Co. 550

     F.2d.        115 133               3d Cir. 1977Adams                           J.    concurring.


             Within           the       context        of capital sentencing                      and taking           into    consideration                the


     circumstances                      required by the Texas statute instructing                                      the jury that         they shall answer


     yes or no to the special                                issues       presented to them acts as undue coercion.                                               It   has


     already           been shown               above      that    the    Texas            statute      necessarily creates                 confusion              in the



     minds of jurors and might affirmatively                                             mislead jurors to believe                        that    a third alternative


    to     life   and death               exists.        Within     the       context           of the demand that each                     issue      must be


    answered                setting        minimum votes for each answer                                   has the effect            of coercing holdouts                        for



    life or death                 to    feel that      the need      to       come to a verdict                  takes precedent                 over their


    conscientiously held belief.                             While        this is          unacceptable            in all      criminal trials               it    is




    particularly                 unacceptable             in capital      sentencing                proceedings.


            In    Lowenfield                the Court         in a capital               case     upheld the use of a supplemental                                     charge


    similar            to   an    Allen charge               that    was intended                  to     encourage           the   jury to       come to a verdict.




                                                                                                                                                                                       A /-/1
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             Lowentield                   484 U.S.            at    240-41.         The Court acknowledged                                  that     although        the traditional


             justification                for    such        a charge-the avoidance                                 of the societal            costs        of a retrial--did not


             exist the State                    still      had a strong            interest          in having             the    jury express the conscience                               of the


             community on the ultimate question of life or death. Id. at 238 citation omitted.

                     Under the Texas sentencing                                    statute      the         societal        cost justification              for    pressuring juries


             to     return      a verdict              is   similarly        absent.           Thus          the    only possible State                    interest      that    could


             balance           against the strong                      State      and     private            interests        that   jurors not be coerced that


             Defendants               he tried by a fair and impartial                                     jury and that determinations                            of punishment he


             reliable          and non-arbitrary                      is   that    capital juries                  are meant to speak                 the    conscience           of the


             community.

                     .Whil           it   is   true        that    capital        juries       are    meant          to    represent the             community two reasons

             exist       for   why this value cannot                           outweigh               the     risk     of coercion            bias and arbitrariness                        that



             are     created by not informing                              the     jury that          they have the option                     of not answering                  a


             question            and that             the     effect       of a non-answer is a life                          sentence.            First in order for the jury


             to    enter a verdict                of death            under        the    Texas scheme                      all   twelve      members of the jury must

             agree       on all       three           special       issues.         Thus        while the purpose                        of the jury is to express the

             collective          conscience                  of the community just as each community                                                 is   made up of

             individuals             each jury is made up of individuals.                                            What         we are really looking                   for    is   not a


            jury that          as    a unit           is   asked      to   speak         the    singular voice of the                       community but rather                           we are

             asking twelve                 representative individuals                                to     each     speak        his    or her own voice                 and through

             that    we hope to discern                           the collective           conscience                 of the community.6                     It is      a mistake


             therefore to consider                           that     the States           interest               in having        the   jury speak          the     conscience              of


             the    community                  conflicts            with the States                  interests            in not    coercing          the   jury providing a fair

             and impartial                jury and limiting                       the    risk for arbitrary                  and unreliable               decisions.           Those


             interests         are    one and the same                         for if
                                                                                          any member of the jury feels undue pressure                                                 to



            change         his      vote in order for the jury to                              come to a verdict                     the     States         interest      in having           the




6 This statement         of representativeness should                        not be taken            to     be an admission          that   capital       juriesare      representative of

the community.   The process of death qualification leads to the removal   for cause  of conscientious objectors to the

death penalty despite the fact that they are no less members of the community than anyone      else as well as individuals

with qualms about the death penalty who are stricken through    the use of peremptory    challenges. Numerous studies

have   shown      that   those      individuals             who remain         are more prone                to   support the death          penalty than         the   average       member

of society     and    are also more              likely      to   convict    the Defendant                 either   because       of their personal beliefs or because                       the


extremely     time-intensive              process          of death    qualification focuses jurors not upon                             the guilt    or innocence        of    the


Defendant         but rather upon              what     penalty he deserves              once        his    guilt   has been       reached.




                                                                                                                                                                                                     Arn
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           .jur speak       the     conscience         of the community                  is   frustrated.      It   is   only    when each member of

           the   jury is left entirely          free    to    weigh the evidence                   presented        is   permitted to unilaterally


           introduce     and consider           mitigation              and     is   fully    informed      of the individual                  awesome

           responsibility           that   he or she bears in making                      this decision       between           life    and death        that     the



           conscience       of the community                  will      be expressed.              The Court must allow                     for the
                                                                                                                                                       very real


           possibility      that     a   non-verdict         is   itself an      expression          of the   communitys truly divided

           conscience       with respect to the issue                     of whether          an individual          should       live       or die.


                 Secondly even if the States                       interest          in a verdict     does stand in opposition                    to    the   other


           interests    that    the State       and the individual                   Defendant might hold the entire body of capital


           punishment jurisprudence                    speaks        to   the overriding            nature of our need                 to   protect against

           unwarranted          impositions of death.                     The   State     always      has an interest            in    reaching        a verdict


           and having       the      jury speak        the    voice of the community.                      That     interest      has not been allowed


           to   supercede       the      Defendants          right to      a fair and impartial             jury to not be subjected                     to     cruel



           and unusual punishment                  or to not receive the equal protection of the law.




           WHEREFORE PREMISES CONSIDERED Mr. Mullis respectfully                                                                             requests that        1
the   Court declare Tex.             Code    Crim. Proc. art.s              37.0712d2 37.0712f2 and 37.0712a
unconstitutional        2       the Court       instruct          the   jury that       in the     event    that    they are unable to answer


any issue presented            to   them they     are        to return      the ballot         without      said    answer         and that a life


sentence     will   be imposed upon the Defendant pursuant                                    to   state   law and in the alternative                     3      the



Court   permit the attorneys to voir dire prospective                                 jurors to discover            whether        they harbor any


preconceived        notions         regarding    the     consequences                 of a deadlock         that    will   prevent           them from


accurately       and reliably weighing            the        evidence       presented at sentencing.




                                                                                                                                                                        ncn
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                                                                     Respectfully        submitted




                                                                     ROBERT         K.    LOPER
                                                                     SBN 12562300
                                                                     111 West     15x     Street

                                                                     Houston     Tx 77008
                                                                     713-880-9000office
                                                                     713-869-9912 fax




                                                                     GERALD BOURQbE
                                                                     SBN 02716500
                                                                     24 Waterway         Ave. 4660
                                                                     The    Woodlands Tx 77380
                                                                     713-862-7766office
                                                                     832-813-0321        fax

                                                                     ATTORNEYS             FOR DEFENDANT




                                                CERTMCATE OF SERVICE
         I
             hereby   certify   that   a true   and correct   copy of the above and foregoing        instrument has


been   furnished to counsel for the State            by hand-delivery      of a copy of same on

                           2010.




                                                                    ROBERT       K. LOPER
                                                                                                               r




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                                               CAUSE NO. 08-38-72


THE STATE OF TEXAS                                               IN    THE DISTRICT COURT OF

Vs.                                                              GALVESTON COUNTY TEXAS

TRAVIS JAMES MULLIS                                                  122ND JUDICIAL DISTRICT



                                                       ORDER

      BE IT REMEMBERED                  that   on the           day of


2010 came   to   be considered   the   Defendants       MOTION TO DECLARE THE 10-12 RULE

UNCONSTITUTIONAL. The court                    is   of the opinion    the motion should be in all things




      GRANTED

      DENIED




                                                               JUDGE PRESIDING
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                                                        CAUSE NO. 08-J8-7-2


TIIE        STATE OF TEXAS                                                    IN THE DISTRICT            COURI-OF                   5e


Vs.                                                                         GALVESTON COUNTY TEXAS

 TRAVIS JAMES MULLIS                                                         122ND .JUDICIA DISTRICT


                             MOTION FOR PRESERVATION AND DISCLOSURE
                             TO THE DEFENSE OF GRAND JURY TESTIMONY

TO THE HONORABLE JUDGE OF SAID COURT

             Now comes TRAVIS JAMES MULLIS                                by counsel and pursuant        to   the   Fifth Sixth

and Fourteenth           Amendments to the            United    States   Constitution    article   1   3   10   13    and 19 of the

Texas Constitution            and Tex.C.Crim.P.          Art.    39.14    makes    this Motion     For Preservation         and

Disclosure           To The Defense of Grand           Jury Testimony.




In    support       of this motion    counsel would        show




1.     RECORDING AND PRESERVATION OF GRAND JURY TESTIMONY



     aA       State    District   Judge has jurisdiction         to   order that   Grand Jury proceedings       be recorded


     and transcribed.       The    District   Judge has jurisdiction         regarding   the   formation organization

     constitution      and management          of the Grand Jury as fully set out         in Tex.C.Crim.P.          Chapter       19.




     b The      District   Judge gives     the   commissioners their instruction           and duties see Tex.C.Crim.P.

     Art.   19.04.




 c       This Court can order that            grand   jury testimony       be recorded   and after recording         this



 testimony           be preserved.




                                                                                                                                         /I   r-3
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2.    PROVIDING             GRAND JURY TESTIOMNY OF WITNESS TO THE DEFENSE


 a The         transcript      of testimony          of a witness        that    testified    before the county         grand   jury that

returned      the   indictment against              TRAVIS JAMES MULLIS is

         ia         tangible   thing that       is   not privileged




         ii contains           evidence       that    is   material     to   any matter involved         in the action        against the


         accused




         iii the transcripts            are in the possession                custody or control of the state or               its   agencies.


 b Upon        a showing of good cause                     this   Court shall order the production                  of the tangible     thing    in


this case     the   testimony     of all witnesses who                 testified   before the grand         jury that     returned     the


indictment against          TRAVIS JAMES MULLIS. Tex.C.Crim.P.                                       Art.   39.14a.



 3.   FAILURE TO PROVIDE GRAND JURY TESTIMONY


 a Should           this Court   fail   to    order the preservation               of grand      jury testimony       and/or such


               not be provided                                                   court cannot
transcripts                             to    the    defense the         trial                      comply with Tex.R.Evid.              615a
and sanctions must be imposed.                      Tex.R.Evid.         615a provides


                                        PRODUCTION OF STATEMENTS OF
                                         WITNESSES IN CRIMINAL CASES


                      a    After a witness           other than the defendant                has testified on direct


                      examination the court on motion of a party who did not                                  call


                     the   witness      shall       order the attorney for the state or the


                     defendant       and defendants attorney                     as the   case    may be to produce

                     for the    examination           and use of the moving               party any statement

                     of the witness          that    is   in their    possession and relates to the subject


                     matter concerning              which     the     witness     has testified. ..




                     d     Recess    for examination of Statement.                           Upon    delivery of the statement           to   the



                     moving party the court upon application of that party                                  shall    recess   proceedings       in




                                                                                                                                                      A.- A
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                                    the    trial    for a     reasonable examination                  of such        statement     and     for preparation       for     its



                                    use in the           trial.




                                    e Sanction                for Failure          to     Produce     Statement.         If the   other party        elects   not to


                                    comply with an order to                       deliver    a statement        to the   moving       party the court shall

                                   order that           the                       of the witness be stricken             from the record and that
                                                              testimony                                                                                         the


                                   trial    proceed or if it is the attorney for the                           state   who elects         not to   comply shall

                                   declare a mistrial                if required by          the    interest    of justice.




                                   f Definition                   As used         in this rule       a statement of a witness                means

                                   3      a statement              however         taken    or recorded         or a transcription         thereof      made by the

                                   witness         to   a grand      jury.




          b     Counsel     for     TRAVIS JAMES MULLIS intends                                       to    comply with Tex.R.Evid.                615 and will

                                   move      the court to provide                   the    defense    with a copy of each            witnesses        prior


                                   statements            including testimony                before the county           grand     jury.




          4.    NEED TO PROVIDE TRANSCRIPTS PRIOR TO TRIAL



          a Because of             the    likely    volume          of the transcript           counsel        for   Defendant      will    be required to ask


          for a recess     after     each     witness             has testified if delivery            is   delayed until after the witness has

          testified at    trial.    Such recess will have to be granted for a reasonable examination                                               of such

          statement      and    for the      preparation             for   its    use in trial.       Tex.R.Evid.        614d. Such           recesses will be


          unacceptably         prejudicial          to    defendant inconvenience                     the jury and will slow the pace                  of the   trial.




          b The      transcripts         should         be provided          to    the    defense     not later than 30 days          after    the    indictment         is



          returned    by the grand           jury.




         WHEREFORE PREMISES CONSIDERED Counsel for TRAVIS JAMES MULLIS prays
that   upon hearing       this court




                                                                                                                                                                               ncr
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ORDER the transcribing     and preservation     of all testimony       before   the   Harris County grand    jury


ORDER the preservation     of all grand   jury transcripts       and


ORDER that within                  days   of the return    of any indictment against       TRAVIS JAMES
   MULLIS that such      transcripts   be provided   to   defense   counsel.



                                                   Respectfully     submitted




                                                   ROBERT K. LOPER
                                                   SBN 12562300
                                                   111    West   15h Street

                                                   Houston       Tx 77008
                                                  713-880-9000office
                                                  713-869-9912 fax




                                                  GERALD BOURQUE
                                                  SBN 02716500
                                                  24 Waterway Ave. 660
                                                  The     Woodlands Tx 77380
                                                  713-862-7766office
                                                  832-813-0321         fax

                                                  ATTORNEYS             FOR DEFENDANT



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                                                                                        b33
                                                                  CAUSE NO. 08-39-72


          THE STATE OF TEXAS                                                           IN   THE DISTRICT COURT OF


          Vs.                                                                         GALVESTON COUNTY TEXAS


          TRAVIS JAMES MULLIS                                                          122ND JUDICIAL DISTRICT



                                                                           ORDER

                      BE IT REMEMBERED                     that    on                                        2010 came   to    be



         considered       the   Defendants    MOTION FOR PRESERVATION AND DISCLOSURE TO

         THE DEFENSE OF GRAND JURY TESTIMONY.

              The   court is of the opinion    the    motion should be in all things


     1 ORDER            the transcribing   and preservation              of all testimony     before the Harris County grand
                                                                                                                                jury


                                       GRANTED

                                       DENIED


    2         ORDER the preservation          of all grand         jury transcripts     and



                                       GRANTED

                                       DENIED


    3         ORDER that within                           days    of the   return   of any indictment against Travis James
Mullis that    such   transcripts   be provided      to   defense       counsel.




                                       GRANTED

                                       DENIED




                                                                                    JUDGE PRESIDING




                                                                                                                                       A   P-7
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                                                               CAUSE NO. 08-372.


THE STATE OF TEXAS                                                                       IN   THE DISTRICT COURT OF.


Vs.                                                                                      GALVESTON COUNTY TEXAS


 TRAVIS JAMES MULLIS                                                                     122ND JUDICIAL DISTRICT



                      MOTION FOR PRODUCTION OF IMPEACHMENT EVIDENCE

TO THE HONORABLE JUDGE OF SAID COURT

           COMES NOW TRAVIS JAMES MULLIS Defendant in the above-cause                                                                      by and



through        counsel and pursuant                  to the   51h   6h 8h and 10h Amendments to the United                            States



Constitution          and Article           1 Sections        3 10 13 and 19 of the Texas Constitution and files this

Motion For Production                      of Witness     Related Evidence            and for good and sufficient                  cause    would


show the       Court     the    following



          1.    The     Defendant            has been indicted          for    the offense      of capital murder.


          2.    The     State    is   seeking the death             penalty.



          3.    The    Defendant             has a Constitutional          right to      confront     and cross-examine              witnesses      that




          testify     against him.                 Impeaching as well as exculpatory                 evidence       is   favorable    to   the



          accused       under     Brady v. Maryland 371 U.S. 812 83                             S. Ct.      56    9 L. Ed. 2d 54       1962 see

          also    United Slates               v.    Bagley 473 U.S. 667            105 S. Ct.       3375         87 L. Ed. 2d 481          1985.

          4.    The    State     and its prosecutors                should     be Ordered with           a continuing         duty to disclose



          newly discovered                  material previously and here ordered                       to   furnish      defense     with and


      permit defense                  to    inspect     copy and/or       photograph          the   following      information        objects      or



      copies          relating    to       expert and/or       medical        evidence     within     the    possession       custody control




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         or knowledge         of the prosecution           or which by exercise               of due diligence may become


         known to the        State



         The   identity     of each expert witness             the     State   consulted      with or intends to call as a witness



         in the   instant   matter        including



                   a name and             title




                   b work         address and home addresses if                        known

                   d work and home                  telephone    numbers


                   e     profession or occupation               and        the field   in   which she is allegedly an expert


                   t a copy of the witnesses                   Curriculum         Vitae that      contains      the formal education



                   and training including the                  name and address of each               school         where    special



                  education       or training        was received           in this               field   of expertise        the   dates of
                                                                                       experts



                  said    education        and training the name or description of each degree                                she received

                  including the date              when each was            received     and the name of the school from which


                  received



                  g membership               in
                                                  any professional or trade association                   in that     field   of expertise



                   including the name of each                  professional or trade             association         dates of



                  membership and description of offices held


                  h   authorship          of any books         papers or articles            including       title   and subject    matter



                  of book paper           or article     name and address of each                  items publisher and each



                  items date of publication



                  i   licenses        to practice     in the   field       of expertise including         the    governmental



                  authority      by    whom licensed           the   general requirements             that    had to be met and how


                                                                       2
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                       these requirements          were   fulfilled        and whether                  license      had ever been revoked
                                                                                                 any


                       or suspended



                       j employment including type of                      practice      or work        in the      field   of expertise      names


                      and addresses of employers               and/or associates                dates of said         employment         positions



                      held and/or        duty performed.



             The                   of any object    sample or material tested                                  or examined
                    identity                                                                    analyzed                            by each


         expert in regard to the instant              matter        including         as to    said   test    analysis and/or


         examination            all three are hereinafter           called     exam

                      a      the    exams date


                      b      the    exams location


                      c      the   exams purpose


                      d      the steps    or methods      employed           in said    exam

                      e      the   information     provided    by another         to    the    expert      prior to    said     exam

                      f   the identity      of any other persons assisting                      in said      exam and

                     g       the present location      of any samples            or materials used             in said       exam.


         The       results    or conclusions       reached    by each expert             the    State     consulted         or intends to call



        as    a witness        in the   instant   matter including


                     a    written
                                        reports



                     b    oral      opinions including        the    date thereof and to              whom reported.

        4.   The amount of compensation provided                          to   each    expert consulted             or whom the State



intends to call as a witness in regard to this matter.



        5.    In   support of said        motion     the Defendant respectfully                   states     that    the    scientific




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         complexity      of the    instant    case requires      that   full   discovery    of medical       and scientific     facts




         and opinions      be provided.           The    prosecution     had access and opportunity             to   perform



         scientific    analysis    prior to       counsels appearance          in the   case or in some        instances      such



         analysis can no longer be replicated                 or reproduced       by defense        counsel.    The   Defendant



         requires     a complete     exposition of that         information       prior    to the   beginning    of the


         introduction     of evidence        to    the   jury in the above case.



         WHEREFORE PREMISES CONSIDERED Defendant                                               prays that relief be granted             as




prayed   for herein.




                                                                          Respectfully        submitted




                                                                          ROBERT          K. LOPER
                                                                          SBN 12562300
                                                                          111 West      15h    Street


                                                                         Houston        Tx 77008
                                                                         713-880-9000office
                                                                         713-869-9912 fax




                                                                         GERALD BOURQ                    E
                                                                         SBN 02716500
                                                                         24 Waterway   Ave. 660
                                                                         The    Woodlands Tx 77380
                                                                         713-862-7766office
                                                                         832-813-0321         fax

                                                                        ATTORNEYS             FOR DEFENDANT




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Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 78 of 260




                                          CERTIFICATE               OF SERV9CE

                  I
                      hereby   certify   that   a true   and correct    copy of the above and   for   Ding in.trument
has   been   furnished to      counsel   for    the   State                        of a copy of on
                                                              by   hand-delivery
2010.




                                                                       Robert K. I.




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                                               CAUSE NO. 08-38-72
                                                                                                           JASON E. MURRAY
                                                                                                           CLERK DISTRICT              COURT
                                                                                                                     FILED
THE STATE OF TEXAS                                                      IN   THE DISTRICT C              URT OF
                                                                                                               JAN      1    9    2011

Vs.                                                                    GALVESTON COUNT                    TEXAS
                                                                                                         GALVESTON      COUNTY TEXAS

 TRAVIS JAMES MULLIS                                                    122ND JUDICIAL DIS               1IC-                            DEPUTY




                                                          ORDER

         BE     IT        REMEMBERED          that   on    the
                                                                  __j_day of                            VL
2011     came        to    be   considered   the     Defendants              MOTION          FOR     PRODUCTION              OF

IMPEACHMENT EVIDENCE.                              The    court   is   of    the   opinion   the   motion should   be   in       all




things



         GRANTED

         DENIED




                                                                       JU.    G PRESIDING




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 Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 80 of 260



                                                                          O3 3
                                                             CAUSE NO. 08-384Z


 THE STATE OF TEXAS                                                                  IN    THE DISTRICT COURT OF


 Vs.                                                                                  GALVESTON COUNTY TEXAS


  TRAVIS JAMES MULLIS                                                                 122ND JUDICIAL DISTRICT

                                MOTION TO LIST EXHIBITS TO BE OFFERED
                                       IN BOTH PHASES OF TRIAL


 TO THE HONORABLE JUDGE OF SAID COURT

            COMES NOW TRAVIS JAMES MULLIS Defendant in the above-entitled and

 numbered criminal action               moves        the    court to order the prosecutor                  to   provide       him an exhibit             list




ten    10 days prior to the beginning                  of jury selection.            In
                                                                                           support     the      Defendant          will    show the


 following.



           The     Defendant     would respectfully              request this court to instruct                      the district       attorney to      list




and designate         in   writing all exhibits            he seeks      to   introduce     or attempt          to   introduce         in both   phases


of the    trial   of this case ten     10 days prior to the beginning                        of jury selection              so that defense



counsel     may have an opportunity to inspect and copy or photograph                                        them         prior   to   trial.   If the




court does        not grant this motion            counsels         ability    to   provide    effective         assistance            may be


jeopardized.



           Judicial    economy        also    supports       this   motion.         The    courts     failure        to   grant this motion          may


require    a continuance        during       the   trial   on the merits.


           WHEREFORE PREMISES CONSIDERED the Defendant                                                               prays the court will grant


this motion in all                    and     instruct      the district attorney to                  and designate               in writing
                                                                                                                                                 any an
                                                                                               list
                           respects



all   exhibits    he plans to introduce            or attempt       to   introduce        in the   trial   of this case           at   both phases



and to do so at least thirty          30 days prior to the beginning                        of jury selection.




                                                                                                                                                                n-7 n
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 81 of 260




                                                                Respectfully        submitted




                                                                ROBERT         K. LtWfR

                                                                SBN 12562300
                                                                111    West   15x    Street

                                                                Houston       Tx 77008
                                                                713-880-9000office
                                                                713-869-9912 fax




                                                                GERALD BOURQUE
                                                                SBN 02716500
                                                                24 Waterway   Ave. 660
                                                                The    Woodlands TX. 77380
                                                                713-862-7766office
                                                                832-813-0321 fax


                                                                ATTORNEYS             FOR DEFENDANT




----been
    I
        hereby   certify

  hand delivered to
                           that

                           the District
                                       CERTIFICATE OF SERVICE


                                  a true   and correct   copy of the
                                            Attorneys Office on
                                                                         ove and 1regoi g document

                                                                                                b
                                                                                                       has

                                                                                                    52010.




                                                               ROBERT         K. LOPER


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                                                  CAUSE NO. 08-38-n                             JASON E. MURRAY
                                                                                             CLERK DISTRICT             COURT
                                                                                                         FIL


THE STATE OF TEXAS                                                      IN   THE   DIST     ICT
                                                                                                   C9QlMl
                                                                                                     /aJ    11   9    2011


Vs.                                                                     GALVESTO           QRJ-JJ XKM                        TEXAS
                                                                                           BY
                                                                                                                             DEPUTY
TRAVIS JAMES MULLIS                                                     122ND      JUD


                                                            ORDER

          BE IT REMEMBERED                 that   on   the             _day of               iA.



20111   came   to   be considered   the   Defendants         MOTION TO LIST EXHIBITS TO BE

OFFERED IN BOTH PHASES OF TRIAL.                              After consideration        of the motion    it     is   the



opinion   of the court that   Defendants mot            n    be


          GRANTED

          DENIED




                                                                      WUGE PRESIDING




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Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 83 of 260




                                                          CAUSE NO. 08-4-8-7-2


TIIE    STATE OF TEXAS                                                            IN THE          DISTRICT COUR-F.OF


Vs.                                                                               GALVESTON COUNTY TEXAS


TRAVIS JAMES MULLIS                                                               122ND          JUDICIAL DISTRICT


           MOTION TO DISCOVER THE PORTIONS OF THE DEFENDANTS
        STATEMENT WHICH THE STATE INTENDS TO USE AT TIME OF TRIAL

TO THE HONORABLE JUDGE OF SAID COURT

         COMES NOW TRAVIS JAMES MULLIS Defendant and pursuant to the 5h 61h 81

and   14 Amendments to the United                       States    Constitution          Article    1 Sections 3 10 13 19 and 29

of the Texas Constitution               and Tex. Code          Crim. Proc.       art.    1.05     and Rules     1.06 and 1.07 Texas



Rules   of Criminal     Evidence              files this Motion       to   Discover      the Portions of the Defendants



Statement Which        the    State      Intends to Use at            Time of Trial and in support              thereof would       show the


Court


         1.   The   Defendant has been indicted for the offense of capital murder.


        2.    The   State    is   in possession         of a statement allegedly made by the Defendant.


        3.    At the trial of this cause                the   State   will    seek to offer       into   evidence    the alleged



        statement     in order to         convict       the Defendant.          Prior to    its   introduction       the   State   will in   all




        probability seek           to    edit the      alleged statement         and redact portions of the statement.


        4. In   order to afford          the    Defendant effective            assistance        of counsel    as   guaranteed     under     the




        Sixth and Fourteenth                  Amendments to the              United     States    Constitution       Article I Section        10




        of the Texas Constitution                  defense       counsel      must know          prior   to trial   what portions of the



        alleged statements              the    State   will redact.        Without      knowing prior to trial the portions of




                                                                                                                                                   n-7-7
 Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 84 of 260



          the   statements      the State        will   redact   defense    counsel     will   not be able to adequately
                                                                                                                            prepare


          his   defense   to    the allegations         in the   indictment.



          5.    Defense   counsel      should       be provided      with a redacted copy of the statement             well in



          advance of trial.



          WHEREFORE PREMISES CONSIDERED                                           the    Defendant    requests that this Motion


he sustained      and relief granted         as    prayed for herein.



                                                                            Respectfully       submitted




                                                                            ROBERT              LOPER
                                                                            SBN 12562300
                                                                            111 West       15h Street

                                                                            Houston       Tx 77008
                                                                            713-880-9000office
                                                                            713-869-99 2 fax




                                                                            GERALD BOURQUE
                                                                            SBN 02716500
                                                                            24 Waterway        Ave. 660
                                                                            The   Woodlands TX. 77380
                                                                            713-862-7766office
                                                                            832-813-0321        fax




                                             CERTIFICATE                 OF SERVICE
                   I
                       hereby    certify    that    a true    and correct   copy of the above and fore         oingi       r n   ent
has   been furnished to counsel            for    the State    by hand-delivery         of a copy of same on      42ffl            0.




                                                                            ROBERT         K. LOPE




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                                                          x333
                                         CAUSE NO. 08-M-7-2


THE STATE OF TEXAS                                      IN THE DISTRICT         COURT OF


Vs.                                                     GALVESTON COUNTY TEXAS

TRAVIS JA.M.ES MULLIS                                   .fl22N   JUDICIAL DISTRICT


                                              ORDER

       BE IET REMEMBERED          that   on the        day of


2010 came to be considered   the Defendants       MOTION TO DISCOVER THE PORTIONS

OF THE DEFENDANTS STATEMENT                   WHICH THE STATE INTENDS TO USE AT

TIME OF TRIAL.      The court is of the opinion    the motion should   be in all things


      GRANTED

      DENEED




                                                       JUDGE PRESIDING




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                                                                                                                                                      19
                                                                     CAUSE NO. 08-38


THE STATE OF TEXAS                                                                                  IN     THE DISTRICT COURT rte


Vs.                                                                                                 GALVESTON COUNTY TEXAS


 TRAVIS.JAMES MULLIS                                                                                122ND         JUDICIAL DISTRICT




               MOTION FOR PRODUCTION OF EXCULPATORY IMPEACHMENT
                            AND MITIGATING EVIDENCE

TO THE HONORABLE.JUDGE OF THIS COURT

             COMES NOW                         Travis        James Mullis Defendant                              in   the         above-entitled             and numbered


criminal action                    files this motion          for    production             of all exculpatory                         impeachment           and mitigating


evidence.          In   support          the   Defendant will show the following.


             The        prosecution            has      an     obligation             to     produce         all       evidence                which        is    exculpatory



impeaches          one of their witnesses                     or mitigates punishment.                           See        Brady v.           Maryland           373 U.S. 83



1963 Giglio                   v.     United    States        405 U.S.            150        1972 Kyles                 v.     Whitley           514 U.S. 419 1995.



Moreover           the        prosecution         has    an    affirmative obligation                      not to            use       false    testimony.          Mooney        v.




flolohan           294 U.S.            103      112     1935.             In    fact        the prosecutor                  has    an obligation             to    correct     the




testimony          of a witness when he believes                               that   it   was     false    even        if he          did not solicit            or anticipate



the   lie.   Napue       v.        Illinois    360 U.S. 264 269 1959 Giglio 405 U.S. at                                                  154.




             The        Defendant                                                          the   court      to        order            the    State    to        produce
                                              specifically           requests                                                                                                 any



exculpatory             or     mitigating        evidence             including              but    not     limited to                   evidence          suggesting         that




someone        other           than     the    Defendant             inflicted         the       killing    wound                 to    the     complainant            that   the




Defendant          did not personally assault                       the   complainant               other alternative                    suspects identified            by law




                                                                                                                                                                                       nnn
 Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 87 of 260




enforcement any evidence             impeaching the statements or testimony                          of any witness          any   evidence



concerning       the   bad reputation      for   truth      and   veracity     of any witness          any immunity agreements


with   any     witness   both express and implied any                         promises       of reward     or      benefit    express        or




implied conferred         upon any witness the history                  of drug abuse and mental              illness   of any witness


the   motive    of any   witness   to    lie   the   bias   or prejudice of any             witness    against the      Defendant any


evidence       suggesting   that   the    Defendant         is    not   a future        danger and any other exculpatory                     or




mitigating      evidence.   See    Brady v. Maryland 373 U.S.                      831963            Giglio   v.   UnitedStates 405


U.S. 150     1972.


           WHEREFORE PREMISES CONSIDERED the Defendant                                                 prays that      this motion      be



granted and that       he be given      any other relief to which he               is   entitled.




                                                                             Respectfully       submitted




                                                                             ROBERT          K. L         R
                                                                             SBN 12562300
                                                                             111 West       15h Street

                                                                             Houston Tx 77008
                                                                              13-880-9000oce
                                                                                 -86     -991



                                                                             GERALD BOURQ E
                                                                             SBN 02716500
                                                                             24 Waterway        Ave. 660
                                                                             The Woodlands Tx 77380

                                                                             713-862-7766office
                                                                             832-813-0321           fax
                                                                             ATTORNEYS              FOR DEFENDANT




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 Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 88 of 260




                                          CERTIFICATE OF SERVICE
       I
           hereby   certify   that   a true   and   correct   copy of the above and   for   going   document   has

been hand delivered to the District Attorneys Office on                                                   2010.




                                                                    ROBERT     K. LO




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Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 89 of 260



                                                                               633
                                                 CAUSE NO. 08-3


THE STATE OF TEXAS                                                            IN THE    DISTRIC               COPTOF. MURRAY
                                                                                                               CLERK DISTRICT    COURT
                                                                                                                         FILED

Vs.                                                                           GALVESTON CO NTY TEXAS
                                                                                                  i9 of

TRAVIS .LAME MULLIS                                                           122ND    JUDICIAL                itjc       COUNTY TEXAS
                                                                                                          Y
                                                                                                                                       DEPUTY


                                                            ORDER

       BE IT REMEMBERED                       that   on   the                 day of


2016 came   to   be   considered      the    above    Motion For Production                   of Exculpatory       And    Mitigating



Evidence.   After     consideration         of the   motion         it   is   the   opinion    of   the   court that     Defendants



motion be


       GRANTED

       DENIED




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 Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 90 of 260



                                                                                                                                        r
                                                        CAUSE NO. 08-38-7r


THE STATE OF TEXAS                                                                    IN THE          DISTRICT COURTOi


Vs.                                                                                   GALVESTON COUNTY TEXAS


TRAVIS JAMES MULLIS                                                                   122ND         JUDICIAL DISTRICT


        MOTION FOR DISCOVERY AND INSPECTION of All TESTS PERFORMED

             The     above   defendant        by     and through           his    attorneys of record                      moves        the    Court     for




discovery          and inspection of         the    following       items        in   the     possession             or control        of the       District




Attorney


             1.        The   name of all tests and scientific               tests      or examinations                  conducted       with regard to



this case         including the    following



                       a          Name of test.


                       b          Identify    the    party     or   parties       performing               the    test     by   name rank             home
                                  address     work      phone number             and present assignment.



                       c          Supply a clear        copy of the        test   examination               report       and all the papers work
                                  sheets and notes including                bench notes upon which                         it   is   based.



                       d          A sample of the            item    tested       so    that        the    same      can    be       examined       by   the

                                  defense    experts.




         2.            Defendant      demands        the   right     to    examine            all    physical           property taken         from      his




possession whether           by warrant      or otherwise.



         3.            Defendant        demands          the    right       to        examine             all     eavesdropping               recording



audiovisual         or other electronic       devises      used     in    the investigation                and surveillance undertaken                    in




this case.




         4.            Defendant      demands         an   accurate        and        clear
                                                                                                copy         of   all    videotapes           and    sound



recordings         made in this case.




                                                                                                                                                               non
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                5.            Defendant      demands copies of any statements                          made by him or attributed                      to   him


 whether             recorded   or transcribed           written     or oral verbatim           or summarized.



                6.            Defendant     demands         clear    copies of       all    wiretap    or eavesdropping               warrants       together


 with     all    documents         memorandum and                  affidavits      upon which they            are   based.



                7.           Defendant      demands          the    names and present addresses of                         all
                                                                                                                                  persons      who would


 qualify as competent witnesses                          if called       whether     or not the       prosecution           intends to      call     them   as




 witnesses.



                8.           Defendant demands copies of all                       police     memoranda memo books                         logs    and any


and all other reports              of all   investigations           carried    on with respect          to    this case.




                9.           Defendant      demands          to     be    informed         of the     name rank             shield      number         home


address          and work         phone      number         and present            assignments        of   all      law enforcement             personnel



assigned to this case.



                10.          Defendant demands              a copy       of the personnel            records       of each       of the above named


individuals             or in the alternative        that    same records be turned over                   to the        Court    for examination in




camera           to    determine     what     information            contained       therein     would be           relevant       or material to          the




defense.



               11.           Defendant demands copies of the statements given                                 to   any    law enforcement            agents



by witnesses            to   any of the     acts   set    forth    in the   indictment.



               12.           Defendant demands             the    names of any and             all   experts       who     have    been    consulted        in




this    matter        by the prosecution           whether        or not said expert will be called                  as    a states    witness       during


the    trial    or this matter.



               13.           Defendant      demands          the      Galveston            County      Sheriffs          Department            Galveston



County          District      Attorney      and other agencys                  vouchers        cash     receipts          statement       or   any    other




                                                                                                                                                                 A 0r
 Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 92 of 260




documents           indicating             payments           to   any person officer expert                            or witness         involved        in this case.




             14.           Defendant              demands               the transcript            of testimony            given       by all witnesses             before      the




Grand Jury during                    its    investigation               and consideration                 of the charges             contained       in the       indictment



returned                                    whether                                        intends to call such                person as a witness
               in this cause                                 or not the state                                                                                    at the    trial.




             15.           Any and                all    evidence             of whatever                form source                 or    motive     which          tends      to




exculpate          the   Defendant               either      through          an indication             of the Defendants innocence                        or through          the




impeachment              of any potential                    prosecution           witness          and       all   information           of whatever           form source


or    nature       which         may         lead       to    evidence             which      tends           to    exculpate        the    Defendant            whether by



indicating         his    innocence              or impeaching the credibility                                of any    potential         prosecution           witness        and



any     other information                    which           may be           or become             of    benefit       to     the    Defendant       in        preparing       or



presenting          his        defense           of innocence                 at    trial.        This        request     includes         any      such        evidence        or



information             now     in    possession              of the state or which comes                               into    possession          of the       state    in   the




future    or which the state                     now      has knowledge                or in the future               obtains        knowledge.



             16.          Whether the weapon                            set   forth   in     the indictment was recovered                         and      if   so precisely


where was          it   recovered           in relation            to


                          a.               the   location of the victims                      body


                          b.               place and location within                         the place where              it   was recovered and


                          c.               from whom               it   was recovered.


          17.             Specifically             describe the weapon                       as    to   its   size weight            and manufacturer.


          18.             Copies of all toxicological                           examinations                  conducted        with regard to this case.



          19.             Copies           of all       serological            examinations               conducted            during      the   investigation           of the



crime    charged         in the       indictment returned                      in this cause.




                                                                                                                                                                                     /1OG
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                20.       The      manner of type of and                           results      of all laboratory examinations                              conducted        with



 regard to this case                                 but not limited                                            of all tests conducted                 on
                                  including                                        to    the    results                                                       the   clothing of


        Defendant                of the deceased
 the                      or                                         the    body of the deceased                         and/or          at    the    scene    of the       crime



 and/or    upon any items found                      at the     scene        of the crime.



            21.          All      of the items sought                      are    both       necessary and material to                          the preparation             of the


 defense         of this case.            The      requests           are    authorized               by the          Fifth     Sixth          Eighth      and Fourteenth


 Amendments to the                  Constitution            of the United                    States        the    State       Statute          or Code        section and


 Brady     v.
                 Maryland           373 U.S. 83 83                    S.    Ct.    1194         10 L.       Ed. 2d 215              1963 and United States                       v.




 Bagley 473 U.S. 667                  105 S. Ct.           3375 87 L. Ed. 2d 481 1985.


            22.          Once       the   prosecution                presents        all     of the requested              items it can then be determined



what    will      be relevant        and admissible as direct evidence or for the purposes                                                       of impeachment. The


Court prosecution                  and perhaps                 the    defense cannot                   at       this    time       decide        what      may be       useful



relevant or admissible.



           23.          Justification              for     discovery               and        inspection               stands       or        falls   on     the     equitable



determination           of whether           it    makes         the       truth    easier       to    determine           or gives             a party      an advantage.



Justification         for discovery          and inspection must be viewed from the former                                                     standpoint.



           24.          A criminal           trial      like    a civil      trial      is   a quest for the truth.                  That       quest will more often


be   successful         if both       sides have               an    equal        opportunity              to    interview          the        persons      who have          the



information           from which the                 truth
                                                                 may         be     determined.                 The     current          tendency          and the      better




reasoned        approach          dictates        complete discovery                     of the facts            before       the   trial      and the elimination             of



surprise    at the      trial.      The      defendant              should        be given        all discovery               to    which he would be                 entitled




if he   were a civil             litigant.        Any     denial of discovery                         to    this       defendant         on the grounds              that    the




criminal        rules   of discovery              are    not    as    broad         as   the    civil       rules       of discovery             is   a violation      of the
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 defendants           rights       under        the     due process        and equal       protection        clauses       of    the   United      States




 Constitution.




           25.             Without     the       requested discovery            and inspection the Defendant                    will   be deprived         of



 his   right   to    due process under                  the    Fourteenth     Amendment to            the   Constitution          and   the    effective




assistance          of counsel       under        the    Sixth     Amendment to           the   Constitution         of the United        States      and


his    similar rights under            the      Texas Constitution.



           WHEREFORE                       it   is    respectfully      requested that      the   relief    sought herein          be in all   respects




granted        together      with such           other and furthh           relief as   may be just and proper.


           Respectfully            submitted           on this the          day   of                                       2010.




                                                                                       ROBERT         K.    LOPER
                                                                                       SBN 12562300
                                                                                       111 West     15th    Street

                                                                                       Houston      Tx 77008
                                                                                       713-880-9000office
                                                                                       713-869-9912 fax




                                                                                       GERALD BOUR                     E
                                                                                       SBN 02716500
                                                                                       24 Waterway Ave. 660
                                                                                       The Woodlands Tx 77380

                                                                                       713-862-7766office
                                                                                       832-813-0321         fax

                                                                                     ATTORNEYS               FOR DEFENDANT




of
has

       Mh
                       I
                           hereby certify that
                            d to     ounsel
                                                        CERTIFICATE
                                                              a true

                                                      for the State

                                                       2010.
                                                                       and correct
                                                                                  OF SERVICE
                                                                                       copy of the above and foregoinginstxament
                                                                        by hand-delivery          of a copy of same




                                                                                                  ROBERT        K.    LOPED
                                                                                                                            this-the     V      day




                                                                                                                                                                Ann
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 95 of 260



                                                                     1333
                                            CAUSE NO. 08-38-71

                                                                                                        JASON       E.   MURRAY
THE STATE OF TEXAS                                                  IN   THE DISTRICT              O JRTKO           TRICT   COURT
                                                                                                                    FIL.ED

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Vs.                                                                 GALVESTONCOU TY T M$9 2011

TRAVIS JAMES MULLIS                                                                                                  COUNTY TEXAS
                                                                    122ND    JUDICIAL          1        1   1ON
                                                                                                   BY
                                                                                              I-
                                                                                                                               DEPUTY


                                              ORDER


      BE IT REMEMBERED                                     10
                                     that   on the              day of



201b came   to   be considered   the Defendants      MOTION FOR DISCOVERY OF ALL TESTS

PERFORMED.          The court is of the opinion      the   motion should      be in   all   things



      GRANTED

      DENIED




                                                                J        G   RESIDING




                                                                                                                                        Ann
  Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 96 of 260

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                                                                 CAUSE NO.

 08-3842-THE   STATE OF TEXAS                                                      IN       THE DISTRICT COURT QF
                                                                                                                                           -99
 Vs.                                                                               GALVESTON COUNTY TEXAS


 TRAVIS .TAME MULLIS                                                               122ND          JUDICIAL DISTRICT


                                                  MOTION TO PRESERVE EVIDENCE

                COMES NOW                   the    Accused       Travis   James Mullis by and through Counsel                       and pursuant


 to     the    Fifth Sixth         Eighth and Fourteenth             Amendments to the UNITED STATES CONSTITUTION


 and Article               1 Sections      10     13   19 of the     TEXAS CONSTITUTION                and in support of his         right to        a


 full    and fair hearing under                  both the state    and federal   constitutions           moves    this    Court to Order the



State         of Texas to preserve all physical evidence                    in this case      and grant all other relief prayed                 for



herein.             In   support   Mullis would         show


                                                                            I.




                                                       FACTUAL BACKGROUND

               Mullis has been            indicted for the offense         of capital murder and the              State    is             the
                                                                                                                                seeking


death         penalty.       The   Eighth        Amendment requires         a greater       degree     of accuracy       and fact   finding


than would be true                 in   a noncapital     case.     Gilmore v.    Taylor 508 U.S. 333              1993           Woodson        v.




North Carolina 428 U.S. 280 305 1976.



                                                                           H.



                                                                     MOTION

               Mullis moves             for an    Order requiring the State of Texas                                     physical evidence
                                                                                                  to               all
                                                                                                       preserve


related        to    all   offenses     alleged against Mullis in this case.




                                                                                                                                                         A   AA
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             For purposes          of this motion         the    State of Texas           is    defined   to   include    the      District




Attorney        of Galveston        County the Galveston                 City Police       Department          the   Galveston          County


Sheriffs        Office     the   Texas Department of Public Safety                        the    Texas Highway           Patrol         the   Texas


Rangers         the   Federal Bureau of Investigation                    the   Internal    Revenue        Service      the    Galveston



County Police Crime Lab and any agents or employees of those offices                                             any other law


enforcement           officer    and any other person acting                 in conjunction         with the above named                 entities     or



on behalf of any law enforcement                      or other governmental               agency.


            For the purpose          of this motion             the   term   offenses is the crime              alleged       in the    indictment



returned        herein against Mullis as well as any other alleged crime                             or bad act which the State                  of


Texas offered during the original                     trial   of Mullis and which                intends to offer
                                                                                            it
                                                                                                                        during      any       portion


of the     retrial of Mullis.




            This motion seeks             to   include    all    items that    are currently        within     the   actual    or constructive



                  custody control or knowledge                        of the State of Texas and items which
possession                                                                                                                     may become


known identified           or available through               the exercise      of due diligence by the              State     of Texas.


            The physical evidence               for   which Mullis requests preservation                     includes        but   is   not limited



to   the   following



           a.          Any and all forensic samples photographs negatives of photographs videotapes


                       fingerprint        samples or other material             of a forensic        nature      including evidence



                       collected     at   the crime       scene and any actual            physical evidence           recovered



           b.          Any other photographs                    audiotapes      videotapes        or electronic       storage devices



                       made and any maps sketches                      and/or diagrams           made in connection             with the State



                      of Texass       investigation             of the alleged crime




                                                                                                                                                           A   AA
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         c.    Any and all       reports laboratory analysis              requests        notes of lab personnel       and/or



               technicians       slides samples           and any other documentation of whatever kind


               associated       with or relating      to   Mullis or any other person              who is a possible


               perpetrator      of the offense described              in the   indictment returned       herein.




         d.    Any notes or reports          whether        handwritten         tape recorded       and/or   transcribed of



               law enforcement or other agents of the State of Texas which relate to
                                                                                     any


               investigations         of Mullis or anyone         else   suspected        of having   committed the same


              offense       as that   with which Mullis          is   charged


     e.       Any notes         audiotapes        videotapes      electronic       storage devices or writings            known to


              the   State    of Texas purporting           to   be the statement          of any person having        knowledge


              about    this case




     f.
              Any and all videotapes              audiotapes      and or handwritten             statements by Mullis or



              which purport to be a verbatim                statement      of Mullis. This includes statements


              written by someone other than Mullis but which were                                                           or in
                                                                  acknowledged                                     orally




              writing by Mullis



    g.        Autopsy reports preliminary or otherwise                         relating    to   any deaths   attributed     to   the



              direct   or indirect      actions    of Mullis. This includes               reports bench notes        recordings


              or similardocumentation               made by coroners            deputy coroners        and/or   medical



              examiners


    h.        Any and all Uniform           Offense        Reports     or Supplements thereto



    i.
              Any reports        statements       recordings      or other documentation of by or about                     fellow



              inmates    with    whom the         State   or its agents might have discussed any matters
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           pertaining to Mullis



           Any police        logs records         recordings      and or notes of calls and         reports    to    the    State




           of Texas      its   agents or employees or any other law enforcement                         agency regarding


           Mullis his arrest or incidents              related    to   the indictment or charge          pending      against



           Mullis


     k.    Finger     palm and hand          print    specimens        latent   or otherwise     and photographs


           thereof taken         during    the    course of the investigation          of the offenses and any and


          all   documents        related   thereto     and items from which            print   exemplars      were        taken.




          This would include             any and all requests          for print   comparisons made           to    the



          Automated          Fingerprint Identification           System        AFIS any other state or federal

          comparison systems including requests for                       visual   comparisons and reports


          provided      as   a result of such        examination.



     1.
          Any and all items of a ballistics                  nature    including bullets shells slugs cartridges



          or pieces or parts          thereof     including photographs            thereof     recovered    and which              in




          any way relate to           the offenses.      This would include           written requests        for




          examination          or analysis bench notes reports              and photographs            of these items


          taken     during     the   course of the investigation of the offenses                and any and all


          documents       related      thereto.     This designation        would also       include    any and all


          requests for print comparisons made to the                      DRUGFIRE           computer system the


          National     Integrated Ballistics          Information Network            NIBIN or any other state or

          federal    comparison systems including requests                      for visual     comparisons and


          resulting    reports       and bench      notes.




                                                                                                                                        A   /%1
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               in.            Any autopsy and toxicology                    findings          bench notes         photographs material


                              recording      on electronic          recording          devices       body specimens             taken   by the State          of


                              Texas.



               n.             1lospital    and medical        reports       relating         to    the survivor of the offense               for    which


                              Mullis has been        indicted.




               In    investigating         and preparing           its   case    the    State      of Texas must recover and develop


 physical evidence.                Depending         upon motions               which may be filed by the defense                       and        rulings    by


 the    Court Mullis may be                  entitled   to    access       to    such   materials and may be entitled                   to    perform



 independent           tests    on   the   evidence.         If this motion to            preserve evidence               is   not granted         Mullis will



 be denied due process of law a fair trial and the effective                                         assistance of this counsel.               He will        be



 prevented           from presenting          his   defense        because        he will be unable to effectively                  cross-examine             the




 States        witnesses        and will be unable            to    call   witnesses on his behalf                with regard to such               evidence



                          of his rights
all    in violation                            under    the    Fifth Sixth              Eighth and Fourteenth                  Amendments to the


UNITED         STATES CONSTITUTION                  and the Article              1 Sections 10              13   and 19 of the TEXAS


CONSTITUTION


            To further          protect Mulliss state and federal                        constitutional          rights    in connection           with these



allegations          against     him he requests that                none of the evidence                  seized in this investigation               be



destroyed            modified      or altered       without        15    days    prior   notice       to   the defense         and an Order from this


Court.



            The defense            further    requests this Court                to   order the State of Texas to notify                 the        defense    if




the    State    or its agents have destroyed                   or consumed              in    testing any materials              relevant to the



offenses.           If such    destruction has taken               place        the   State       should   be ordered to provide              to    counsel
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for   Mullis a Iist of              a what      has been        destroyed   or consumed            b        by   whom and upon whose


authority            c where and when                 the   destruction occurred            and   d why          it   occurred.



           WHEREFORE PREMISES CONSIDERED the Accused Travis James Mullis

respectfully          requests that the Court                order that



           1.              The   State   of Texas as defined              herein        shall   preserve     all      evidence    as   described            in

                           this motion




           2.              The   State   of Texas           shall   not destroy    alter    or modify any             such   evidence        without         a

                           prior    notice to    the    Accused and an Order of the Court


           3.              Mullis have such            other and further      relief      to    which he may show himself                    to   be

                           justly    entitled    in   law or in equity.



                                                                                   Respectfully         submitted




                                                                                   ROBERT                        OPER
                                                                                   SBN 12562300
                                                                                   111 West          15th   Street

                                                                                   Houston         Tx 77008
                                                                                   713-880-9000office
                                                                                   713-869-9912 fax



                                                                              _O   GERALD BOURQUE
                                                                                   SBN 02716500
                                                                                   24 WaterwayAve. 660
                                                                                   The Woodlands Tx 77380

                                                                                   713-862-7766office
                                                                                   832-813-0321             fax
                                                                                   ATTORNEYS                     FOR DEFENDANT

                                                      CERTIFICATE             OF SERVICE

           hereby           certify that    I
                                                gave a true         and correct copy of the fore                 oing Motion to         Prservo
Evidence        to   the   Assistant District           Attorney       assigned    to    this case    on                                 \
                                                                                                                                          201


                                                                        ROBERT K. LOP                                                                  fl


                                                                                                                                                       r.




                                                                                                                                                                 A f% r-
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                                                      CAUSE NO. 08-3M
                                                                                                                     JASON E. MURRAP
THE STATE OF TEXAS                                                             IN   THE DISTRICT                    OthJJ1TRICT COURT
                                                                                                                                   FILED



Vs.                                                                            GALVESTON COU                        TY T          A         2011




TRAVIS JAMES MUL.LIS                                                           122ND      JUDICIAL D                        C
                                                                                                                          l/x    ON COUNTY TEXAS

                                                                                                                                                   CEPUTY



                                                                     ORDER

           On the                    day of      DtM        -         2014 came the Accused                 Travis      James Mullis by



and through Counsel and moved this Court                        to   Order the State of Texas              to   preserve all physical



evidence     in this   case and other relief.



           The Court         after   duly considering       the      motion   hearing the arguments               of counsel and


otherwise     being fully advised in the premises makes the following                               Order


            For purposes        of this motion        the   State of Texas           is   defined     to   include      the District



Attorney     of Galveston        County the Galveston                City Police    Department the Galveston                    County


Sheriffs                the Texas Department of Public                   Safety     the Texas Highway              Patrol       the Texas
             Office



                   Federal     Bureau of Investigation               the Internal    Revenue     Service          the    Galveston
Rangers      the




County Police Crime Lab                and any agents or employees of those offices                         any other law


enforcement        officer    and any other person acting              in   conjunction       with the above            named entities      or



on behalf of any law enforcement               or other governmental                agency.



           For the purpose           of this Order the term offenses                is the    crime    alleged in the indictment



returned    herein against Mullis as well as any other alleged                       crime     or bad act which the State              of



Texas offered during the original             trial   of Mullis or which             it   intends to offer        during     any portion


of the retrial of Mullis.




                                                                                                                                                            A   n/
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         his Order includes                  all   items that       are currently    within      the actual    or constructive



possession         custody     control        or knowledge           of the State    of Texas and items which may become


known        identified    or available            through    the    exercise of due diligence by the State                 of Texas.


         It   is   Ordered     that   the     State    of Texas shall preserve             all   physical evidence         in   its   possession



or over which        it   has control         including       but not limited        to   the    following



         a.           Any and all        forensic          samples photographs negatives of photographs videotapes


                      fingerprint       samples        or other material of a forensic               nature    including evidence



                      collected       at the       crime    scene    and any actual        physical evidence        recovered


         h.           Any other photographs audiotapes                         videotapes         or electronic     storage devices


                     made and any maps sketches                        and/or diagrams           made   in connection           with the State



                     of Texass         investigation          of the alleged crime


        c.           Any and all reports                laboratory analysis requests               notes of lab personnel              and/or



                     technicians         slides samples              and any other documentation               of whatever            kind



                     associated with or relating                to    Mullis or any other person              who   is a   possible



                     perpetrator       of the offense described               in the      indictment returned        herein.




        d.           Any notes or reports                  whether     handwritten         tape recorded      and/or   transcribed of



                     law enforcement               or other agents of the State             of Texas which relate           to    any


                     investigations          of Mullis or anyone            else    suspected      of having      committed the same


                     offense       as that    with which Mullis is charged



        e.           Any notes audiotapes                   videotapes      electronic       storage devices or writings                known to


                     the   State    of Texas          purporting to be the statement               of any person having               knowledge


                    about    this case




                                                                                                                                                   A   7
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       f.
             Any and all videotapes             audiotapes    and or handwritten            statements    by Mullis or



             which purport       to   be a verbatim    statement       of Mullis.         This includes   statements



             written by someone           other than Mullis but which were acknowledged                      orally     or in



             writing by Mullis



      g.     Autopsy reports preliminary or otherwise                    relating    to   any deaths attributed        to   the




             direct   or indirect     actions   of Mullis. This includes            reports bench notes          recordings



             or similardocumentation             made by coroners             deputy coroners and/or       medical



             examiners


     h.      Any and all Uniform          Offense     Reports or Supplements thereto



     i.
             Any reports       statements       recordings    or    other documentation         of by or about         fellow



             inmates    with   whom the State        or its agents might have discussed any matters



             pertaining to Mullis



     j.     Any police logs records              recordings   and or notes of calls and reports             to   the   State




            of Texas its agents or employees or any other law enforcement                           agency regarding


            Mullis his arrest or incidents related             to   the indictment or charge         pending      against



            Mullis


     k.     Finger palm and hand            print   specimens        latent    or otherwise    and photographs


            thereof taken      during     the course of the investigation            of the offenses and any and


            all   documents     related   thereto and items from which print exemplars                     were   taken.




            This would include          any and all requests         for print   comparisons      made to the


            Automated      Fingerprint      Identification     System         AFIS any other state or federal

            comparison systems including requests                   for visual    comparisons      and reports




                                                                                                                                    %n
                                                                                                                                  A f
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                           provided      as    a result of such        examination.



           1.
                           Any and all         items of a ballistics nature                including   bullets shells slugs cartridges



                           or   pieces or parts         thereof      including      photographs        thereof         recovered     and which     in




                           any    way relate to the offenses.               This would include              written requests          for




                           examination          or analysis bench notes reports                  and photographs                of these items



                           taken     during     the     course of the investigation            of the offenses and any and all



                           documents          related     thereto.     This designation         would also            include    any and all


                           requests for print comparisons made to the                         DRUGFIRE                computer system the


                           National     Integrated Ballistics            Information         Network        NIBIN         or any    other state or



                           federal    comparison systems including requests                       for visual          comparisons and


                           resulting    reports       and bench        notes.




          M.               Any autopsy and toxicology                   findings      bench notes photographs material



                           recording     on electronic          recording        devices and body specimens taken                        by the State



                           of Texas.



          n.               Hospital and medical              reports    relating     to    the survivor of the offense              for which




                           Mullis has been indicted.



          It    is   further      Ordered that none of the evidence                    seized in the investigation of the offenses



be destroyed           modified        or altered        without     15 days      prior    notice to the defense           and an Order from


this Court.          The    office   of the Galveston            County         District   Attorney    is   to   timely notify       the    defense


                           that    the state or its agents have destroyed                    or consumed          in                      materials
upon discovery                                                                                                         testing     any


relevant to the offenses.               If such       destruction has taken            place    the State        is   Ordered to timely



provide   to     counsel for Mullis a list of                  a what           has been destroyed          or consumed            b by whom
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and upon what authority   c where and when   the   destruction occurred   and   d why    it   occurred.



       ORDERED AND SIICNED on this the        q        day of                    2010.




                                         JU        G   PR9SIDING
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                                                    CAUSE NO. 08-38-7-2


 THE STATE OF TEXAS                                                      IN   THE DISTRICT COURT                          OE
 Vs.                                                                     GALVESTON COUNTY TEXAS.


TRAVIS JAMES MULLIS                                                      122ND       JUDICIAL DISTRICT


                 MOTION FOR in camera INSPECTIONS of STATES ENTIRE                                                  FILE


TO THE HONORABLE JUDGE OF SAID COURT

           COMES NOW Travis               James Mullis Defendant in the above-entitled and numbered


criminal    action       requests an in camera review          by the court of the States                file in order to   determine



whether                                            or impeaching evidence                     included
            any exculpatory        mitigating                                           is               therein.   In   support        the




Defendant will show the following.


           The    Defendant     requests the court to    make an in camera                   review    of the States     entire    file or




files in this case       in order to   determine    whether they include         evidence            which might tend       to




exculpate       the   Defendant which might tend to impeach states witnesses whose                              credibility       is




material to the issue         of guilt innocence     or punishment         or which might              tend to mitigate



punishment.           The Defendant further     requests that     such    evidence           be delivered to him through               his




counsel    by the court after the courts           in camera    inspection.



          Without       regard to whether the court grants the motion for an in camera                          inspection and



without    regard to whether the court delivered to the Defendant                       any of the items so requested


above     the   Defendant      independently    requests that     the   entire   file    or files of the State         be copied       by


court personnel         upon conclusion     of the trial and that the same              be sealed in order to become               a



permanent part of the records of this trial so that              it   be available           for   appellate review.



          WHEREFORE PREMISES CONSIDERED the Defendant                                                 prays the court will grant




                                                                                                                                              rA A
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 this   motion in all things or in the alternative                 that     this court will set          this matter    down   for a




 hearing prior to     trial   on the merits and that          at   such      hearing          this motion will   be in all things



 granted      and for such     other and further      relief       to   which the defendant may be entitled                    in justice     or



 in equity.




                                                                               Respectfully            submitted




                                                                               ROBERT                 K. U
                                                                              SBN 12562300




                                                                            A
                                                                               1   1   1   West   15h Street

                                                                              Houston             Tx 77008
                                                                              713-880-9000office
                                                                              713-869-9912 fax




                                                                              GERALD BOURQUE
                                                                              SBN 02716500
                                                                              24 Waterway         Ave. 660
                                                                              The          Woodlands Tx 77380
                                                                              713-862-7766office
                                                                              832-813-0321 fax




                                                                              ATTORNEYS                      FOR DEFENDANT




                                               OERT1FiOATE                  OF SERVICE

          I
              hereby certify   that   a true    and correct        copy of the above and foregoing                     document    has



been hand delivered to the District              Attorneys Office                  on      this the


                                                                                                                               .       _
2010.




                                                                             ROBERT               K. ItO
                                                                                                                                       v


                                                                        2                                                                ra




                                                                                                                                                   r ao -
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                                                               0333
                                               CAUSE NO. 08-38-7-2


THE STATE OF TEXAS                                            IN TIIE      DISTRICT COURT OF


Vs.                                                           GALVESTON COUNTY TEXAS


TRAVIS JAMES MULLIS                                           122ND JUDICIAL DISTRICT

                                                    ORDER

      BE IT REMEMBERED                  that   on the        day of


2010 came   to   be considered   the   Defendants       MOTION FOR IN CAMERA INSPECTIONS

OF STATES ENTIRE           FILE. The       court is of the opinion   the   motion should be   in all   things



      GRANTED

      DENIED




                                                             JUDGE PRESIDING




                                                         3
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                                                                                   NO. 08CRO333

 lI-IE STATE            OF TEXAS                                                                                  IN   THE DISTRICT COURT OF                                              n.



 VS.                                                                                                              GALVESTON               COUNTY TEXAS

 TRAVIS             JAMES MULLIS                                                                                  122nd     JUDICIAL DISTRICT



                                                   NOTICE OF FILING CERTIFICATES/AFFIDAVITS

                COMES NOW the State                     of Texas      by and    through          her Criminal    District    Attorney      and gives notice          that the     State

 intends       to    introduce     in   evidence        under   the   Texas     Rules        of Criminal      Procedure       at   the   trial   of   the   above     entitled     and

 numbered cause             the   following        affidavits   and records          to-wit



                RECORD                                                                 AFFIANT                                               EMPLOYER-ADDRESS

CERTIFICATE                 OF ANALYSIS
                                                                                       MICHAEL PIERCE                                        HARRIS         COUNTY MES
                                                                                                                                             OFFICE-HOUSTONTX


CI-LAIN        OF CUSTODY AFFIDAVITS                            2                      GARY JONES                                            GALVESTON POLICE
                                                                                                                                             DEPT. GALVESTONTX


               The said affidavits            and     certificates    of                   were    filed   with the District    Clerk of Galveston County
                                                                           analysis                                                                          among
the   papers        of the above        entitled     and   numbered cause            on the 31st day of March               2010 and are available for inspection at
the   office    of the      District    Clerk.



                                                                                                     Respectfully submitted




                                                                                                     LARRY       A.   DROSNES
                                                                                                     Assistant Criminal        District     Attorney

                                                                                                     Galveston    County Texas


                                                                     CERTIFICATE                  OF SERVICE

               I    LARRY         A.   DROSNES             do hereby       certify    that   I    provided   a copy    of the foregoing notice and                  certificate     of

analysis       and    chain    of custody          affidavits   listed     above      to   Robert     Loper     attorney     for   the said Defendant               by fax   to    his


office on       the   315     day of March          2010.




                                                                                                     LARRY       A.   DROSNES
                                                                                                     Assistant Criminal       District     Attorney
                                                                                                     Galveston    County Texas




                                                                                                                                                                                               rA A
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                                                                                                                                     tJul
                                                                                                                                      J          f.7         1J
                                                                                                                                                                         J       U    IJ    \/     IJ   lJ




                                                                                        .rrPSro          co
                                                                                              RIC1   C   clV




                                        SUBPOENA ISSUED IN THE NAME OF THE STATE OF TEXAS
  This     subpoena         not prepared by the office of Latonia D. Wilson                                    District   Clerk Galveston County Texas.
                                                              NO. 08CR0333


 TI IE STATE         OF TEXAS                                                                                             IN    THE DISTRICT COURT OF

 VS.                                                                                                                      GALVESTON                  COUNTY TEXAS

 TRAVIS       JAMES MULLIS                                                                                                122ND           JUDICIAL DISTRICT

         TO ANY PEACE OFFICER OR BY ANY OTHER PERSON WHO IS OTHERWISE QUALIFIED OF TILE STATE                                                                        OF TEXAS GREETING
                                      YOU ARE HEREBY COMMANDED TO SUMMON

   WITNESS        NAMES/ADDRESS/VOCATION                                                                                                                           DATE/TIME SERVED

   1   Candy Rinehart

   2 Steve Barry

   3 Steven      .Euge       Barry


   4 Susan Barry
  5 Caren Kohberger
  6
  7
  8


  Upon receipt of subpoena please call DONNA GOODE FIRST ASSISTANT CRIMINAL DISTRICT
  ATTORNEY at 409 766-2355 TO PROVIDE HER WITH CONTACT NUMBER AND TO DISCUSS
  THIS MATTER PRIOR TO TRIAL.

If to be found       in your   County    to   be   and appear    at 900        oclock a.m. on the 7th                day of March 2011 Before the Honorable     12
Judicial District       Court    of Galveston         County   Texas     to   be held within              and for said County at the Court House thereof in Galveston
then and there to testes as a witness on behalf of the State in a certain pending criminal felony action                                                            and there to remain from
day to day and from term to term until discharged    by said Court.
   The     witness     is   further   commanded          to deliver to a representative                        of the Galveston County                   Criminal District Attorneys

Office     or produce        at the said      time and place      above set fort/i              the following



Please bring           with you                                                                                                                                                       minor/s

On this day came forward LARRYA.                       DROSNES         applicant        signature attorn                 for the State/               endtnt        an           thiapplication
for subpoena      to   compel the attendance            of the above named             witness on          this              day of                                 gP$tt sztd witness                  is



necessary.
             HEREIN FAIL NOT and make due                       return    hereof        showing how you have                    executed      the   same
Witness     my official     signature    on    this             day    of                                                                  attested    to.




                                                                            LATONIA           D.     WILSON          District        Clerk   Galveston             Cohgt     Fexfit
Subpoena instructions
                                                                                                                                                                                     o
     Send to Sheriff                                                                                                                                                                 rv


        Pickup                                                              By                                                                                               Deputy        Clerk



                                                                          RETURN OF SERVICE
Received    this Subpoena  on the         day of                                                   20              and executed           the same     as shown          above   by delivering          a

copy   of this subpoena to the within named witness es                        in   the city    of                                         and county          of

 xas




                                                                                                                                                                                                             -n r
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                                                                                                                                    D
                                                                                               Krcrcu                  Ll      LI
                                                                                                                                            L
                                           SUBPOENA ISSUED IN THE NAME OF THE STATE OF TEXAS
  This     subpoena           not prepared by the office ofLatonia                        D.   Wilson       District    Clerk Galveston County                           Texas.

                                                                                    N O 08CRO333


 THE STATE OF TEXAS                                                                                                    N THE DISTRICT COURT OF
 vs.                                                                                                                   GALVESTON                  COUNTY TEXAS

 TRAVIS JAMES MULLIS                                                                                                   122ND        JUDICIAL DISTRICT

         TO ANY PEACE OFFICER OR IIY ANY OTHER PERSON WHO IS OTHERWISE                                              QUALIFIED               OF THE STATE          OF TEXAS GREETING
                                       YOU ARE HEREBY COMMANDED                                                    TO SUMMON


   WITNESS             NAM ES/ADDRESS/VOCATION                                                                                                                  DATE/TIME           SERVED
                                                                                                                                                            j

   1   Robert Hesser


   2 Gregory Rodden

   3 John McNamme
   4 Andrea            Smith-Wardlow


   5 Michael Munroe
  6 Robert Polowski
  7 George Pirrone
  8


  Upon receipt of subpoena please call DONNA GOODE FIRST ASSISTANT CRIMINAL DISTRICT
  ATTORNEY at 409 766-2355 TO PROVIDE HER WITH CONTACT NUMBER AND TO DISCUSS
  TI IS MATTER PRIOR TO TRIAL.

If to be found         in your    County       to   be   and appear at 900 oclock a.m. on the 7th                    day of March 2011                                the Honorable       122
                                                                                                                                                            Before
Judicial District Court of Galveston                        County   Texas     to   be held within       and for said County
                                                                                                          House thereof in Galveston at the Court

then and there to testify as a witness on behalf of the State in a certain pending criminal felony action   and there to remain from
day to day and from term to term until discharged     by said Court.
   The witness              is further   commanded             to deliver to a representative              of the Galveston County                     Criminal District Attorneys
Office     or produce           at the said         time and place        above set forth the following


Please         bring        with your                                                                                                                                             minor/s
On this day came forward LARRY
for subpoena

necessary.
                       to   compel the attendance
                                                         A.   DROSNES        applicant

                                                              of the above named
                                                                                          signature
                                                                                         witness on      this    1
                                                                                                           attorny for the StgtC Defendant
                                                                                                                            day of
                                                                                                                                        l     I
                                                                                                                                                                 and files   this   application
                                                                                                                                                                 2989 that said witness is
                                                                                                                                                                ZCi f5
             HEREIN FAIL NOT and make due return hereof                                   showing how you have              executed         the same.

Witness     my official        signature       on    this               day of                                                       attested     tt




                                                                                 LATONIA       D.   WILSON        District Clerk            Galvestin        Cbunt       Texas

Subpoena       instructions                                                                                                                            -


        Send      to   Sheriff



        Pickup                                                                   By                                                                                      Depz8p Clerk
                                                                                                                                                       71




                                                                                 RETURN OFSER VICE
Received     this Subpoena          on   the                   day of                               20          and executed        the same      as shown           above   by delivering      a

copy    of this    subpoena to the within named witness es in the city of                                                           and county          of
Texas




                                                                                                                                                                                                    rt
                   Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 113 of 260




                                                                                                                                                 DIZltq
     CAUSE NUMBER 08CR0333                                                        THE STATE OF TEXAS                                 121                        IS   R      COURT

                                                                                                     VS.                             IALVESfON COUNTY FEXAS

                                                                                  TRAVIS        JAMES MULLIS
                                                                                          Defendants       Name

                                                                   SUBPOENA DUCES TECUM
     TO ANY PEACE OFFICER OR BY ANY OTHER PERSON WHO IS OTHERWISE                                                                                  QUALIFIED OF THE STATE OF TEXAS
     GREETING YOU ARE HEREBY COMMANDED TO SUMMON


      WITNESS             NAMES/ADDRESS/VOCATION                                                                                                                            DATE/TIME
                                                                                                                                                                            SERVED

      CUSTODIAN                OF RECORDS
      Plumtree          Family Health          Center     L.L.C.

      Robert       S.   Knight     M.D.
      104    Plumtree         Road    Suite 102

      Bel Air Maryland               21015
11




     Upon      receipt of subpoena                         please call                   DONNA GOODE LESTER BLIZZARD                                                 or CAROLYN ADKINS                       at

     409           766-2355.



                   If to be found in your County to be and appear INSTANTER Bejbre the Honorable Judge John Ellisor of
     the    122d Judicial                 District       of Galveston                    County      Texas     to   be   held within            and for said County at                the    Courthouse
                    in    Galveston                 then and there to testify as a witness on behalf                                               State in the above                        and
 thereof                                                                                                                               of the                                    cause               there   to

 remain from day                     to   day and from term                         to   term until discharged           by said Court.


                   The witness is further commanded                           to produce        at the said tine    and place        above    set forth the following

                   Please provide            legible    copies          of any    and all medical        records of TRAVIS            JAMES MULLIS           white male

                   DOB 09-20-1986                   contained           in your files     to   include   any and all records received              from other providers.


 In         lieu   of your personal                 appearance before the listed Grand Jury you may release the above requested information alone
 with       a Notarized          Custodian            of Records Affidavit containing number of naees INSTANTER to Investigator Carolyn Adkins
 600         59h          Street          Suite          1001             Galveston            Texas       Office          409-766-2352               FAX            409-770-6291            email
 carolyn.adkins@co.galveston.tx.us.



                   On this day came forward                         t                                                                         Lester Blizzard        attorney for the State    and    files this

application             for   subpoena         to    compel        the attends                 the above   named     witness on        this   2d   day of   June A.D. 2010            that   said witness     is


necessary.


               HEREIN FAIL NOT and make due                                   return      hereof showing     how you have        executed       the same.



                   Witness     my official          signature       on     this   the             day of                 A.D. 2010 attested to                                    p
                                                                                  LATONIA       D.   WILSON DISTRICT                 CLERK GALVESTO/CS                   OUNTF      IEXAS


                                                                                  By                                                                                                Deputy    Clerk


This Subpoena                        not prepared                        by the office                 of LATONIA         D.     WILSON
                                                                                                 RETURN      OF SERVICE                                     -




Received           this   Subpoena        on    the                          dory   of                                          A.   D. 20            and -executectthe sanIP as shown               above   by
delivering          a copy      of this subpoena              to   the within          named witnesses       in the city   of                                                                 and county     of
                                                                Texas



Service      Fee $                                                                                                                            Signature of Officer or Qualified          Person
    Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 114 of 260




                                                                  Cause Number 08-0333                                                     10

                                                                                                                                                               Pf10

    Travis    Mullis                                                                                     In   The    District Court of



    V.                                                                                                   Galveston County Texas                                     n


    The     State   of   Texas                                                                           122nd      Judicial District




                                                                                  NOTICE




                  Comes now the State            of   Texas by and through                 her assistant       district                            this notice
                                                                                                                            attorney   provides

    to the    Court and Defendant           of    its   intent    to   request      this Court to       take     Judicial Notice       of the   law of the

    State    of   Pennsylvania pursuant to Rule                  202 of the Texas Rules               of Evidence.          Specifically the State        intends

    to   request the Court to take          judicial notice            of   the following        Pennsylvania Statutes


                  Pennsylvania Rule of Criminal              Procedure            200 and       its   commentaries



                  Pennsylvania Criminal           Statutes       Annotated          5702 5703 5704 and                    its   commentaries.


    A true and correct            copy of the above        statutes         are   attached hereto and incorporated                     herein   for all

    purposes.



                                                                               Respectfully          Submitted




                                                                              Lester       Blizzard

                                                                              Assistant       District Attorney

                                                                              Galveston County Texas




                                                                   Certificate       of    Service



I

     certify that        a true   and correct    copy of the above                notice    has been sent to counsel for the defendant by

certified         mail   on this the     ZI/kday            of   June 2010.




                                                                              Lester       Blizzard

                                                                              Assistant       District Attorney

                                                                              Galveston County Texas
                                                                                                                                                            Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 115 of 260
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 Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 124 of 260




                                                   CAUSE NO.08CRO333


 THE STATE OF TEXAS                                                                  IN   THE DISTRICT COURT                    T
 V.                                                                                  GALVESTONCOUNTY TEX4

 TRAVIS JAMES MULLIS                                                                 122nd   JUDICIAL DISTRICT



                         MOTION FOR EXTENSION OF TIME TO DESIGNATE
                                                   EXPERT WITNESSES



TO THE HONORABLE JUDGE OF SAID COURT

            Comes now TRAVIS                  MULLIS Defendant            in   the above-entitled and numbered             criminal



action      by and through       his   counsel   of record     Gerald   E.     Bourque    and Robert K. Loper and moves


this Honorable        Court for an extension           of time to Designate Expert Witnesses            and in support thereof


would show          the following



                                                                  I.




eight-week  Gerald E.



          federal   death
                         Bourque one of Defendants


                             penalty   case   in the
                                                                 attorneys has only recently completed an



                                                       Eastern District    of Texas.      Immediately       upon completion


of that case was       set   for trial in   another    death   penalty case     in   Burleson   County.        That   case has



only recently       concluded.



            Robert K. Loper        Defendants          lead counsel has also         been involved    in   a lengthy    felony



murder trial in Harris County Texas which was just recently completed.                                He is also      set for   a



capital    murder trial in Harris County on July 16 2010                   as   well as another      capital   murder case          in




Harris County on July           29 2010.

           These trials have caused           counsel to file this motion to request additional time to designate



expert witnesses.
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 125 of 260




           WHEREFORE PREMISES CONSIDERED the Defendant                               prays that   the court extend the



deadline    for disclosure   of expert witnesses.


                                                                 Respectfully     submitted




                                                                 GERALD E. BOURQUE
                                                                 STATE BAR NO. 02716500
                                                                24 Waterway       Ave.    Suite 660

                                                                The    Woodlands      TX    77380

                                                                Telephone            713 862-7766
                                                                Telecopier           832 813-0321




                                                                C3-State
                                                                ROBERT K. LOPER
                                                                       Bar No.    12562300
                                                                 111   W. 15 St.
                                                                Houston      Texas    77008

                                                                713 880-9000
                                                                713 869-9912 fax

                                                                ATTORNEY FOR DEFENDANT
                                                                TRAVIS JAMES MULLIS




                                      CERTIFICATE OF SERVICE



       I
           hereby certify that   a true   and correct   copy of the foregoing     has been forwarded     to the   Court

and the District Attorney     of Galveston      County     Texas via fax on this 1S day of July
                                                                                                       2f16




                                                                GERALD       E.   BOURQUE
                                                                                                              77




                                                                                                                          f.   f1
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                                                    CAUSE NO. 08CR0333



THE STATE OF TEXAS                                                                IN THE        DISTRICT COURT

V.                                                                                GALVESTONCOUNTY TEXAS

TRAVIS .DAME MULLIS                                                               122nd   JUDICIAL DISTRICT

                      ORDER GRANTING MOTION FOR EXTENSION OF TIME
                                       TO DESIGNATE EXPERT WITNESSES

          On   this            day     of                             2010 came      on   for   consideration   Defendants


Motion     for Extension       of Time      to   Designate   Expert   Witnesses   and the Court after due consideration


is   of the opinion     that   said    motion is hereby


                   Granted



                      Denied



          Signed      this            day of                          2010.




                                                              JUDGE ELLISOR




                                                                                                                             r-9n
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 127 of 260




 GERALD E. BOURQUE
            ATTORNEY AT LAW


                                                      24   WATERWAY         AVENUE SUNT 660 T-IE WOODLANDS TEXAS 77380
                                                                                                                      Office-713     862-7766

                                                                                                                    Facsimile 832 813-0321




                                                             July    1 2010


Ms. Latonia        D.   Wilson
District    Clerk

Galveston     County Courthouse
600 59I St. Room 4001

Galveston      TX 77551-2388

                        RE       The State     of Texas      vs.   Travis     James Mullis
                                 Case No. 07-CR-0333


Dear Ms. Wilson


           Please find       enclosed      Defendants        Motion         for    Extension      of Time    to   Designate         Expert
Witnesses     to   be filed in the above-referenced                cause.




self-addressed
           Please

              envelope.
                        return   the    file-stamped       copies     to    this    office   in    the   enclosed   stamped




           Thank you       for
                                 your   assistance.




                                                                                       Sincerely




                                                                                      Gerald      E.   Bourque
GEB/me
Encl.

cc   Mr. Larry A. Drosnes
        Assistant District Attorney




                                                                                                                              INI
                                                                       aA




                                                                                                                                                r YA
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                                               CAUSE NO.08CRO333


THE STATE OF TEXAS                                                            IN THE DISTRICT COURT


V.                                                                            GALVESTONCOUNTYTEXAS

TRAVIS JAMES MULLIS                                                           122nd   JUDICIAL DISTRICT



                         MOTION FOR 1 XllENSION OF TIME TO DESIGNATE
                                      EXPERT WITNESSES



TO THE HONORABLE                      JUDGE OF SAID COURT

           Comes now TRAVIS MULLIS                      Defendant    in the   above-entitled and numbered criminal



action    by and through        his   counsel of record    Gerald E. Bourque       and Robert K. Loper and moves



this Honorable       Court for an extension      of time to Designate Expert Witnesses          and in support thereof



would show         the   following




eight-week Gerald E. Bourque



         federal
                                      one of Defendants attorneys has only recently


                   death penalty case in the Eastern District of Texas.             Immediately
                                                                                               completed      an


                                                                                                      upon completion


of that case was set for trial in another death penalty case in Burleson                 County.       That case has



only recently       concluded.



          Robert K. Loper         Defendants lead counsel has          also   been involved    in a   lengthy felony



murder trial in Harris County Texas             which was just recently         completed.    He is also set for a


capital   murder trial in Harris County on July 16 2010                as   well as another capital murder case in



Harris County        on July   29 2010.

          These     trials   have caused   cowtstl to   file   this motion to
                                                                                request additional     time to designate



expert witnesses.




                                                                                                                           r   1
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 129 of 260




        WHEREFORE           PREMISES       CONSIDERED          the    Defendant     prays that the court    extend the



deadline for disclosure     of expert witnesses.



                                                              Respectfully        submitted




                                                              UE ALD E. BOURQUE
                                                              STATE BAR NO. 02716500
                                                              24 Waterway         Ave. Suitc 660
                                                              The Woodlands         TX 77380
                                                              Telephone            713 862-7766
                                                              Telecopier           832 813-0321




                                                              ROBERT        K.    LOPER                     y    C
                                                                                                                          -C
                                                              State   BarNo. 12562300                                      ...
                                                              111    W. 15 St.
                                                              Houston Texas          77008

                                                              713 880-9000
                                                              713 869-9912          fax

                                                              ATTORNEY FOR DEFENDANT
                                                              TRAVIS       JAMES MULLIS




                                     CERTIFICATE OF SERVICE



        I   hereby certify that a truc and corrcct   copy   of the foregoing has been forwarded            to the Court

and the District Attorney     of Galveston   County Texas      via    fax on this    1St   day   of July 2010.




                                                              GERALD        E.    BOURQUE
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 130 of 260




 GERALD E. BOURQUE
           ATTORNEY AT LAW


                                                   24   WATERWAY AVENUE SUTTE 660 THE WOODLANDS TEXAS                          77380
                                                                                                               Office-713    862.7766
                                                                                                            Facsimilc
                                                                                                                        82 813-93z1

                                                         July   1 2010

Ms. Latonia D. Wilson
District    Clerk

Galveston     County Courthouse
600 59h     St.    Room 4001
Galveston TX         77551-2388


                    RE         The State of Texas vs. Travis           Ja.uxes    Mullis

                               Case No. 07-CR-0333


Dear Ms. Wilson


           Please find       enclosed   Dcfcndants        Motion     for    Extension      of Time   to   Desiguate         Expert
Witnesses     to   be filed in the above-referenced         cause.




self-addressed
           Please   return


             envelope.
                               the   file-stamped copies        to   this    office   in   the   enclosed    stamped




           Thank you     for your    assistance.




                                                                                 Sincerely




                                                                                 Gerald E. Bourque
GEE/rne
Encl.

cc   Mr. Larry A. Drosnes
        Assistant District Attorney




                                                                                                                                        r-n
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 131 of 260




   GERALD E. BOURQUE
         ATTORNEY          AT LAW


                24   WATERWAY AVENUE                                       SUITE 660 THE                      WOODLANDS TEXAS 77380
                                                                                                                              Office   713 862-7766
                                                                                                                          Facsimile 832 813-0321

                                                                                                                                 www.geraldebourque.com




                                  FACSIMILE COVER SHEET


  TO

  FROM          Gerald E. Bourque



 FAX NO.              O                                 o           c




 DATE                             I      g
                                             O

 RE



 No. of Pages




                                                                1          SAGE




                                                                                    contact our office
                          any of the pages
                     Jf                      ai   missing   or illegible   please                        at   713-862-7766.




                                                                                                                                                          r-9r
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                                                  CAUSE NO.OSCRO333



THE STATE OF TEXAS                                                          IN   THE DISTRICT COURT

V.                                                                          GALVESTONCOUNTXTEXAS

TRAVIS JAMES MULLIS                                                         122nd   JUDICIAL DISTRICT

                    ORDER GRANTING MOTION YOR EXTENSION OF TIME
                           TO DESIGNATE EXPERT WITNESSES

          On this            day     of                          2010 came on for consideration      Defendants


Motion for Extension of Time              to   Designate Expert Witnesses   and the Court after due consideration



is   of the opinion   that   said    motion is hereby


                   Granted



                   Denied



          Signed   this             day of                      2010.




                                                           JUDGE ELLISOR




                                                                                                                    ri
         Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 133 of 260


Neumann Janice

Crom                               Drosnes Larry
.len                               Friday July 02 2010 350 PM
To                                 Robert K. Loper gerald@geraldebourque.com
Cc                                 Goode Donna     Blizzard   Lester   Neumann   Janice




Mr.   Loper


We oppose        your motion        for extension    of time to designate        expert witnesses.   A hearing on you
motion     is   set   in    the 122nd for July 81 at    130 p.m.




Larry A. Drosnes
Assistant Criminal District Attorney
Galveston       County Texas
409- 766-2374          Office

409-765-3205           Fax
409-943-6494           Pager
Iarry.drosnes@co.galveston.tx.us


This e-mail      is   the   work product   of the Galveston County        Criminal District Attorneys   Office prepared in

anticipation  of or in the course of preparing for criminal litigation.   This e-mail reflects the mental

impressions or legal reasoning of an attorney representing     the State of Texas or his staff. This e-mail is

not subject to public disclosure without the express permission      of the Galveston County Criminal District

kttorney    or his designated        representative.




                                                                                                                             r - -s
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                                                           NO.08CRO333



 THE STATE OF TEXAS                                                                  IN THE         DISTRICT         COURT
                                                                                                          OF

 VS.                                                                                GALVESTON COUNTY TEXAS

 TRAVIS JAMES MULLIS                                                                122ND JUDICIAL               DISTRICT

                                   ORDER GRANTING EXTENSION OF TIME
                                    TO DESIGNATE EXPERT WITNESSES

                      On this the 8th day of July 2010 came                 on to be heard         the Defendants           Motion    for


           Extension        of Time to Disclose         Expert   Witnesses.


                      On the 8th day of March 2010                the   Court ordered the parties herein to designate


           and disclose to opposing           counsel expert witnesses            names and addresses and areas of

           expertise by July       1 2010.

                      On July 1 2010 the Defendant by and through                     his   attorneys of record            filed


           Defendants Motion          for   Extension         of Time to Disclose         Expert    Witnesses    to       the State



           asking     for   additional time to comply with the courts order.


                      The Court    finds    that   said   request for extension      should        be granted.

                      IT IS   THEREFORE ORDERED that                      the   parties    herein designate          and disclose to


           opposing          unsel exp       witnesse         names and addresses and areas of expertise                      by

           the    SLday of                    Uh    U             2010.


                                         Signed this the            2           day of                     20    i   0.




                                                    u     e    residing
                 and Agreed to
Approved


Robert     K. Loper

Attorney    for   Defendant Travis         James Mullis




@rma-Geo
First   Assistant Criminal District         Attorney                                                 1      C ...
Galveston    County Texas




                                                                                                                                            rn
  Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 135 of 260




                                                                                                                                                             I
                                                                                 NO. 08CRO333

 THE STATE OF TEXAS                                                                                               IN   THE DISTRICT                   CRT OF                  cl




 VS.                                                                                                              GALVESTONCOUNY                                 TEXAS                              ap


 TRAVIS JAMES MULLIS                                                                                              122nd      JUDICIAL            DISTRICT



                                              NOTICE OF FILING CERTFICAIES/AFFIDAVITS

             COMES NOW the State                    of Texas       by and       through      her Criminal      District      Attorney      and gives notice               that       the    State

 intends to       introduce     in   evidence      under     the    Texas       Rules       of Criminal     Procedure         at   the   trial        of   the   above        entitled       and

 numbered cause        the    following       affidavits     and records         to-wit



             RECORD                                                                   AFFIANT                                                EMPLOYER-ADDRESS

 CHAIN OF CUSTODY AFFIDAVIT                                                           RICK MCCULLOR                                          GALVESTON POLICE
                                                                                                                                             DEPT. GALVESTONTX


             The said        affidavits     was    filed    with    the     District    Clerk      of Galveston           County     among            the    papers       of       the    above

entitled    and    numbered         cause   on    the    8 day of July 2010                  and   are   available     for   inspection          at    the   office      of    the       District

Clerk.



                                                                                                   Respectfully submitted




                                                                                                   LARRY A. DROSNES
                                                                                                   Assistant Criminal         District      Attorney
                                                                                                   Galveston      County Texas


                                                               CERTIFICATE                    OF SERVICE

            I LARRY          A.   DROSNES               do hereby    certify     that   I   provided     a copy     of the foregoing notice and chain                          of custody

affidavit   listed   above     to    Robert      Loper     attorney       for   the   said Defendant         by mail and fax to             his        office on         the    8h       day of

July   2010.




                                                                                                   LARRY       A.   DROSNES
                                                                                                   Assistant Criminal         District     Attorney
                                                                                                   Galveston      County Texas
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                                                    CHAIN OF CUSTODY               AFFIDAVIT



     BEFORE MIE the undersigned                             authority personally appeared RICK                           MCCULLOR
     who   being by me duly sworn sated as follows


     My name is ROCK                  IVICCULLOR.            0   am of sound mind over the age of 18 years
     capable           of   making this affidavit                and am personally acquainted with the facts
     stated       in   this affidavit.



     My address             is. 601        54th Street Galveston Texas.


 On the March                  26 2009          O   was employed as a peace                  officer    with the City of

 Galveston Texas.


 On that date                 0   came into possession                  of the physical        evidence       described          as
 Blood Stain Card of Alijah Mullis374-58                                   A.

 O    received          the physical evidence                    from the City of Galveston               Police         Department
 property room on said date and said evidence                                       was sealed.

 0    transfferred           the sealed             physical evidence        to the Texas Department of Public

 Safety Regional                   Crime Laboratory               in    Houston Texas under the Laboratory
 Case Number L2H 182325 on March                                        26 2009.

                                                                                was                                          make
                                                                                      -


 During the time that the physical evidence                                                 my custody        I   did not

 any changes                 or alterations              to the condition of                physical evidence             and the
 physical evidence                        was transferred          in   the sa            onditio      ps received.




                                                                          AF    ANT

 SWORN TO AID SUBSCRIBED before me on the                                                           day of   JK Iy           2010.




              i                                                           Notary    Publi       State of Texa
                                  CISSI   STALLINGS
                              MY COMMISSION    EXPIRES

                                  January 18 2014                                                                  all
                                                                                                                                      CD
                                                                                                                            lz




                                                                                                                                      0




                                                                                                                                           -   1A
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                                               CAUSE NO. 08CRO333

THE STATE OF TEXAS                                             IN THE 122ND DISTRICT.       COURT

V.                                                             GALVESTON COUNTY TEXAS.

TRAVIS JAMES MULLIS



                DEFENDANTS MOTION TO TRANSFER
        ALL DOCUMENTS AND COMMUNICATIONS PERTAINING
             TO CAUSE NO. 08-3872 TO CAUSE NO 08CRO333




TO THE HONORABLE JUDGE OF SAID COURT

        COMES NOW the Defendant TRAVIS JAMES MULLIS in the above-entitled

and numbered        cause   by and through          Defendants Attorneys of Record         and moves      the



Court    to   authorize      that        all    documents      and    communications                       to
                                                                                           pertaining



Cause No. 08-3872 be transferred               to Cause   No. 08CR0333.


        WHEREFORE PREMISES CONSIDERED                                Defendant
                                                                                 prays   that   this    Court



authorize     the     transfer      of         documents      and    communications       pertaining       to




Cause No. 08-3872 be transferred               to Cause   No. 08CR0333.




                                                                                                                Cn7
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 138 of 260




                                                 Respectfully       submitted




                                                GERALD         E.   BOURQUE
                                                State   Bar No. 02716500

                                                24 Waterway         Ave. Suite 660
                                                The Woodlands TX                77380

                                                Telephone       713-862-7766

                                                Telecopier      832-813-0321




                                                ROBERT K. LOPE
                                                State   Bar No. 12562300

                                                111 West      15th Street

                                                Houston TX          77008

                                                Telephone       713-880-9000

                                                Telecopier      713-869-9912



                                                ATTORNEYS           FOR DEFENDANT




                                  CERTIFICATE OF SERVICE




       I     the   undersigned   certify that   a copy of       the   foregoing         Motion   to     Transfer   all




Documents          and   Communications          Pertaining           to        Cause C No.7C08-3872               to




Cause No. 08CRO333 has been served upon each                    attorney of record .o            this   30t   day of

July 2010.                                                                  4


                                                        f\




                                                             GERALD     E.      B   URQUE
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 139 of 260




                                           CAUSE NO. 08CRO333
                                                                                                          JASON E. MURRAY
       THE STATE OF TEXAS                                           IN THE       122ND   DIST        IC     lURPICT        COURT
                                                                                                               FILED


       V.                                                           GALVESTON COUNTY                        Tp9        2



       TRAVIS JAMES MULLIS                                                                           GALVESTON COUNTY TEXAS
                                                                                                     BY
                                                         ORDER                                                                  DEPUTY




       On this the       I
                                day of
                                                /          r             201j came        to   be heard Defendants



TRAVIS JAMES           MULLIS          Motion       to   Transfer      all   Documents         and    Communications



Pertaining    to    Cause No.        08-3872   to   Cause No.          08CR0333.       After   due consideration           of




same the Court finds         that the   Motion should            in all things    be




                         GRANTED                                             DENIED


      IT     IS    THEREFORE          ORDERED             that   Defendants        Motion       is   granted   and   that




Documents         and Communications           Pertaining         to   Cause 08-3872 be         transferred    to   Cause


No. 08CR0333.


                   SIGNED     this         day of
                                                                 J7                                  2010




                                                    D    E PRESIDING




                                                                                                                                         r   1
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 140 of 260




                                              CAUSE NO. 08CRO333

THE STATE OF TEXAS                                                  IN THE 122ND DISTRICT         COU1-hT


V.                                                                  GALVESTON COUNTY TEXAS

TRAVIS JAMES MULLIS




               NOTIFICATION OF DEFENDANTS EXPERT WITNESSES




         Notice      is
                          hereby   made of    the   following expert witnesses   that   may potentially   be


called   by the Defendant


         Dr. Jolie    S.   Brams

         Psychologist
         Brams        Associates     Inc.


         985-B Bethel       Road

         Columbus Ohio 43214


         Dr. Antoinette       R.   McGarrahan

         Neuropsychologist
         12820 Hillcrest Road

         Suite   C-125 Dallas Texas 75230


         Dr.   Matthew      Mendel

         Psychologist
         3727 Benson Drive

         Raleigh     North Carolina         27587



         Dr.   Debbara Monroe

         Psychologist
         5625 College Avenue

         Suite 212

         Oakland California 94618




                                                                                                               rn
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      Dr.   Mary E. Pelz
      Criminal Justice Prisons Expert

      College of Public         Service

      One Main Street C400
      Houston Texas 77002


      Dr.   Reuben Matalon
      Professor      of Pediatrics        and Human Biological   Chemistry and Genetics

      University         of Texas    Medical   Branch

      Department           of Pediatrics

      3350H Childrens               Hospital Route   0359

      301 University Boulevard Galveston                  Texas 77059


      Dr.   James Owens

      Neurologist

      Baylor College of Medicine

     Houston        Texas



     Mitchell      H. Katz.     MD
     Neonatologist

     Division of Pediatric           Gastroenterology/Nutrition
     Childrens           Hospital    of   Orange County
     455    S.   Main Street

     Orange        California92868




     Mr. Nick Cushing

     Attorney       at   Family Law
     Krusch         Sellers

     5950 Fairview          Road Suite 808
     Charlotte North Carolina                28210




     Mr. Daniel S. Hellwig

     Forensic DNA Technical                Leader
     Sorenson      Forensics

     2495 South West Temple

     Salt Lake     City
     Utah 84115
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 142 of 260




      Neonatal Care Specialist to be designated



      Adoption Expert to be designated


      Development Pediatrician   to be designated




                                           espectfully        submitted




                                         GERALD          E.   BOURQUE
                                         State   Bar No. 02716500

                                         24 Waterway          Ave.    Suite   660

                                         The Woodlands TX               77380

                                         Telephone        713-862-7766

                                         Telecopier       832-813-0321




                                         ROBERT K. LOPER
                                         State   Bar No. 12562300

                                         111 West     15th Street


                                       Houston TX             77008

                                       Telephone          713-880-9000

                                       Telecopier         713-869-9912



                                       ATTORNEYS FOR DEFENDANT




                                                                                    r-c
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 143 of 260




        CERTIFICATE OF SERVICE




        1 the   undersigned certify that   a   copy of   the   foregoing Notification     of   Defendants



Expert Witnesses     has been   served upon     each   attorney of record on     this   3011
                                                                                               day of July


2010.




                                                         GERALD     E.   BOURQUE
                                                                                              1V
                    Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 144 of 260




                                                                                                                                                            u


                                                  SUBPOENA ISSUED IN THE NAME OF THE ST I TE OF TEXAS
       This   subpoena            not prepared by the office of Latonia D. Wilson                           District    Clerk Galveston Couunty                       Texas.

                                                                    NO. 08CR0333


   TILE       STATE OF TEXAS                                                                                           IN TILE     DISTRICT             COURT OF

   VS.                                                                                                                 GALVESTON             COUNTY TEXAS

   TRAVIS           JAMES MULLIS                                                                                       122ND    JUDICIAL DISTRICT


             TO ANY PEACE OFFICER OR IWY ANY OTHER PERSON WHO IS OTHERWISE QUALIFIED OF THE STATE OF TEXAS GREETING
                                           YOU ARE HEREBY COMMANDED TO SUMMON

       WITNESS           NAMES/ADDRESS/VOCATION                                                                                                           DATE/TIME SERVED

       1 Michele Duarte aka Michele Nichols
       2 Julio Flernandea




       Upon    receipt    of subpoena        please call.      .DONN GOODE FIRST ASSISTANT CRIMINAL DISTRICT.
   ATTORNEYat 109 766-2355..TO                                PROVIDE . CONTACT NUMBER AND TO DISCUSS THIS
   MATTER.PRIOR TOTRIAL.
 If to be found           in your        County   to    be   and appear at 900 oclock a.m. on the 4                 DAY OF FEBRUAR Y 2011                       Before    the Honorable

  122ND       Judicial        District    Court of Galveston           County   Texas   and for said County at the Court House thereof in
                                                                                        to   be   held within

 Galveston           then and there to testes as a witness on behalf of the State in a certain pending criminal felony action and there to

 remain       from day to day and f om term to term until discharged                              by said Court.

       The    witness         is further     commanded            to deliver to     a representative        of the Galveston County               Criminal District Attorneys

 Office       or produce           at the said         time and place above set forth the following


 Please          bring        with you       Michael         Durate    A MINOR
                                 minor/s

 On this lay came forward LARRYA.                              DROSNES     applicant signature attorne                for the                 ndru4Land         files   this   application

for subpoena             to   compel the attendance             of the above named witness on this                      day of          v     - S / 2010          that said witness is

necessary.




          r--Send
               HEREIN FAIL NOT and make                               due return hereof showing how you have             executed   the same.

 Witness       my official        signature       on   this               day of                                                 attested     to


                                                                                   LATONIA        D.   WILSON     District Clerk    Galvesto%Coun                 Texas
                 instructions
Subpoena
                    to   Sheriff
                                                                                                                                                          N                j
                                                                                                                                                                rLt        N
          Pickup                                                                   By                                                                           Deputy             leek




                                                                                RETURN OFSERVICE
Received       this   Subpoena on           thelay of                                                  20       and executed    the same as        s    own ahN1%       by d2livering      a

copy    of this     subpoena to the within named witness                     es in the city of                                  and county        of           V
Texas

  -vice       Fee                                                                                                       4ivmanro    t       nrr    o.   i n.      rn a     o....      ..




                                                                                                                                                                                               10
               Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 145 of 260




                                                              SUBPOENA ISSUED IN THE NAME OF OBW                                                  TAE             EX S
                                            Enforcement of Subpoena                   Contempt failure by any person                without   adequate excuse to obey a subpoena
                               served upon            that person     may be deemed a contempt of the court from which the subpoena                                    issued
                                                                                                                                                                  is              or a district court
                                                                    in which                                          and
                                                 in the   county                the   subpoena       is   served.           may be punished by fine or confinement                     or both.

    This subpoena           trot prepared            by the Office         of Latonia D.            Wilson District Clerk Galveston                               Texas
                                                                                                                                                     County


 CAUSE             NO.08CR0333                                                  THE STATE OF TEXAS                                                    IN     THE DISTRICT                      COURT OF

 PRESENT              TERM 2010                                                                VS.                                                    GALVESTON COUNTY TEXAS

                                                                                TRAVIS              JAMES MULLIS                                         122ND JUDICIAL                     DISTRICT               COURT
                                                                                        Defendants         Name


               TO ANY PEACE OFFICER OR BY ANY OTHER PERSON WHO IS OTHERWISE QUALIFIED OF THE STATE OF TEXAS GREETING
                                               YOU ARE HEREBY COMMANDED TO SUMMON


    WITNESS           NAMES/ADDRESSNOCATION                                                                                                                                     DATE/TIME SERVED

           1       MIGUEL            DUARTE



    Upon receipt.of subpoena please call DONNA GOODE FIRST ASSISTANT CRIMINAL DISTRICT
    ATTORNEY at 409-766-2360 TO PROVIDE HER WITH CONTACT NUMBER AND TO DISCUSS
    THIS MATTER PRIOR TO TRIAL.

 Ifto be found in your County to be and appear     at 900 a.m. on the 7t day of March     2011 Before the Honorable Judee John Ellisor
 of the 122t Judicial District Court of Galveston                   to be held within and for said County at the Court House
                                                     County Texas                                                             thereof in
 Galveston  then and there to testify as a witness on behalf of the State in a certain         criminal felony action  and there to remain
                                                                                       pending
from day to clay and from term to term until discharged                                             by said Court.



 The witness           is
                            further         commanded              to produce         at the said time           and place         above set forth the following
 Please bring               with you             Antonio     Duarte       and   Ceclia Duarte. minor/s



 On this day came forward                                                                                    Lester Blizzard             applicant       signature                                     the State/Defendant
                                                                                                                                                                                atCc           for


                    a7
a                                                                                                                                                                                       qyy
      files    this   application for subpoena                        o   compel the attendance                  of the above named             witness on this                                        clay   of
       CAD                                         2010      that said witness is necessary.



               HEREIN FAIL NOT                             and make due return hereof                      showing how you have                 executed    the same.
 Witness      my official       signature             on this                     day of                             A.D. 20                      attested   to


                                                                                           LA TONIA              D.   WILSON         District    Clerk     Galveston                          Texas
                                                                                                                                                                            County


                                                                                           By                                                                                                 Deputy Clerk


                                                                                                     RETURN OFSERVICE
Received    this   Subpoena        on the                  day of                              20          and   executed     the same as shown     above by delivering a copy of
                                                                                                                                                                                               thi.1    bpoena     to   the within
named witnesses         in   the city       of                              and county    of                                    Texas                                  n
Service    Fee $                                                                                                       Signature   of Officer or Qualified    Pers                                     c
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                             Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 157 of 260




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                    Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 158 of 260



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                                                                                                      ICT 1.0




                                                SUBPOENA ISSUED IN THE NAME OF THE STATE OF TEXAS
 This        subpoena          not prepared by the office of Latonia D. Wilson                                      District   Clerk Galveston Cotrnty Texas.
                                                                NO. 08CR0333


TI IE STATE                OF TEXAS                                                                                            IN   HIE DISTRICT COURT OF


vs.                                                                                                                            GALVESTON          COUNTY TEXAS

TRAVIS              JAMES MULLIS                                                                                               122ND   JUDICIAL DISTRICT


         TO ANY PEACE OFFICER OR BY ANY OTHER PERSON WHO IS OTHERWISE QUALIFIED OF THE STATE                                                                      OF TEXAS GREETING
                                       YOU ARE HEREBY COMMANDED TO SUMMON

                                                                                                                                                                DATE/TIME SERVED
FWITNESS NAMES/ADDRESS/VOCATION

  I    Scott        Pena


  Upon        receipt       of subpoena        please      call LESTER       BLIZZARD            ASSISTANT DISTRICT                 ATTORNEY        at


  409 770-5183 or 409 766-2355 Main.

If to be found             in your   County           to   be   and appear at 900 oclock a.m. on the 181                    clay    of January 2011             Before    the Honorable    /22iVD


Judicial        District       Court   of Galveston
                                       County                              Texas     to   be   held within        and for said County
                                                                                                         House thereof in Galveston         at the Court

then and there to testify as a witness on behalf ofthe State in a certain pending criminal felony action   and there to remain front

clay    to   day      and from term to term until discharged                        by said Court.



On this day came forward                                                                                               LESTER BLIZZARD               attorney for the State/Defendant

and files                                                          to   compel the attendance           of the above named           witness on   this                   day of
                this       application    for subpoena

0/0          that    said witness is necessary.

                HEREIN FAIL NOT and make due return here showing how you have                                                       executed    the same.

Witness                                               on   this     1LI                                                                i   attested to
               my official       signature                                   clay   of


                                                                                          LA TONIA      D.   WILSON       District Clerk       Galveston        County       Texas

Subpoena instructions
     Send to Sheriff


         Pickup                                                                           By                                                                              Deputy Clerk


                                                                                         RETURN OF SER VICE
Received                                  on                                                                 20         and executed       the same as     shown     above      by delivering   a
                    this   Subpoena             the     day of
                                      to the within named witness es                      in the city   of                                  and county     of
copy     ojthis subpoena
Texas

Service        Fee $                                                                                                                Signature   of Of cer or Qualified Person

                                                                                                                                                                                       v

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              Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 159 of 260


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                                         SUBPOENA ISSUED                          IN   THE NAME OF THE STATE OF TEXAS
This      subpoena        not prepared by the office of Latonia D. Wilson                                       District   Clerk Galveston County Texas.
                                                            NO. 08CRO333


TI IE STATE          OF TEXAS                                                                                              IN TI IE DISTRICT                  COURT OF

VS.                                                                                                                        GALVESTON            COUNTY TEXAS

TRAVIS        JAMES MULLIS                                                                                                 122ND       JUDICIAL DISTRICT


        1O ANY PEACE OFFICER OR BY ANY OILIER                              PERSON      WI10   IS   Or1IERWISE         QUALIFIED           OFrllE SCALE OF TEXAS GREETING
                                                            YOU ARE HEREBY COMMANDED                                 TO SUMMON


                                                                                                                                                               DATE/TIME                      SERVED
  WITNESS           NAMES/ADDRESSNOCATION

  I    Robert Hesser


  2 Gregory Rodden
  3 John McNamee
  4 George Pirrone
  5 Michael          Munroe


  6 Andrea           Smith Wardlow

  Upon     receipt    of subpoena        please call LESTER             BLIZZARD        ASSISTANT DISTRICT                    ATTORNEY              at


  409 770-5183 or 409 766-2355 Main.

If to be found       in your   County       to   be   and appear at 900 oclock a.m.on the 18x                      day of January 2011    Before the Honorable 122ND

Judicial                 Court                                      Texas         be held within        and for said County at the Court House thereof in Galveston
            District             of Galveston          County                to

then    and there to testify as a witness on behalf of the State in a certain pending criminal felony action                                                       and there to remain from

day to clay      cord   from term to term until discharged                  by said Court.



On this clay came forwardZlil
and fifes    this    application    for subpoena
                                                  /Q-17Aer to   compel the attendance
                                                                                                                  LESTER BLIZZARD
                                                                                                 of the above named           witness on       this
                                                                                                                                                     attorney for the State/Defendant

                                                                                                                                                                              clay   of

2010      that said witness is necessary.

            HEREIN FAIL NOT and make due return hereof showing how you have                                                   executed      the same.

Witness     my official
                   signature on this 4   day of     D-0 C-                                                                         1   D attested to

                                                                                  LATONIA        D.   WILSON         District Clerk         Galveston          County            Texas

Subpoena       instructions

        Send    to   Sheriff



        Pickup                                                                By                                                                                                Deputy Clerk


                                                                              RETURN OF SER VICE
Received     this Subpoena          on   the                clay   of                                 20           and executed         the same as.sown
                                                                                                                                         and county%
                                                                                                                                                                          above       belivering       a

copy of this subpoena          to   the within        named      witness   es in the city of
Texas

Service     Fee $                                                                                                            Signature of OffTh                4r               alifiepferson
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                                                     CAUSE NO. 08CRO333


 THE STATE OF TEXAS                                                        IN THE 122ND JUDICIAL i
                                                                                                                              f/7    J /


 V.                                                                        DISTRICT COURT-DR


 TRAVIS JAMES MULLIS                                                        GALVESTON COUNTY TEXAS.



                                                ORDER ON
                                    MOTION FOR PRODUCTION OF RECORDS
                                    TO CHILDREN SERVICES OF MARYLAND

            On this       151ti    day of December 2010 came on                    to    be considered          the   Defendants


 Motion for Production                   of Records.       After receiving        same and consulting with counsel


for both        parties    it     is hereby




            ORDERED               that   Children    Services       of   Maryland       produce     to   Gerald       E.
                                                                                                                             Bourque


Attorney         at     Law 24 Waterway              Ave.        Suite   660 The Woodlands TX                   77380        certified




copies      of    all   records in their possession                 regarding     the    adoption        of Travis      J.    Wallace



Mullis          by    his adoptive         parents    Gary Lynn Mullis             DOB 6/26/52                 and Anne Marie


Barry Mullis            DOB 1/12/55.              Travis    J.   Wallace    Mullis was born September 20 1986


and   it   is   believed the adoption             occurred        some date before his fifth birthday in 1991.                             It




is further




           ORDERED                that   all   records be        produced    including but not limited                     to       court



records         medical    records social study records or records pertaining                                                of child
                                                                                                         to   any act/s


abuse      and/or       sexual assault perpetrated on Travis                 J.   Wallace     Mullis          DOB 9/20/86              by


his adoptive            father Gary Lynn Mullis                   DOB 6/26/52           or   by anyone        else    on Travis            J.




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Wallace/Mullis   DOB 9/20/86.

      SIGNED            the
                              S7                     oc 2010.
                 this              day of




                                                GE JOHN ELLISOR
                                               ESIDING JUDGE OF THE
                                            122nd   JUDICIAL DISTRICT   COURT
                                            GALVESTON COUNTY TEXAS




                                                                           .-
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                                                 CAUSE NO. 08CRO333


 THE STATE OF TEXAS                                                      IN THE        122ND   JUDICIAL                1.11031
                                                            Q

 V.                                                                     DISTRICT            COURT-OF

 TRAVIS JAMES MULLIS                                                     GALVESTON COUNTY TEXAS.



                                        ORDER ON
                           MOTION FOR PRODUCTION OF RECORDS
                         TO CHILDREN SERVICES OF NORTH CAROLINA

            On this 15th      day     of    December 2010 came on                 to    be considered       the       Defendants


Motion for Production                 of   Records.    After    receiving        same and                         with      counsel
                                                                                                consulting



for both parties        it   is
                                  hereby


            ORDERED           that    Children     Services      of     North     Carolina           produce     to    Gerald       E.




Bourque        Attorney       at    Law 24 Waterway             Ave.     Suite    660 The Woodlands TX                          77380


certified               of    all    records in their possession                               the                    of
              copies                                                        regarding                 adoption             Travis   J.




Wallace       Mullis by his adoptive               parents Gary Lynn Mullis                   DOB 6/26/52              and Anne


Marie       Barry Mullis      DOB 1/12/55.             Travis    J.   Wallace     Mullis was born September 20


1986 and      it   is believed      the adoption      occurred        some date before his fifth birthday in 1991.


It is further




            ORDERED          that    all   records be produced             including but not limited                       to   court



records medical         records social study records or records pertaining to                                               of child
                                                                              any act/s


abuse   and/or       sexual assault perpetrated on Travis                  J.   Wallace      Mullis      DOB 9/20/86              by


his adoptive        father Gary            Lynn Mullis     DOB 6/26/52                 or   by anyone     else    on Travis         J.




                                                                                                                                         556
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 163 of 260


Wallace/Mullis   DOB 9/20/86.

      SIGNED     this   the   I
                                  S day of   De-CG   w bL     2010.




                                                     Qanl
                                                 J       E JOHN ELLISOR

                                                 PR SIDING JUDGE OF THE
                                                 122Nd   JUDICIAL DISTRICT   COURT
                                                 GALVESTON COUNTY TEXAS




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Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 164 of 260



                                                      CAUSE NO.08CRO333
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THE STATE OF TEXAS                                                            IN THE      122ND      JUDICIAL


V.                                                                            DISTRICT              COURT OF.

TRAVIS JAMES MULLIS                                                           GALVESTON COUNTY TEXAS



                                                ORDER ON
                                    MOTION FOR PRODUCTION OF RECORDS
                             TO CAROLINAS MEDICAL CENTER-NORTHEAST

          On this        151h      day of December 2010 came on                      to    be considered         the     Defendants


Motion for Production                     of   Records.    After   receiving        same and consulting with counsel


for both parties             it   is hereby




         ORDERED                  that   Ms. Geraldine Auton             Director    of Medical          Records       for Carolinas



Medical       Center          Northeast          formerly Cabarrus Memorial produce copies                                any and all
                         -                                                                                          of




records       to    Gerald         E.    Bourque      Attorney     at   Law      24 Waterway              Ave.     Suite    660       The


Woodlands TX                 77380        relative   to the   treatment of Travis              J.   Wallace   or Travis    J.   Mullis



whose date of birth is September 20 1986.                           It   is   further




         ORDERED                  that   these    records should    cover a period of time beginning                      in January




1 1986       through         to    August        1 1987 for Sheila       Lee Wallace Sheila               Lee   Goodson          Sheila



Lee Moore or Sheila Lee Devlin whose date of birth is May 31 1949 and whose date of


death   is
             July   12   1987.           It is further




        ORDERED                   that   the     medical   records for Travis             J.   Wallace    or    Travis     J.   Mullis




                                                                                                                                            558
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 165 of 260


whose date of birth is September 20 1986           shall cover        the   timeframe beginning   with his



date of birth 9/20/86      through   January   1 1997.


         SIGNED   this   the   _Iday of        OeC_e     m6 C    e.         2010.




                                                         QWVll                      Ze        L-ja
                                                         J  GE JOHN ELLISOR
                                                         PRESIDING JUDGE OF THE
                                                         122nd   JUDICIAL DISTRICT            COURT
                                                         GALVESTON COUNTY TEXAS




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                                                        CAUSE NO. 08CRO333

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 THE STATE OF TEXAS                                                         IN THE 122ND JUDICIAL


 V.                                                                         DISTRICT             COURT

 TRAVIS JAMES MULLIS                                                        GALVESTON COUNTY TEXAS



                                               ORDER ON
                                   MOTION FOR PRODUCTION OF RECORDS
                                     TO CAROLINAS MEDICAL CENTER


          On this 15th            day of December 2010 came                    on    to    be considered              the   Defendants


Motion for Production                     of Records.      After    receiving       same and consulting with                      counsel



for both parties            it   is hereby




         ORDERED                 that    Ms.    Keitha Eddins Director of Medical                           Records     for Carolinas



Medical     Center formerly Charlotte Memorial produce copies                                          of   any and all records to


Gerald    E.   Bourque Attorney                  at   Law 24 Waterway           Ave.           Suite   660 The Woodlands TX


77380    relative      to        the    treatment of Travis        J.   Wallace     or    Travis       J.   Mullis     whose      date of



birth is September 20 1986.                      It is further




         ORDERED                 that   these records should            cover a period of time beginning                    in January



1 1986 through          to        August       1 1987 for Sheila          Lee Wallace            Sheila      Lee   Goodson         Sheila



Lee   Moore or Sheila                  Lee Devlin whose date of birth is May 31 1949 and whose                                    date of



death   is July   12   1987.            It is further




         ORDERED                 that    the   medical    records for Travis              J.   Wallace        or Travis      J.   Mullis




                                                                                                                                            560
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 167 of 260


whose date of   birth is September 20        1986   shall cover   the   timeframe beginning   with his



date of birth 9/20/86     through   January   1 1997.

      SIGNED     this   the   1
                                    day of    De-ee-vn be- 2010.




                                                        JU        JOHN ELLISOR
                                                        PRESIDING JUDGE OF THE
                                                        122nd   JUDICIAL DISTRICT      COURT
                                                        GALVESTON COUNTY TEXAS




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                                                                                              C.




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                                                        CAUSE NO.08CRO333                                                          up   V
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 THE STATE OF TEXAS                                                                         IN    THE DISTRICT COUR


 V.                                                                                         GALVESTON           COUNTY TEXAS

 TRAVIS        JAMES MULLIS                                                                 122nd JUDICIAL DISTRICT




                           ORDER DIRECTING                     AVAILABILITY OF COUNSEL



           This Court scheduled           the     trial    of this cause to      begin February            1 2011        after   a previous



 continuance.        This Court       intends      to     proceed   with the        trial    as   scheduled     without       delay.         An


 evidentiary    hearing     is   scheduled   to   begin on January 18 2011                   and continue through the end of that



 week.



          As result of the trial setting in a case             of this magnitude the lawyers herein must be prepared



 to
      go forward    as   scheduled.     To that end this Court               enters    this Order directing            the availability       of



defense    counsel Robert K. Loper              and Gerald E. Bourque               beginning January          4 2011 and continuing

through March        31 2011.       The Court is aware of the necessity                 of completing         all   matters   necessary for


the effective   assistance       of counsel in the months prior to the                 trial     of a capital murder case where             the




death    penalty    is   sought by the government.             The Court       is   also     aware    of the demands placed upon



experienced     trial    counsel with a pending            caseload    of criminal actions.           Defense       counsel are directed



to make    every reasonable effort not to begin the trial of any other case                          or contested      matter    during this



time of pretrial preparation         and the beginning of trial herein and are directed                       to seek     any reasonable



continuance     of other contested matters to comply with this directive.                             Defense       counsel shall not be



prohibited from making court            appearances          or attending     to other matters        in court      such as docket      calls



                                                  other matters       that   could be immediately
appearances        pleas sentencings         or                                                               postponed       upon notice




                                                                                                                                                                             562
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 169 of 260



  from this Court if pretrial matters arise herein.



             Counsel      herein     are directed   to    bring       this   Order to the attention    of any Court before which



  counsel     is scheduled        to appear   for any    trial   or   contested matter during the pendency of this trial. Any



  Court to which         this Order    is   presented is respectfully              requested to take   notice   hereof and to accord



  deference to the        trial   of this cause for the orderly              administration   of justice.   This Order is effective



  from the date        of the entry    hereof.




            SIGNED        this                   day of           l-e         C.              2010.




                                                                                       GE PRESIDING



 APPROVED




 Robert   K. Loper

 Attorney   for   Defendant




                                                                                                                  LAS
                                                                                                                    TONIA WILSON          D.

                                                                                                                        CLERK       DISTRICT       COURT
 Gerald   E. Bourque                                                                                                                   LED

 Attorney   for   Defendant

                                                                                                                           DEC        2    1   2010




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               Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 170 of 260
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                                                SUBPOENA ISSUED IN THE NAME OF THE STATE OF TEXAS
 This     subpoena            not prepared by the office of Latonia                              D.   Wilson          District Cleric Galveston            County        Texas.

                                                                                            NO. 08CR0333


THE STATE OF TEXAS                                                                                                            IN   THE DISTRICT             COURT OF

VS.                                                                                                                           GALVESTON             COUNTY TEXAS

TRAVIS JAMES MULLIS                                                                                                            122ND    JUDICIAL DISTRICT


        TO ANY PEACE OFFICER OR BY ANY OTHER PERSON WHO IS OTHERWISE QUALIFIED OF THE STATE OF TEXAS GREETING
                                     YOU ARE HEREBY COMMANDED TO SUMMON

                                                                                                                                                                 DATE/TIME SERVED
  WITNESS            NAMES/ADDRESS/VOCATION

  1    Custodian           of Record           ATTN            Royston Patterson

   Standard           Parking        1200       McKinney           Street      Suite    541 Houston           Texas      77010


  Upon     receipt         of subpoena         please     call LESTER          BLIZZARD          ASSISTANT            DISTRICT     ATTORNEY           at

  409 770-5183 or 409 766-235Main.

                                                                and appear at 900 oclock a.m. on the 181
                                                                                     clay of January 2011   Before the Honorable 122ND
Ifto be found              in your   County          to   be

Judicial      District        Court ofGalveston                  County   and for said County at the Court House thereof in Galveston
                                                                            Texas      to   be held within

then and there to testify as a witness on behalf of the State in a certain pending criminal felony action and there to remain from

day to day           and from term to term until discharged                         by said Court.



The witness is farther commanded to produce                                      at the said time         and place      above set forth the following

 thy    and    all   employee         records in regard to Travis                James Mullis          DOB 09-20-1986 SS XXX-XX-XXXX                         to   include but not         limited   to


application           time cards          schedules            background      investigations         correspondence        and    reasons    for    termination



In lieu ofappearance                      the requested           documents may deliver the requested information  along with a Custodian   of Record
               to    the Galveston             County Grim ina District Attorneys Office          600 59h Street Suite 1001 Galveston    Texas  77551.
Affidavit



On this clay came forward                                                                                               LESTER BLIZZARD                attorney for the State/Defendant

and files      this   application for subpoen                      o   compel the attendance              of the above    named     witness on      this   291 day of December              2010 that
said witness          is   necessary.
              HEREIN FAIL NOT and make due return hereof showing how you have                                                      executed   the same.

Witness                                            on                          day of                                                     attested     to
              my official       signature                 this




                                                                                        LA TONIA       D.    WILSON        District Clerk     Galveston          County    Texas

Subpoena instructions                                                                                                                                                                1
     Send to Sheriff
                                                                                                                                                                                     ca


        Pickup                                                                          By                                                                  rn                            Jerk
                                                                                                                                                                       wtDeput


                                                                                        RETURN OF SERVICE
Received       this                       on   the                  day   of                                20           and executed    the same as             own             bylivering         a
                       Subpoena                                                                                                                                            fie



copy    of this subpoena             to   the within           named witness      es in the city of                                      and county

Texas

Service    Fee $                                                                                                                   Signature of Office/or              Qualified      Nrson




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                                                  CAUSE NO. 08-CR-0333                              044
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THE STATE OF TEXAS                                                             IN THE DI                          OI
                                                                                                                                        Ts
vs.                                                                        GALVESTON COUNTY

TRAVIS MULLIS                                                                  l22 JUDICIAL DISTRICT


      MOTION PRECLUDE THE DEATH PENALTY AS A SENTENCING OPTION
                                       Reduced      Capacity   Due to Mental              Illness



TO THE HONORABLE JUDGE OF SAID COURT

         COMES NOW Travis Mullis by and through counsel and pursuant to the Fifth Sixth

Eighth   and Fourteenth         Amendments to the United              States    Constitution and Article              1 Sections


310 13           19 of the Texas Constitution            and Texas Code         of Criminal Procedure articles                     1.05



1.051 15.17 16.01 20.17 26.04                    26.052 and moves to preclude              the death        penalty    as a



                          in this   case due to his longstanding          mental     illness.      In   support    he would show
sentencing    option



the court the following



         1.         Travis    Mullis has been indicted for the offense                of capital murder.


         2.         The     State is seeking the death       penalty.
                                                                          The Eighth Amendment requires a greater


degree   of accuracy        and fact    finding than would be true         in   a noncapital        case.     Gilmore v. Taylor


508 U.S. 333       1993 Woodson             v.   North Carolina 428 U.S. 280 305 1976.                          This Court          and the



Court of Criminal         Appeals are bound by the law to make                  certain    that   a sentence      of death         is   not



wantonly or freakishly imposed and that the purposes                      of Art. 37.071          are   accomplished          in   a



constitutional     manner.      Ellason    v.    State   815 S.W. 2d 6565 Tex.Crim.App. 1991.


         3.         Those prohibitions embodied              within     the Eighth    Amendment to the United                      States




Constitution      include    the prohibition against the infliction             of a cruel    and unusual punishment.




                                                                                                                                                      565
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Article     1 Section         13    of the Texas Constitution         provides       even greater protection              in that    this




section     bars     the   infliction    of a cruel or unusual          punishment             emphasis added.


           4.          The     State    of Texas has charged         that    it   was the conscious          objective or desire            of



Travis     Mullis cause            the death    of Alijah Mullis and/or           that   he was   aware      that   his   conduct      was



reasonably         certain    to    cause     the death    of Alijah Mullis.


           5.          The capacity            of Travis   Mullis to form a conscious             objective or desire           is   reduced



                           in his                              His cognitive ability           has been reduced           by his
by impairments                       cognitive ability.



longstanding          mental       illness which      is   Bipolar   Disorder       and   is   exacerbated      by Attention          Deficit




Hyperactivity          Disorder        and the trauma he suffered as a six-year-old when                       his father       sexually



abused him and was subsequently                      imprisoned.



      A.    TRAVIS MULLIS HAS A SIGNIFICANT HISTORY OF MENTAL ILLNESS

           6.          Travis       Mullis history of mental          illness began                   According           to   medical
                                                                                           young.



records      he was seven years old when                   ADHD was         first   suspected.     He was      placed      on daily doses


of Ritalin      when       he was eight years old and            when       he was nine the Harford             County Maryland


Public     Schools         formally diagnosed         him with ADHD and Separation                   Anxiety.        He continued              to




take Ritalin       for his attentional          problems      which have been regularly observed                    and repeatedly



diagnosed       as   ADD and much more frequently ADHD.

           In   February       2000      at   the age of 13 Mr.       Mullis was admitted            to   Sheppard        Pratt     hospital        as




a result of contemplating               suicide by decapitation            or drowning.         Upon admission he was


diagnosed       with       Mood Disorder NOS and discharged                       with a prescription for Paxil and Ritalin.



Two weeks later he was                  hospitalized a second time and diagnosed                    with Major        Depression


Recurrent Severe. He was prescribed                        the powerful      antipsychotic drug           Seroquel and discharged.




                                                                       2




                                                                                                                                                         566
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 Almost      10 days       later     he was admitted           again for attempting                suicide.    The medical        notes report



 that   he was taking         Paxil        Ritalin     and Seroquel.            Over the next several months his medications


 would include            Depakote - which is used                  to    control      mood disorders -- Seroquel and Welibutrin.


            At age 14 according                  to   Jefferson School              Records      Mr. Mullis was diagnosed                   with



 Bipolar Disorder Post Traumatic Stress                          Disorder            and ADHD.          His   Global    Assessment of


 Functioning            was placed        at   40 which in a juvenile is indicative                     of major impairment                in




functioning.



            Mr.     Mullis continued             to   take Depakote             Wellbutrin        and Risperdal        which     is   used to           treat




the     symptoms         of mania while 16 and                17.        He was       diagnosed      again as a 16-year-old with Bipolar



I   Disorder PTSD and ADHD.


            Shortly after Mr. Mullis turned                    age       17 the Harford           County Public        Schools        administered



the     WAIS      III   IQ test.     Mr. Mulls his full-scale                   IQ score was reported           to   be in the low-average



range      and his scores indicated difficulties                    with reasoning.



            7.           By any standard              Bipolar   I   Disorder          is   a lifelong   brain disorder that           is   the most



serious form of the disease                    known to the public as manic                      depression.         The National               Institute    of


Mental Health            states    that    Bipolar     I   Disorder       is   marked by manic or mixed episodes                           that    last at




least    seven    days or by manic symptoms                     that      are       so severe that      the person needs       immediate


hospital     care.      Usually the person             also   has depressive               episodes     typically    lasting   at least           two


weeks.      The symptoms             of mania or depression must be a major change from the persons normal


behavior.          National        Institute     of Mental Health               Bipolar Disorder          web page      at




littp//\vww.nimh.nih.rov/health/publications/bipolar-disorder/complete-index.shtml                                                         last visited



Jan.    4 2010.



                                                                                3




                                                                                                                                                                  567
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           Lest there       be any question         about   how Bipolar               Disorder          manifests          itself    the    NIMH states

Symptomsof bipolar disorder are severe.                         They           are    different         from the normal ups and downs


that   everyone      goes through          from time to time.                 Id.




           Moreover          emerging research strongly suggests                           that    Bipolar Disorder               affects    brain



growth and development.                   A recent study using MRI found that the pattern                                    of brain development


in children       with bipolar disorder was similar to that                          in children         with multi-dimensional



impairment a disorder that                 causes     symptoms        that          overlap       somewhat          with bipolar disorder and



schizophrenia.         This suggests that         the common          pattern          of brain development may be linked to



general risk for unstable moods.                 N.   Gogtay et al. Dynamic mapping of cortical                                         development


before and after the onset of pediatric                  bipolar illness               489 J Child Psychol Psychiatry 852

Sept.     2007.


           8.          Further in addition to Bipolar             I   Disorder Mr. Mullis also                             suffers    from lifelong


ADHD and PTSD. These illnesses in combination                                        cannot       be viewed          as trifling.          They have


had    far far-reaching          impact    on Mr. Mullis ability                to   exist    in the      world       as his      medical     and life



history   indicates.        Indeed Mr. Mullis Bipolar                 I   Disorder ADHD and PTSD have clearly


impaired        cognitive abilities in the following            ways


                       a.   They have impaired           his ability          to    receive information



                       b.   They have impaired           his ability          to    process that          information



                     c.     They have impaired           his ability          to rationally            react   to   that    information.



          Accordingly            the   death   penalty   should   be precluded                    as   a sentencing          option    in this case




due to Travis       Mulliss mental illness which reduces                             his   capacity        and his personal            culpability.



To allow the State          to   seek   the death     penalty   against Travis                Mullis violates               the   Eighth




                                                                          4




                                                                                                                                                          568
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Amendment and Article                            1 Section         13    of the Texas Constitution                 by subjecting him to            the   ultimate




punishment despite                      his    reduced         capacity       due to mental illness from which he suffers through                                   no



fault   of his own.                Because of his impairment Travis                             Mulliss capacity             and personal        responsibility




are   as   diminished              as   those offenders                with mental           retardation       and he   is   no less    entitled    than those



offenders         to    be exempted                  from the ultimate punishment.


                                             B.  THE RATIONALE OF ATKINS
                                        PROTECTS THOSE WITH REDUCED CAPACITY
                                               FROM THE DEATH PENALTY

            9.         There        are    definite          correlations       between impairments                suffered by the mentally              ill    and



those people            who        are impaired               by mental        retardation.          Persons    who     are mentally retarded            and



commit crimes have a reduced                                  capacity        which diminishes their personal culpability and



execution         of the mentally retarded                         violates     the Eighth           Amendments          prohibition on the infliction



of cruel     and unusual punishment.                              Atkins       v.   Virginia         536 U.S. 304 2002.           The offender           with



mental      retardation             suffers          from sub-average               intellectual        functioning     and has    significant




limitations           in adaptive              skills    they frequently             know      the     difference between        right    and wrong are


                                                                                                                                                         and
competent to stand trial but by definition                                          they have diminished             capacity    to    understand



                                          to   communicate               to   abstract       from mistakes         and learn    from experience                to
process information


            in logical             reasoning            to    control impulses           and to understand            others reactions.            Their
engage


deficiencies do not warrant                             an exemption from criminal sanctions but diminish                                their   personal



culpability.            Id.   at    317-318.            In other       words mentally            ill   offenders    like those with mental


retardation           or who were juveniles                       at   the time of the offense              have diminished            responsibility          for




their actions.              All merit punishment                       but not the extreme             penalty.       Moreover when severe



                                                                                                                                       Severe Mental
 Winick          B.    J.   2008 The Supreme Courts Emerging                                  Death Penalty      Jurisprudence

Illness as the         Next        Frontier          University        of Miami School          of Law available        at

                                               t29   178 1. page 37.
1ittp//ssrq.com/abstract
                                                                                         5




                                                                                                                                                                         569
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mental      illness imposes            impairments           comparable to mental                retardation      and juvenile          status         on


                                   and the ability            to   foresee consequences              and control behavior                   it   would
judgment          rationality




            similarly        less justifiable      to   impose the death               penalty    as retribution         for past      crimes          or as a
appear



deterrent     to   future     ones.     To the extent           that   mental illness produces               effects     that      reduce        volitional




control and blameworthiness                   to   the   same degree              as   mental    retardation       and juvenile status the



imposition of the death                penalty     would seem             insufficiently        related     to   the purposes         of capital


                                                                                                                              2
                                                         consistent with               the Eighth    Amendment.
punishment to allow              its   application



            The    Supreme Court has found that                        the   death     penalty     serves the social              purposes        of


retribution       and   deterrence.        Gregg        v.    Georgia 428 U.S. 153 183 1976.                             Retribution



necessarily         depends       on the culpability               of the offender.         Atkins 536 U.S.              at   319. Capital



punishment must be limited to a narrow category of offenders                                         whose extreme culpability


makes them the most deserving                       of execution.              Id. quoted in Roper v.               Simmons            125



S.Ct.    1183 1194 2005.

                                                                             render them less than fully culpable
            Offenders whose reasoning                        capacities
                                                                                                                                        for




their    crimes are not eligible for the death penalty3 because                                  they do not act with the level


of moral      culpability       that    characterizes          the most serious adult conduct.                     Atkins 536 U.S.


at   306.   As a result the Court found that                       the diminished          mental capacity          of the mentally



              including their disabilities in areas of reasoning
retarded                                                                                         judgment         and control of


                         not merit the death                                                                       Id.
impulses does                                            penalty        as appropriate          retribution.




2
    bid p. 30.


                                                              1183 1196 2005 finding
3
    See e.g. Roper      v.   Simmons         125 S.Ct.                                               that   retribution            is not    proportional

if the   laws most severe          penalty    is   imposed         on one whose culpability            or   blameworthiness            is diminished          to

a substantial      degree      by reason     of youth and immaturity see also Thompson                              v.   Oklahoma 487 U.S.                  815

1988.

                                                                              6




                                                                                                                                                                   570
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                                  the social                 of deterrence            is not   served by executing              the
             Additionally                         purpose



mentally retarded.            Since     the    mentally retarded suffer            from impairments            in their     cognitive



functioning          they are less likely to be able to process the information                            that   the   death



penalty      is    a possible punishment.           As a result the           person with mental           retardation          cannot



examine their behavior                 evaluate the possible punishments                       and control their conduct


based   upon        that    information in the same manner                    as   other adults     in society.        Atkins 536


U.S. at 320.         This inability       to   conform conduct       undermines the identified                    social    purposes



of deterrence         and makes the execution               of persons with mental               retardation      nothing        more


than   the purposeless and needless imposition of pain and suffering. Enmund                                               v.   Florida



458 U.S. 782 798 1982 quoting Coker v. Georgia 433 U.S. 584 592                                                   1977.

        B.    ATKINS RATIONALE SHOULD PREVENT THE MENTALLY ILL
                      FROM ELIGIBILITY FOR EXECUTION

             10.           The mental     illness of Travis     Mullis has reduced                his   mental     capacity          in a




way that      is   as profound         if not more so than one who                    is impaired       by retardation and


therefore the rationale            in Atkins       is   equally applicable to those individuals                    suffering          from



severe mental          illness.




             Many     scholars     lawyers and mental health experts have already noted                                  this




connection          between mental         retardation      and mental         illness. For      example Doctors Victor


Scarano      and Bryan Liang believe Atkins                    opens the door for the same arguments                            to    be



brought      forward        in death    penalty    cases    involving        the mentally ill. Victor             R.    Scarano



Bryan A. Liang              Mental Retardation           and Criminal Justice Atkins                    the Mentally       Retarded


and Psychiatric Methods                 for the   Criminal    Defense Attorney 4 Hous. J. HEALTH                            L.




POLy 285 310 2004.                 After all the mentally          ill       suffer    from the same diminished




                                                                         7




                                                                                                                                             571
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                                                             control impulses as those cited                 by the Court          in
capacities       including the inability               to




Atkins. John          1-I.   Blume           Sherry    L.   Johnson        Killing the Non-Willing                 Atkins     The


Volitionally Incapacitated                    and   the     Death Penalty             55 S.C. L. REV.      93 126-27        2003 and

Scarano          Liang         supra.




            Likewise           Christopher        Slobogin       argues
                                                                               that    there may not be any plausible


reasons for differentiating                   between the execution                of people with mental           illness and




execution       of people with mental retardation.                         Christopher         Slobogin      What     Atkins      Could


Mean For People                With Mental Illness 33 N.M.L.                          Review   293 293 2003.              Slobogin



takes this argument a step further noting                          that   the      the delusions         command


hallucinations           and disoriented thought                 processes             of those who are mentally            ill   represent



greater dysfunction              than that      experienced        by most mildly retarded individuals the only


retarded people              likely    to   commit crime. Christopher                     Slobogin      Mental      Illness   and the


Death Penalty 1 Cal.                  Crim. L. Rev.         3   2000 available at

littp//www.boalt.org/CCLR/vl/vlslobotintr.htm.                                        As a result of these similarities


imposing the death penalty on the mentally                             ill does        not further    the social    goals of



retribution      and deterrence as is also                  violates   the Eighth          Amendment to the           United        States




Constitution.




            All offenders             are   culpable      but there are varying             degrees     of culpability.       Our    legal




system and our society deal with these differences                                     in culpability    by meeting out


different     punishments for different                   individuals          ensuring     that   only the most deserving of


execution       are   put to     death         Atkins 536 U.S.            at   319.     As a result the societal          value of



retribution      necessarily            depends on the culpability                    of the offender      Id.




                                                                               8




                                                                                                                                              572
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                                                                                                                         offenders
              In    Atkins the Supreme Court concluded                           that    mentally retarded                                  are



 categorically               lacking   in   moral       blameworthiness          because        of their cognitive                 limitations        and



 inability         to   control impulses. These characterizations of diminished                                  culpability              are also



 applicable to those               who suffer from mental                 illness     because      the mentally              ill   exhibit



 disabilities           in reason      and impulse          control.    Blume           Johnson       supra        at    126-27.           Indeed


 Ijor those with mental                       illness    the   activities    and vagaries of life are often difficult                            and


                                                                                        in the     commission of illegal acts.
 may lead to unacceptable                      social    behaviors       resulting




 Scarano                Liang                 at   311. Therefore        a mentally       ill
                                                                                                 person    is   not as mentally
                                  supra


culpable           as   the average-minded murderer                     because      of his dysfunction.            And as per the

analysis in Atkins                 if the     mental     culpability      of an average murderer                        is   insufficient        to




 impose the death penalty                      then such       a punishment imposed on a less mentally culpable


              is   not merited particularly                 when that       person      suffers    from the same                   disabilities       as
person


the categorically-excluded                         mentally retarded offenders. Atkins                    536 U.S.            at    319.



              The       issue    of culpability         of the mentally ill has also              been addressed                   in   the recent



case of Panetti               v.Quarterman4 which involved                       a   different     but related          legal       test5 the


standard for competency                       to   be executed.        In this   case the Court           stated    that           the execution



of a severely mentally                  ill
                                              prisoner serves no retributive                    purpose6 and thus violates                       the



Eighth        Amendment.               As Winick summarizes in other words the objective of


community vindication                         by execution       of a condemned           prisoner whose mental                          state   is   so




a
    127 S. Ct. 2842            2007.

                                                                                                                                        Severe Mental
s
    Winick         B.   J.   2008 The Supreme Courts Emerging                        Death      Penalty   Jurisprudence

Illness as the Next             Frontier       University      of Miami School          of Law available           at


http//ssrn.com/abstract1291781                           page 48.

b
    Panetti        127 S. Ct. at 2861 citing Ford v. Wainwright                       477 U.S.      399 408.

                                                                                 9




                                                                                                                                                            573
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distorted            by a mental         illness    that     he is prevented             from recognizing           the severity       of his



    offense         is   called    in   question    since his awareness                    of the crime        and punishment has                little




or no relation                 to the   understanding         of those concepts              shared by the community                 as    a



    whole 78 Furthermore the Court                           observed        that    gross delusions             stemming from severe


mental disorder may put an awareness                                 of a link between a crime and its punishment in a


                                                                                                                                                         9
context         so far removed              from reality that          the   punishment can serve no proper purpose.


Thus Panettis                    language      suggests that          when such           illness    produces      gross delusions             or



other cognitive                  effects significantly             distorting       the offenders           understanding        and



appreciation                  of his conduct     and of its wrongfulness                    capital     punishment will serve no


                                                                                          and unusual.10
                          purpose and therefore would be
retributivist                                            cruel




               This conclusion              is shown        into    even harsher           relief    when one analyses the offender


in clinical              terms. The      mentally     ill
                                                            may experience                 such     distortions     of reality     that    their




ability        to    appreciate         the wrongfulness            of their conduct           or to understand          its
                                                                                                                               consequences



may be significantly                    reduced such          as    when     their       psychosis     causes     them    to   mistakenly



believe         that      their   victims are attacking              them or involves               hallucinations       commanding them


             them.         Similarly their symptomatology                                            such                                 that
to    kill                                                                      may create                    gross irrationality                   it




7Ibid.



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http//ssrn.com/abstract129173                       1 page 48.

9
     Panetti    at 2862.


10
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http//ssrn.corn/abstract129173                      1 page 49.


                                                                                    to




                                                                                                                                                             574
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significantly          impairs their judgment                 at   the time of the               crime. This has been recognized


by the Texas courts                 for    example in Yates              v.   State         whereby        Andrea Yates            was round        not



guilty    by reason of insanity                  for   the bathtub drownings of her five young                                  children.    Ms


Yates delusional state was so severe                           that      she believed              that    Satan      was     inside   her and thus



killed    her children to try to save                  them from hell. In this case                        Ms Yates           had reduced



culpability          and deterability            as a result of her mental                      illness even       though she understood

                                            12
her conduct           to    be illegal.



              Likewise        the execution            of the mentally              ill    does not serve the societal                 goal of



deterrence.          The mentally           ill are    unlikely     to    control their behavior                      based     upon the


knowledge            that   the    death    penalty     is   a possible punishment for their behavior                                  because      they



have great           difficulty      in    communicating with and understanding                                    others       engaging     in




logical       cost-benefit         analysis and evaluating                    the   consequences               of and        controlling    their




behavior.         Slobogin          What Atkins Could Mean For People                                     With Mental          Illness     supra    at




304.     Therefore much               like   adolescents           who        are    categorically exempt                    from the death



penalty        persons with mental                illness are      not likely to                make the kind of cost-benefit


analysis that         attaches any weight               to   the possibility of execution.                            Thompson v.


Okalahoma 487 U.S.815 837 1988.                                    Furthermorejust as it is for mentally retarded


offenders         the cold calculus                of cost and benefit                is   at the opposite end of the spectrum


from behavior                for   offenders       with mental           illness. Atkins                536 U.S.        at   319-20 citing


Gregg 428 U.S. at 186 quoted in Blume                                     Johnson               supra     at   129.    Thus      both logic       and




     bid p.    52.


12
     Yates v. State 171            S.W.3d    215 Tex. App.            Houston             1st   Dist.   2005.


                                                                                    it




                                                                                                                                                           575
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Supreme Court precedent                       dictate   the   conclusion       that     the death           penalty     cannot     serve a



deterrent          purpose    when          applied to offenders        with       mental    illness.




              In   Lockett     v.    Ohio.     438 U.S. 586 605           1978 the Supreme Court acknowledged

the    impossibility of creating                 a perfect    procedure           for   imposing        the    death       penalty.




Nevertheless           the    Court determined            that      mitigating      circumstances                  which may call for a


less   severe punishment                    must be considered          by the jury in order to                    satisfy   the



requirements           of the Eighth and Fourteenth                   Amendments.                In    Atkins the court considered


the    fact   that   mentally retarded defendants                      may be less         able to give meaningful                       assistance



to their      counsel    and are typically              poor witnesses            and    their    demeanor may create                    an


unwarranted           impression            of lack of remorse         for their        crimes Atkins 536 U.S. at 320-21.


              Mentally       ill   offenders      face similarobstacles.                Severe        mental       illness like



significant         cognitive        impairments sharply constricts                     a defendants               ability   to   give


meaningful           assistance to counsel. Blume                       Johnson           sup r        at   130.    Mentally       ill




offenders          often do not trust counsel             and therefore refuse               to   help them prepare the case.



Id. Likewise          the mentally            ill offender     is   not helpful regarding               facts       of the crime. And


perhaps       most importantly                mentally    ill defendants           are often unable to conform their



conduct       to   the requirements of courtroom decorum                                and procedure.               Id.   Thus       they are



typically          poor witnesses            and their demeanor           may create an unwarranted                          impression        of


lack   of remorse for their crimes. Atkins 536 U.S. 304 320-21                                              2002 quoted            in     Blume


   Johnson           supra    at     130.    Furthermore there          is   much        stigma       against the mentally                ill as




values        are largely          shaped by often sensational               media portrayals of mental                       illness and      by




                                                                             12




                                                                                                                                                      576
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                                                                                                                 illness 13.    This precludes
stereotypes          and        irrational       prejudice against those with mental



seeing mental                  illnesses    as   medical           illnesses    which           are illnesses       producing         effects      that




                               of illness outside            the    individuals           control       rather      than being due to moral
are    symptoms

                     14

depravity.



              This        is    reflected    in    Atkins which also                  illustrates that           mental retardation          as    a



                  fact                                 be used       as    an aggravating           factor       of future     dangerousness
mitigating                     may actually

which may make                    the    defendant           more     likely    to    receive a death            sentence.      Mentally          ill




defendants           face the exact same                    risks.     Mental        illness       like    youth and mental           retardation            is




universally considered                      a mitigating            fact    for sentencing.             Slobogin        What    Atkins     Could



Mean For People                    With Mental Illness supra                         at   312.     Impaired intellectual




2569-72
functioning               is    inherently mitigating                 and therefore meets the                     definition    of



constitutionally relevant                         mitigating          evidence.           Tennard         v.   Dretke    124 S.Ct.      2562


      2004 cited                 in   Perry v. State           158 S.W.3d            438 Tex.           Crim. App.        2004.


              However             similarly       to    mental        retardation              mental   illness     may actually       be used          as




an aggravating                 fact     in order to         show future        dangerousness.                  Slobogin      What     Atkins       Could


Mean         For People           With Mental Illness supra                          at   313. For example research shows that



                                 that    offenders          with serious disorders are not more likely                           to   re-offend
despite the fact


than the general offender                        population           the public tends to equate                    mental     disorder with



dangerousness. Christopher                             Slobogin            Is Atkins       the Antithesis or Apotheosis                 of

Anti-Discrimination             Principles Sorting out the Groupwide                                 Effects of Exempting People                        with




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                                                                                                                                         Severe Mental
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http//ssrn.com/abstract129                       178   11   page 60.

14
     Ibid.




                                                                                          13




                                                                                                                                                                  577
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Mental           Retardation         from the Death Penalty                      55 ALA.          L.   REV.    1101         1107.     In   this   way

mental illness can                  be a two-edged               sword engendering                      greater      fear    of future        violence.



Atkins 536 U.S. at 321 quoted in Blume                                           Johnson          supra       at    131.    Indeed juries also


                                                                                           the   offenders          mental         illness and
may misunderstand                                   evidence
                                     clinical                                                                                                       its
                                                                   concerning



                                                    the time of the offense                                                                mental    illness
impact           on    his   functioning       at                                                may incorrectly             equate



with dangerousness and                                                       think that the death             penalty         is   the    only    way to
                                             may incorrectly


                 the community           from the defendants                     future      violence          5.   This unfairly            biases the
protect




jury during             the penalty         phase    of a capital            trial   against a mentally               ill   defendant making


him more susceptible                   to    receive       the   death       penalty.       This would directly                    contradict Eighth



Amendment values                     against awarding disproportionate punishments to crimes                                                 committed.



                                                                                                                                      the mentally
Consequently since the Supreme Court has deemed                                                  this risk too        great    for




retarded          then       it   must be as great for the mentally ill who share numerous                                               characteristics




with the mentally retarded.



                 11.         A punishment            is    excessive         and therefore             prohibited          by the Eighth          Amendment if


it   is not      graduated         and proportioned               to   the offense.          Weems v. United                  States        217 U.S. 349


367 1910.                A claim that punishment                       is   excessive       is   judged by currently prevailing standards of


decency.              Trop v. Dulles 356 U.S.                    86 100-101           1958.             The proportionality review                        should   be



informed           by objective         factors       to   the maximum possible extent.                             Harmelin          v.   Michigan         501    U.S.



957 1000 1991.                      Objective        factors      that      were considered              by the Supreme Court                     in Atkins




include          the    broader       social    and professional consensus                             Atkins 536 U.S.               at    316 n.21.       as




indicated by briefs                 and positions of the American Psychological                                      Association            and positions of



religious         communities of all faiths.                     Also to be considered                   are the      views         of respected


15
     Ibid   p.   64.



                                                                                      14




                                                                                                                                                                          578
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professional organizations and other nations that                                      share our Anglo-American                    heritage and by



 leading       members of the Western European Community.                                           Thompson v. Oklahoma 487 U.S. at


830-83     1    cited     in Atkins         536 U.S. at 316            n.21.




           The         positions       of those groups           to   whom the United                States    Supreme Court has mandated


this Court        to    consider       are


           a.        The    American Psychological                     Association             It   has asked       that   each jurisdiction          that

           imposes the death                   penalty    to   stop until current deficiencies such                        as   death    penalty

           prosecutions            involving        persons with serious mental                       illnesses     are    ameliorated.         See

           http//www.apa.ora/pi/cleathpenalt                             .
                                                                         itinl.



           b.     The American Bar Association                              The   ABA has called for a temporary                        moratorium of
           the death         penalty        unless and          until states       could       ensure the fair and impartial
           administration              of the death penalty.                 The ABA also opposes                    the execution         of the

           mentally retarded                and of juveniles            in all circumstances.                 See

           http//wvvw.abanet.org/media/deathpenaltyga.html.



           c.        The American Psychiatric Association                                Opposes        the   imposition of the death              penalty
           if at the time of the offense                        the defendant                had a severe mental disorder or disability
           that      specifically        impaired        their   capacity         a     to   appreciate       the nature        consequences            or

           wrongfulness             of their conduct             b     to   exercise         rational      judgment        in relation    to   their

           conduct or              c   to   conform their conduct                 to    the requirements            of the law. See

           http//www.psych.org/edu/other                              res/lib     archives/archives/200406.pdf.



           d.     The      Western European Community and other members of the International
           Community.              For      example The European Union opposed                                 the death        penalty    in all

           circumstances.              See http//www.eurunion.or./iegislat/DeathPenalty/deathpenhome.htm.                                                    It


           has been stated              that    international          human rights norms condemn the death                               penalty      for

           defendants          with severe mental                illness16.                                a Resolution
                                                                                   According          to                        adopted        by the
           United Nations               Commission on Human Rights all countries that                                      still   maintain     capital

           punishment are urged                   not
                                       to impose the death   penalty on a person suffering from any
           form of mental disorder....17 This is especially pertinent as the courts in both Atkins

           and Roper considered                   as further          evidence         of contemporary standards the general

           consensus          in   the law of other countries                     and in international               human rights law that



16
     Winick     B.   J.   2008 The Supreme               Courts Emerging                Death Penalty         Jurisprudence         Severe Mental

Illness as the Next          Frontier       University         of Miami School           of Law available           at

http//ssrn.com/abstract1291781                      page 35.


     United Nations Commissionon Human Rights Res 2001/68                                            4e April 25 2001.
                                                                                  15




                                                                                                                                                                  579
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          rejected          imposition of capital        punishment for those with mental                                 retardation     and who were
                                                                     18
          juveniles          at the   time of the offense                 emphasis added.


                                                                                     every mental
          In    addition to these             organizations         almost                                   health association         in the   United



States   has published              a policy statement       addressing               the issue         of the execution        of mentally        ill




offenders        and all of those organization advocate                               either     an outright        ban on executing         all




mentally       ill   offenders        or a moratorium until a more comprehensive evaluation                                        system can be



implemented.               Blume        Johnson        supra    at       121.




          12.              The determination          of what       is   excessive is made by viewing                           the standards of



today not those at the time of the Bloody Assizes or when the Bill of Rights was adopted.                                                                The


basic concept             underlying the 8th Amendment is nothing                                less   than the dignity of man            - The


Amendment must draw                    its   meaning    from the evolving                    standards         of decency       that    mark the


                                                   Atkins      536 U.S.                   311.
progress of a maturing                society.                                       at




          13               Exempting the mentally             ill    from execution                 also     is   required by principles         of equal



protection           Equal     protection requires that             like        cases      be considered           alike    and to the extent         that




severe mental             illness   imposes parallel       deficits        in culpability               and deterability        as mental retardation



and juvenile status offenders                   suffering these effects                   also    should      be exempt from capital


                      19
punishment.


          14.              The execution        of one who      is       mentally          ill   violates     the dignity of man generally and



this Court specifically.                The    execution     of one whose personal                          culpability     is diminished        by




     Winick     B.    J.   2008 The          Supreme Courts Emerging Death Penalty Jurisprudence                                            Severe

Mental Illness            as the    Next Frontier      University of Miami School                              of Law available at

littp/ssrn.com/abstract1291781                        page 34.

19
                                                                                                                                  Severe Mental
     Winick    B.    J.   2008 The Supreme Courts               Emerging              Death Penalty           Jurisprudence
Illness as the Next          Frontier    University    of Miami School                    of Law available           at

11t.tpiissrn.comiabstract1291781                  page 38.


                                                                                16




                                                                                                                                                               580
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mental    illness   is just   as   excessive   and offensive as executing            one whose personal   culpability   is




reduced    by mental      retardation.




          WHEREFORE PREMISES CONSIDERED the Defendant prays that this Court

            the   death               as a sentencing   option       in this case.
preclude                  penalty



Dated     January    6 2011


                                                          ROBERT K. LOPER
                                                          SBN 12562300
                                                          111 West         15h    Street

                                                          Houston          Tx 77008
                                                          713-880-9000 office
                                                          713-869-9912 fax




                                                                     44 64
                                                          GERALD             E.   BOURQUE
                                                          SBN.02716500
                                                          24 Waterway        Ave. Suite 660
                                                          The        Woodlands Texas 77380
                                                          713 862-7766 office
                                                          832 813-0321 fax

                                                          Counsel to Defendant Travis Mullis




                                                                17




                                                                                                                             581
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                                               CERTIFICATE OF SERVICE


         hereby   certify   that   a true   and correct copy of the above and foregoing       instru   ent has



                               for the State                       of a copy of same   this   the      day of
been furnished to counsel                       by hand-delivery


January 2011.




                                                      Robert   K. Loper




                                                         18




                                                                                                                 582
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                                                     CAUSE NO. 08-CR-0333

THE STATE OF TEXAS                                                                  IN    THE DISTRICT COURT OF

vs                                                                                 GALVESTON COUNTY TEXAS

TRAVIS MULLIS                                                                      122d JUDICIAL DISTRICT



                                                                    ORDER

           On this the                                                         2011 came on to be heard              the Defendant
                                          day of
Travis   Mullis Motion               to   Preclude the Death Penalty as a Sentencing                     Option due to Mr. Mullis

longstanding         Bipolar     I   Disorder ADHD and PTSD.                    The Court         has reviewed this motion and

considered     the    arguments of the parties and                  is   of the opinion    that    it   should   in all   things   be

granted.     It is   therefore




         ORDERED that the State not seek the death penalty                                as a sentencing         option    in this   case

due to   Mr. Mullis longstanding                   mental    illness because       it   has reduced       his   capacity and

diminished      his   personal culpability            such   that    exposing     him to execution          would violate the Eighth

Amendments            prohibition on the infliction             of cruel       and unusual punishment.




                                                                                          Hon. John Ellisor
                                                                                          122d Judicial          District Court




                                                                          19




                                                                                                                                             583
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                                                                                                           l    1.   L.         ..   li




                                                                                                                                                  I
                                                                                                                          C.r




                                  PRECEPT TO SERVE              JURY       POOL-SELECTION       LIT            JASON E. MURRAY
                                                                                                           CLERK DISTRICT                               COURT
                                                                                                                                     FILED


                                              CAUSE      NO.       08CRO333     -   122ND
                                                                                                                          iDDR In
                                                                                                                          JAN             0   7       2011


                                                        THE    STATE       OF TEXAS
                                                                                                          GALVESTON COUNTY TEXAS
                                                                                                          BY
                                                                     VS.                                                                                         Y



                                                    TRAVIS          JAMES     MULLIS


TO   THE      SHERIFF OF GALVESTON                  COUNTY           SAID     STATE      GREETING

         ARE HEREBY COMMANDED to forthwith deliver to TRAVIS
            YOU                                                JAMES MULLISa
prisoner in your custody the accompanying Copy of JURY POOL  SELECTION LIST.


            HEREIN         FAIL   NOT       and   due    return        make    hereof without              delay.


            WITNESS               signature        and        seal     of     office      on   this            the              20TH                  day       of
                            my
December              A.    D.    2010.


                                                    ATTEST
                                                                   LATONIA D. WILSON Clerk
                                                                   District Court Galveston County                                                 Texas



                                                    By                                                                                    Deputy



                                                        --------------------------------SHERIFFS
                                                                    RETURN

            Came       o hand  on the                      day of                              A.    D.                        at
oclock            t    M.   and  executed               on  the same          day           delivering                    tothe   wi                         tn7i n
named TRAVIS LAMES MULLIS a                              prisoner in
                                         my custody in person                                                                a              cop  of
JURY POOL SELECTION LIST mentioned within   and delivered to me                                                                           with this
writ.


            Returned on the                         day       of    ile              Q         A.     D.



                                                                                    FREDDIE         POOR
                                                                           SHERIFF GALVESTON               COUNTY                             TEXAS


                                                                     BY                  Lam--                                                         DEPUTY



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                                                                                                                                                                      584
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                                                                                                                      oV oRgY
                                              CAUSE NO. 08-CR-0333                                   J                         vRT


THE STATE OF TEXAS                                                   IN   THE D MFR               XOUR

vs.                                                                 GALVESTON C

TRAVIS MULLIS                                                        122d JUDICIAL DISTRIC



                      MEMORANDUM OF LAW IN SUPPORT OF
                   DEFENDANTS MOTION INLIMINE TO EXCLUDE
             PSYCHIATRIC OR PSYCHOLOGICAL TESTIMONY CONCERNING
                                            FUTURE DANGEROUSNESS

           Pursuant to the     5h 61h 8h and 14th Amendments to the United               States      Constitution       Art.




1       10 13 15 and       19 of the Texas Constitution        Tex.C.   Crim. P. 28.01     and Tex.        R.   Evid.   401


403 702 703 and 705 Defendant requests that                this Court exclude      all psychiatric       or



psychological      expert opinion     testimony    offered by the State   as to   the probability        that   Defendant


will   commit future     criminal acts of violence      that   would constitute    a continuing       threat     to   society


under   Tex. C. Crim. P.      Art.   37.071       2b1Vernon Supp.           2001.      Travis   Mullis respectfully



submits   that   such   testimony    does   not meet the requirements     of Tex. R. Evid. 702 nor Tex. R.


Evid. 403.




                                                                                                                                     585
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                                                            INTRODUCTION

                For expert testimony           to    be admitted          as     evidence     under   Tex.R.Evid.               702 the       trial   court



                      whether     such                               reliable     and   relevant.     Gammill         v.   Jack       Williams
must determine                            testimony             is




Chevrolet Inc. 972 S.W.2d                713 720 Tex.                  1998. The         trial courtfunctions              in   a gatekeeping



role for the admission           of such evidence                the     reliability     of expert testimony               is   a question       of



admissibility not of weight.             Daubert           v.   Merrell        Dow      Pharmaceuticals             Inc.    509 U.S. 579 597



           See Kuhmo Tire Co.                  Carmichael 526 U.S. 137 1999 Kelly                                   v.   State       824 S.W.2d         568
1993.                                    v.




                                                          de Nemours and Co.                      Robinson          923 S.W.2d              549 Tex.
Tex. Crim. App.         1992 E.I. du Pont                                                    v.



                                                         549 Tex.        Crim. App.          1998. The proponent                     of expert
1995 Nenno v. State 970 S.W.2d

                bears the strict burden of proving                     both the reliability and relevance                       of such     testimony
testimony


                                                                                   923 S.W. 2d at 557.
before    it
               may be admitted     into       evidence.          Robinson


   Additionally       expert testimony               deemed reliable and relevant is still subject                              to   Tex.   R. Evid.



403.     Such testimony     must be excluded                    if its   probative        value is substantially                outweighed by the


          of prejudice confusion              of the issues            or misleading          the jury by considerations                     of undue
danger


                                              of cumulative              evidence.          Tex. R.   Evid. 403.
delay or needless presentation


                In the penalty                of a capital           trial   the court must evaluate psychiatric or
                                  phase



psychological       testimony     that   predicts a defendants                     continuing       threat     to   society under            Art.




37.071         2b1       or future dangerousness                          using      these reliability         relevance             and prejudice



considerations. Nenno 970 S.W.2d                         549 performing a reliability                  relevance            and prejudice



inquiry for psychiatric         testimony           in   penalty      phase      of capital murder trial Joiner v. State 825


                                                                                                             and inadmissibility              of
S.W.2d 701 Tex. Crim. App. 1992                           same. The              gross impropriety


                                                                                                                         when such
                 and psychological        predictions of future                   dangerousness         is    clear                         predictions
psychiatric




                                                                             2




                                                                                                                                                              586
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are     evaluated     for reliability    relevance           and prejudice The admission                  of testimony       that




incorporates         these    predictions violates           the rules   of evidence           the   constitutional      rights    of the



accused       and the common           law.



                                                                  ARGUMENT

I.         PSYCHIATRIC OR PSYCHOLOGICAL PREDICTIONS OF A
           DEFENDANTS  FUTURE DANGEROUSNESS ARE UNRELIABLE
           AND MUST BE EXCLUDED UNDER TEX. R. EVID. 702.

           The    reliability of expert          testimony         rests on   a preliminary          assessment       of whether     the



reasoning        or methodology underlying                  the   testimony     is valid   and may properly be applied                 to   the



facts    in issue.    Daubert 509 U.S.           at    593-94.       A preliminary        assessment       of reliability is guided by



a     the validity     of the underlying scientific                theory     b   the validity       of the technique        applying       the



theory     and   c    the    proper application of the technique                  on the occasion          in question.      Kelly 824


S.W.2d      at   573 Nenno 970 S.W.2d                  at   561. Questions        of validity        and proper application are to be



guided by certain            factors which include                but are not limited to



                             a The     qualifications experience                  and skill of the person             testifying




                             b The     extent     to   which the reasoning              or methodology can              be and has been



                             tested



                             c The     extent to which the reasoning                    or methodology relies upon the



                             subjective interpretation              of the person testifying


                             d Whether        the reasoning           or methodology has              been subjected       to   peer review


                             and/or publication             and whether the theory or technique                   has been rejected         in




                             such   literature




                             e The     availability         of other experts       to   test   and evaluate       the   technique




                                                                         3




                                                                                                                                                  587
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                                 f The          potential    or known rate              of error of the reasoning or methodology



                                 g Whether              the reasoning        or methodology has been generally accepted                      as




                                 valid    by the relevant scientific                   community


                                 h The non             judicial uses which have               been    made of the reasoning             or



                                 methodology


                                 i The          clarity    with which the underlying theory                    and technique can be



                                 explained        to    the court.




Daubert          509 U.S. at 593 Kelly824 S.W.2d                             at   573 Robinson          923 S.W. 2d at 557.


            The     above-listed factors                                                       factors       are               to   evaluating    the
                                                         Daubert/Kelly/Robinson                                    germane


reliability of both          scientific          and non-scientific           expert testimony whether the expert would



opine on economic                valuation         advertising psychology                  or engineering....          Gannnill 972 S.W.2d


at   725. See also Moore                 v.    Ashland Chemical              Inc.      151 F.3d 269     5th Cir. 1998 holding that


clinical    medical      experts              testimony     was not admissible because                  it   did not fulfillthe Daubert



factors      Perez     v.   State 25 S.W.3d                 830 Tex. App.-              Houston      1St Dist.     2000 applying Daubert


analysis     to    non-scientific             expert      American Tourmaline Fields v.                      International     Paper    Co. No.


CIV.A.396CV3363D                         1999     WI 242690 at 4 N.D. Tex. April 19 1999same. As such the

above      listed principles                           the admissibility of psychiatric               and psychological          testimony
                                         govern



which is based on a combination                           of training experience              and scientific       inquiry.    Nenno 970


S.W.2d      at    560-62.        See also       Muhammad v. State                   46 S.W.3d        493 506-507 Tex. App. - El Paso


                                                                          determine        whether                           evidence    should    be
8th Dist.         2001 using the Kelly factors                       to                                psychological



admitted Green              v.    State        55 S.W.3d       633        639-41       Tex. App. - Tyler 12h Dist.                  2001same. In


evaluating        fields of study aside from the hard sciences                                courts    should      tailor the      above analysis




                                                                                   4




                                                                                                                                                        588
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to   examine closely the data collection                        procedures such                as personal         interviews        document            review



or statistical analysis conducted                      by the witness             in question.         Nenno 970 S.W.2d                at   562.



           A.             The Proponent            of the Expert Testimony                           Bears the Burden of Proving

                           the Reliability of the Experts                        Testimony.


                                                                                              predictions of a defendants
                                         of psychiatric or psychological                                                                    future
           The proponent


                           bears the burden of proving                     the   reliability        of such     predictions.        Robinson            923
dangerousness



                                                                 predictions must be proven by the proponent
                                                         such                                                                                 in    each
S.   W. 2d at 557. The              reliability of




individual        case.      Coble v. State             _       S.   W. 3d       _     Tex. Crim. App. Oct. 13 2010.                               In   order to



           this        burden     the proponent         must demonstrate               his     experience        and    skill in    a sub-specialty of
satisfy



                                                         that    addresses the prediction of future                                                     of
forensic     psychology or psychiatry                                                                                         dangerousness



criminal defendants                 in capital    cases.    A general degree                  in    psychiatry or psychology                is   not



                                                                                                                                                             See
                                     expertise in the predictions of future dangerousness
sufficient        to    establish                                                                                              in capital    cases.




Broders      v.    Heise 924 S.W.2d               148      153 Tex.              1996holding            that    a testifying       expert must have



                                                about     which he is to give an opinion                        and    that    a medical      degree         is   not
expertise on the very matter



sufficient        to    establish    this expertise.            The proffered expert                  also     bears the burden of proving                    his




skill in predicting             the future dangerousness                   of criminals.            Experience        testifying    as an expert



                                         hand   is not                                             reliability. In     fact     absent a showing of
witness      on the issue           at                    sufficient        to    establish




the reliability          of the proffered testimony the Texas Supreme Court has squarely                                              rejected          the




testimony         of those who have had long                    histories         of testifying         by noting       that    the only review the

                  experts         work     has received         has been by judges                  and juries and the only place                    their
plaintiffs



theories     and        studies     have been published               is   in    the pages         of the federal      and state reporters.


                                                                                                                                              Daubert
Merrell      Dow Pharmaceuticals                  v.   Havner 953 S.W.2d 706 726 Tex. 1997quoting                                                              v.




Merrell      Dow Pharamceuticals                   Inc.    43 F.3d 1311 1318                       9th Cir. 1995. Furthermore




                                                                                   5




                                                                                                                                                                        589
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experience            in the    field   is   not sufficient        to establish      expertise if such         experience        is   not skillful.



See     Sosa v. State            841 S.W.2d         912 916 Tex. App. - Houston                        1     Dist.     1992     rejecting



testimony            of proffered graphonalaysis expert who had been a graphoanalyst                                            for fifteen      years



and had reviewed                thousands        of handwriting            samples     because        testimony       otherwise       not proved



reliable.



               In   order to demonstrate            this skill       the   expert should         be asked      to    proffer specific



publications on the reliability and acceptability                             of the methodologies              employed         in   predicting



future     dangerousness.               See    Castellow      v.   Chevron 97 F.Supp.2d                 780     794-95        S.D. Tex.


2000rejecting experts                        testimony   who did not point to medical                    or scientific        literature   supporting



their    conclusions Green 55 S.W.3d                          at    640 rejecting           experts    testimony        who     did not provide



the    trial   court with any actual              authorities        and authorities          supporting       his   analysis American


Tourmaline Fields                    1999    WL 242690 at 3 rejecting                      testimony    of proffered expert who has not



provided            court with copies of articles             upon which he purported                  to    rely    and could not       recall       the



name or citation               for
                                     any articles    that   have discussed            his    technique.



               Further     the methodologies             that      the   proffered expert employs in predicting future



dangerousness             must be consistent with the methodologies                            and principles          of predicting       future




dangerousness            that    are detailed in those publications the expert brings to the courts attention.



See    Green 55 S.W.3d                  at   640 rejecting         experts     testimony        when        expert did not indicate            that    he


had followed            the methodologies            of the authorities               that    he cited Bennett           v.    PRC Public         Sector



Inc.     931 F.Supp.           484 494 S.D.           Tex.      1996       rejecting        experts    testimony        noting    that   the




methodology he employed                        was not consistent with               the    methodologies           described    by experts and


literature in the field              that    he had named.




                                                                              6




                                                                                                                                                            590
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           B.        The State Cannot Meet                Its    Burden of Proving                    the    Reliability of Psychiatric

                      or Psychological          Predictions        of a Defendants                    Future Dangerousness.



           Psychiatric        or psychological     predictions of a defendants                         future    dangerousness         fail   many


of the foregoing         Daubert/Kelly/Robinson                factors       for    evaluating        the reliability     of expert


                  The states proffered expert             is   unable to produce                adequate        authority   supporting        his
testimony.



opinions    as scientific        knowledge      nor has any other expert ever done                           so On the        basis    of any



evidence        thus far presented to a court        it                   that      the use of psychiatric           evidence     to    predict     a
                                                          appears



murderers future              dangerousness fails all five Daubert                     factors.         Flores v. Johnson         210 F.3d



456 464 Garza J. specially                concurring 2000.


                       1        Psychiatric     or Psychological               Predictions            of a Defendants          Future

                                Dangerousness       Are Not Reliable Because They Are Strictly                                   Subjective.



           Psychiatric or psychological            predictions of a defendants future                            dangerousness



particularly      ad-hoc       determinations     based    on hypothetical               fact   patterns prepared and presented by



the State are unreliable            because    they are    simply subjective testimony                          without     any scientific


                                 Each psychiatric or psychological                     prediction of future dangerousness                      is
validity.        Id. at 458.




determined        in a different     manner.     There is no established                  and consistent methodology applied or


                                   or psychological        analyses           of future    dangerousness and standards
required for psychiatric


                                     of the technique          are nonexistent.            Id    at   465-66.      See also     Kenneth B.
controlling the operation



Dekleva         Psychiatric Expertise in the Sentencing                      Phase     of Capital Murder Cases 29 J. Am.


Acad.    Psych.          L.   58 60 2001 specific...                     guidelines for making                  dangerousness         predictions



in   forensic populations          do not currently exist..


           An ad-hoc          determination     of dangerousness               is   not externally          verifiable    by other experts.


There has been no testing               of the methodologies                 used in the predictions of each expert.                     The




                                                                         7




                                                                                                                                                        591
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factors   an expert uses     in determining               dangerousness              are   not weighted      and do not correspond                 to




               scale   of factors     that    would contribute                to    or predict dangerousness.            Other       experts
any graded


looking    at the   same data are unable             to   determine       whether the testifying               experts     particular




weighting    of such     factors    is   accurate.        Thus     peer review             of predictions of future        dangerousness                is




       and peer review of making                   such    predictions has             been uniformly         negative.     Flores          210
rare



F.3d at 465-66 Garza J. specially                    concurring citing G. Morris Defining                           Dangerousness



Risking    a Dangerousness          Definition            10 J. Contemp.             Legal Issues        61 85-86 1999.              See also



William M. Grove             Paul E.       Meehl          Comparative Efficiency of Informal Subjective


Impressionistic        and Formal Mechanical                   Algorithmic Prediction Procedures The

Clinical-Statistical
             Controversy 2 Psych. Pub. Poly                          L.       293 320 1996 noting that                   clinical




                cannot    resolve        disputes      among psychologists                    because     each can appeal       to    his   own
experiences



unique clinical      experiences         which lack an objective referent. Testimony such                                as this that         is




subjective     and not readily re-produceable                      sic by others in the field should not be

admissible. Green 55 S.W.3d                  at   638.



                                                                                                                 and inexact.         The scope
           Key terms and concepts                 of the witness testimony                    are   amorphous


of dangerousness         and the length of time at issue                  are not defined. Concepts                such    as   conscience


malice and evil upon which determinations                                     of dangerousness             rely are not adequately



defined    by the testifying       witness.         The imprecise             nature       of the methodology        disqualifies           it   for




admission     in a capital   proceeding             such testimony                   lacking        objective scientific    testing         or



            examination      defies       scientific       rigor   and cannot              be described     as expert testimony.             It is
personal



simply subjective testimony               without        any scientific            validity    by one who holds a medical degree.



Flores 210 F.3d at 458         Garza J. specially                  concurring.




                                                                          8




                                                                                                                                                             592
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             The    foregoing    features     of subjectivity             in psychiatric              or    psychological              predictions of a



defendants          future    dangerousness            are    precisely     the       subjective            interpretations               of the expert



that   the   Texas Supreme Court warned against                            in    Robinson             923 S.W. 2d at 557.                 This subjectivity



makes such          predictions unreliable             and inadmissible under                       Tex.        R.   Evid. 702.



                                 2           Psychiatric             or Psychological                  Predictions              of a Defendants

                                             Future Dangerousness                          Are Not              Reliable Because            They Are
                                             Subject           to   an Overwhelming Rate of Error.


             In   Coble before      finding that admission                  of a prediction of future                       dangerousness         was an



error the Court         of Criminal Appeals asked                      have the predictions .. been verified                                 as   accurate



over    time Coble v State _ _ _ S. W. 3d---at 55.                                             The answer            is   no.    It   is generally   accepted



by the    scientific     community         that   psychiatrists           and psychologists                     are more often incorrect             in their




assessments         of future    dangerousness               than they are correct.                  The American Psychiatric Association




long-term
APA has consistently maintained
        future     dangerousness      is
                                                         that




                                            by now an established
                                                                    the unreliability

                                                                                        fact    within
                                                                                                      of psychiatric


                                                                                                            the profession.
                                                                                                                                 predictions of



                                                                                                                                         Barefoot    v.




Estelle 463 U.S.             880 920 1983 Blackmun J. dissenting quoting Brief Amicus                                                         Curiae      for




the    American Psychiatric Association                        Barefoot         v.    Estelle 463 U.S. 880                      1983 No. 82-6080

hereinafter        APA Brief. See also Flores v. Johnson                                210 F.3d 456 463 5th Cir. 2000                            Garza

J. specially       concurring noting              that   the scientific              communitys rejection                       of the reliability of



predictions of future           dangerousness            is   as true      today as            it   was    in    1983.          Predictions that     a



person will be dangerous             in   the future          are wrong          two out of three times. Barefoot 463 U.S. at


920 citing         APA Brief at 9 13              J.   Monahan            The        Clinical       Prediction of Violent                 Behavior    47-49



1981 C. Slobogin Dangerousness                           and Expertise                 133 U. Pa.          L.     Rev.     97 111-17        1984 citing

results   of the major studies Baxstrom study 20% accuracy Thornberry                                                           Study    20% accuracy




                                                                            9




                                                                                                                                                                593
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New York study 14% accuracy Kozo study 34.7%                                  accuracy Paxtuxent             study 41.3%


                Wenk       study 8% accuracy.             As such a jury member could more accurately                       predict
accuracy


                                       a coin rather       than relying on an expert psychologist                  or psychiatrists
dangerousness          by flipping


testimony. Because the conclusions                    drawn from ad-hoc         psychiatric or psychological               predictions



of future                           are more often wrong             than right the amorphous             and undefined
               dangerousness


                                                      be deemed      unreliable.     See General        Electric   Co. v. Joiner         522
methodologies          they employ should



U.S.    136 146        1997 holding that conclusions and methodology are not entirely                                   distinct    from



one another          and that erroneous         conclusions        may indicate      a faulty     underlying methodology.



             Several    studies    have been conducted             on the prison conduct          of former     death     row inmates


in Texas.       One study by Marquart Ekland-Olson                         and Sorensen       1989 examined the accuracy                  of



             determinations       of future    dangerousness         by comparing the institutional behavior                     of 92
jurors



former       death   row inmates who had their sentences                   commuted or reversed            with a control group           of



107 capital      murderers        sentenced     to    life imprisonment.        In   the case     of the former group juries had



determined        there was       a probability of future          dangerousness       whereas      in the    case of the latter



                                                the                not constitute     such    a risk.                   these groups
group the juries had determined                       group   to                                        Moreover


were compared           to   the entire Texas state        prison population         in    1986 and a population          of inmates



housed       in a single     high-security      prison.    Overall      the former        death   row inmates       total rate     of


assaultive      institutional      misconduct in the general population                   was lower than the rates          for the




comparison groups.             More specifically the rate of violent                 prison rule violations         was    1/5    and 1/10


the   rate   of the general population           and a non-capital           high-security        prison comparison sample



respectively.        The annual base          rates   of violent    rule infractions       were     1.6 for   commutees 2.6 for




                                                                      I0




                                                                                                                                               594
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Iife-sentenced murderers             11.7 for the general population               and     19.3   for the    high-security prison



population.


                                                                   a national sample of 558 Furman                     commuted
           Marquart      and Sorensen         1989 followed

inmates      from 30 jurisdictions          over a 15-year period.          In   total 6 murders and 59 serious              acts       of



violence      were perpetrated       in the    prisons by the
                                                                   former    death    row inmates           after   they had been



commuted and were no longer on death                    row.     With respect        to the    serious rule violations            a small



        7.4% of chronic            offenders     committed more than half of the total number of infractions.
group


Of the 30% who committed any institutional                      infractions half committed only one infraction                          over



                                                                                                             These rates are
      15-year period and many served out their sentences
the                                                                              without      incident.




comparable to those reported               by Marquart Elkland-Olson and Sorensen                         1994 on the 421 death

row inmates who passed              through    death    row    in Texas     between       1974 and 1988.            Specifically        63



assaultive        acts-including 37 involving          a weapon     on other inmates and 24 involving                    a weapon         on



guards-      were committed by just over 10% of the irunates                       n45.

           Reidy Cunningham                and Sorensen       2001 summarized the extant research on the

incidence         of violent prison misconduct in the general prison population                        of former death row


inmates.      Over varying        follow-up     periods   ranging from 2 to 53 years across several



jurisdictions the rates          of assault    in the institution       by death   row former         death     row capital        life




LWOP and LWP inmates were relatively                       low ranging from 0% to 31%.                      Aside from their


                                                                                                               violence
literature    review        Reidy et at.   2001 also reported a cumulative                  institutional                  rate    at




                                                                                          a sample of 39 former           death     row
35.9% of which 20.5%               occurred    in the   general population           in




inmates      in   Indiana    over an average      of 16             Although       indicating a rate          somewhat higher than
                                                          years.




                                                                   11




                                                                                                                                               595
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prior    studies of the 24 violent               acts   committed        by a total of 14 different                  inmates     only 7 were



judged       to    be serious.



             Even        the    more generous       studies done under                the most controlled settings indicate                   that




                    of future                            will   be accurate           only one-half of the time.           As such       these
predictions                            dangerousness



                                           than chance    determinations              of who     will   be dangerous        in the future.
predictions are no better



Randy Otto              On the Ability of Mental Health                Professionals to Predict                  Dangerousness            A

Commentary               on Interpretations         of the   Dangerousness Literature                        18 Law        Psych. Rev.         43 64


      n.65   1994 See also Melvin Goldzband                         Dangerousness                A Mutating Concept Passes

Through           the    Literature       26 J. Am Acad.        Psych.           L.   649 651 1998noting                 that   predictions of



                                                                                                        of their unreliability         such
dangerousness              are     increasingly demanded          by courts but because


predictions are inherently                    fruitless and possibly dangerous. George B. Palermo et                                     al.    On


the    Predictability            of Violent Behavior         36 J. Forensic            Sci.    1435 1442 1991 noting that


supportive          scientific         studies for the accuracy      of long-term predictions of violence                       are lacking



David Freedman Flase Prediction of Future Dangerousness                                           Error Rates        and the Psychopathy



Checklist-Revised                  29 J. Am. Acad.       Psych.        L.     89 92 2001The prediction of complex

behaviors          such     as   violence     remains    exceedingly          difficult       and uncertain          and the plethora of new



instruments             fails to   reach    a scientifically    reliable      or valid standard of performance to be used to



make decisions                 about    a persons    life or liberty     in
                                                                              any setting..


             The        reliability of psychiatric       and psychological               predictions of future           dangerousness          is




tenuous      when         one considers        how Texas courts          have treated           the admissibility        of polygraph


evidence.         The Texas Court of Criminal Appeals has erected a policy-based barrier                                          to   the



admission          of the existence and results of polygraph                          tests. Reed       v.   State    48 S.W.3d    856        860-61




                                                                            12




                                                                                                                                                       596
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Tex.      App. - Texarkana            6h Dist. 2001. The court has held polygraph                                 testimony       categorically



inadmissible because             it   is   not objective         but rather       subjective        unreliable         and unduly



persuasive.         Reed 48 S.W.3d             at    863. The     polygraph        technique        accurately         predicts   truth    or



deception     between         seventy and ninety percent of the time. United                                 States    v.   Posada 57 F.3d


428 434 5th Cir. 1995. The most favorable                               estimates    of the accuracy             of future    dangerousness



predictions indicate         that     they are correct merely              fifty percent         of the time.       Psychiatric      and


psychological        predictions of future             dangerousness which are both                       less   reliable    and more



subjective than polygraph              tests should similarly                  be deemed inadmissible.



           Research     and   literature        that   may indicate            a more accurate prediction rate of future



dangerousness         is based      on methods of prediction that are very                         different      from those used          in




capital   trials.   More accurate prediction                 rates   are garnered          from studies          in which     clinicians        have


the opportunity to observe                 behavior     in a   mental health         facility      over an extended           period of time.


The procedure        used    in this trial      instead has been an ad-hoc                     determination        of dangerousness             based



upon a hypothetical scenario provided                        by the State.        A report prepared by Texas Defender

Service in 2004 examined               the incidents          of violence of 155 Texas                  state    inmates     who a psychiatrist


had said would be a future                 danger.     The     report    found     that    the   mental      health    experts were wrong


an astonishing       95% of the time.               Texas Defender Service                 Deadly         Speculation        -    Misleading



Texas Capital Juries          with False Predictions of Future                     Dangerousness                 2004.


          The United        States    Supreme Court has cautioned                      against the reliability of methodologies


with high rates      of error.        Daubert         509 U.S. at 593. The            error      rate   for psychiatric       or psychological



predictions of a defendants                 future     dangerousness           makes      it
                                                                                               patent that      such   predictions are



unreliable.




                                                                          13




                                                                                                                                                         597
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                          2          Psychiatric        or Psychological               Predictions         of a Defendants            Future

                                     Dangerousness              Are Not Reliable As Evidenced                           by Lack      of General

                                    Acceptance           in    the Relevant Scientific                Community.


          The       American Psychiatric Association                         APA has            insisted     that    psychiatrists    are   not



qualified     to    make determinations                of long-term future             dangerousness              and has consistently urged


that                                 expert      testimony       on future         dangerousness           be deemed         inadmissible.        The
       expert      psychiatric



APA has urged             that    absent an in-depth psychiatric                        examination          and evaluation          the




                                                                                                                       the
psychiatrist        cannot       exclude       alternative     diagnoses nor can he assure that                              necessary criteria for



making       the   diagnosis        in   question      are    met.   As a result he is unable                to     render a medical        opinion



with a reasonable               degree   of certainty. Flores 210 F.3d                     at   467   Garza J. specially              concurring



quoting       APA Brief. The scientific                       community            virtually    unanimously agrees that               psychiatric




                                                                                         unreliable and unscientific.                  Id. at     463.
testimony       on future         dangerousness is to put               it
                                                                             bluntly



As an indication           of the strength of the scientific                  communitys rejection of this sort of ad-hoc


psychiatric        and psychological              determinations             the    APA expelled        Dr. James Grigson             because       he


                                                                                                      without                    examination.
consistently testified as to a defendants                        future      dangerousness                           personal



Bruce Vincent             A Dearth of Work              for    Doctor        Death the Once             Ubiquitous           James Gri gson Now


Finds Little        Demand         for   his   Testimony        in Texas          Capital Murder Sentencings                    Texas Lawyer


Dec.   4 1995 at 4.

          A testifying           expert    cannot      establish      that    his    methodologies           are     accepted    in the    relevant



scientific    community through                   mere assurances             as to     the accuracy         of his own methods             and



results in the absence              of other credible supporting                     evidence.        Castellow 97 F.Supp.2d                 at   792



citations omitted.               See Robinson           923 S.W.2d           at    559 holding        that    an experts        self-serving



statements         that   his    methodology was generally accepted                            and reasonably          relied   upon by other




                                                                              14




                                                                                                                                                         598
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           in the field are      not sufficient            to establish     the reliability    of the technique and theory
experts



                                         Thus                                         assertion that     the     scientific     community
underlying his opinion..                             the   proffered experts



           his    methodologies          is   not sufficient         in light    of the overwhelming           rejection      of this
accepts



testimony        by the scientific       community.              As the    Court of Criminal       Appeals         wrote there must be


objective        source material in            the    record to substantiate              the witnesss methodology as one that


is   appropriate     in the   practice        of forensic        psychiatry.        Coble     --    at   52. The           state   cannot



            such    material to satisfy           their    burden.        The lack of general      acceptance          indicates      that   the
produce



proffered predictions are not reliable                      scientific     knowledge        and cannot    be admitted           under Tex. R.


Evid. 702.



                       3        Psychiatric           or Psychological             Predictions     of a Defendants                 Future

                                Dangerousness                   Are Not Reliable As Evidenced                    by .Lac       of Use

                                Outside a Judicial                 Context.



           The Texas Supreme Court has asked of experts whether the methodology or study they


employ was prepared only for litigation and whether it has                                    been used or relied              upon outside


the   courtroom. Havner 953 S.W.2d                         at   726. The        expert testimony    in this case       is   decidedly



                                              of litigation      and given its lack of acceptance                within       the scientific
prepared only in the context



community would never be relied upon                             outside of the courtroom.         While determinations                 of future



dangerousness         are   used in involuntary              civil   commitment of individuals              psychotherapists




non-judicial
liability for their




           context
                        patients



                       for their use.
                                      actions         and post jail detention


                                              Furthermore the predictions of future
                                                                                          of sexual predators



                                                                                                     dangerousness
                                                                                                                      there is no



                                                                                                                                in these




contexts    are    predictions of dangerousness                    in the short     term whereas        future     dangerousness



                                                predictions of behavior              in   the long term. There is no procedure                 in
predictions in capital        cases      are




Texas for reevaluating          determinations              of future      dangerousness       during    the     span of the defendants




                                                                           15




                                                                                                                                                    599
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                                                                                                        behavior       that    extends         for
sentence.      Thus         the   prediction of future       dangerousness              may concern


decades       into    the    future.     Even    if short-term       predictions        may be made with some             degree         of


                                                             be made accurately             or reliably.       See Grant H. Morris
accuracy long-term predictions cannot


Denning        Dangerousness               Risking     a Dangerous        Definintion       10 J.Contemp.         L.   Issues       61 78


1999 Douglas Mossman                         Dangerous       Decisions          An Essay on the Mathematics of Involuntary

                                                          Round Table           95 97 1995.         As the Texas Supreme Court
Hospitalization 2 U. Chi. L. School



noted    in   Robinson            the   lack of any non judicial use for proffered expert opinions-like



                                                                          that such opinions          are   unreliable.       See    923 S.W.2d
predictions of future               dangerousness-indicates



at   557.



                            4           Ad-Hoc     Psychiatric         or Psychological        Predictions       of a Defendants

                                        Future Dangerousness              Are Not        Reliable Because        They Are Not Based
                                        on a Reliable Data Source.


            As an essential             component       of assessing the reliability of the proffered testimony the


                                         be independently        evaluated       in                   if the                  itself is
underlying data should                                                                determining              opinion



reliable. Havner 953                    S.W.2d    at   713. The      data set upon which the testifying                expert here rests              is




not reliable         and the experts            opinion   should therefore            not be admissible. The           data set upon which



the testifying        expert relies has been prepared by the prosecution                            and the testifying          witness         has



not verified         the data provided.            The Court of Criminal Appeals found that the trial judge had


                                                                                                                               relied
abused      his discretion          where he admitted            a   prediction of future      dangerousness           that                   entirely




upon    the   documentary materials given                   to    the witness by the prosecution.                  Coble         --           at   57.


The proffered prediction in this case has                        the   same     flaw.    Furthermore the data upon which                        this




determination          is    based      have not been compiled objectively                  and the data have been specifically



compiled       to    prove        dangerousness.        Compilation       of data in this manner has been held                      to   give




                                                                           16




                                                                                                                                                           600
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rise to a common-sense skepticism                          regarding           the   experts evaluation which has proved fatal


to the    reliability of such             testimony.    Munoz v. Orr 200 F.3d 291                         301   5th Circ. 2000citations


omitted.        See also         Castellow 97 F.Supp.2d             at    797 rejecting          reliability of proffered             expert    noting



that    the   detailed         investigation      upon which         the       witness     relied   was prepared by Plaintiffs



                        Green 55 S.W.3d           at   638 rejecting            reliability     of proffered expert noting               that
investigator



witness had not independently                    investigated data provided                 him.


              Ad-hoc        determinations       based    on a hypothetical fact                pattern     prepared and presented              by the


State    are   unreliable because             they do not incorporate                any personal         interviewing         investigation         or



background            examination.         Testimony which relies only on a hypothetical provided                                    by the State


                    lacks any of the investigation            examination or interviewing                        that    courts have stipulated
decidedly



as   the bedrock            of a testifying    mental health        professional and proper clinical opinion                          provider.




Testifying          experts      whose convictions          about        the   ultimate conclusion              of their research        is   so firm



                                                       oath that         is correct                                      the necessary
that    they are willing to aver under                              it
                                                                                          prior to performing



validating          tests    may properly be viewed by the district court as lacking the objectivity                                          that   is




required to assure the reliability of the testimony. Castellow 97 F.Supp.2d                                              at 792 quoting Claar



v.   Burlington         Northern      Railway. 29 F.3d 499 503 9th Cir.1994.

              The    Texas Criminal           Court    of Appeals has acknowledged                    the pivotal            role that   psychiatry



has    come to play in criminal proceedings                        and has characterized              that      role    as   one in which



psychiatrists           gather facts through           professional examination interviews                             and elsewhere          that




                                                                                           992 S.W.2d 469 473 Tex.                     Crim. App.
they will share with the judge or jury. Jackson                            v.    State



1999 quoting Ake v. Oklahoma                           470 U.S.     68 79 1985. The                  Supreme Court              in   Ake v.


Oklahoma            stipulated     that   a competent       psychiatrist             is   one   who will conduct              an appropriate




                                                                           17




                                                                                                                                                          601
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                                                           Finally the Texas Court of Criminal                              Appeals has held         that
examination. Ake 470 U.S.                      at 83.



                                                                                                          and analytic      process to the jury.
psychiatrists
                       assist the     jury by laying out their investigative



               992 S.W.2d          at   473.        is   thus clearly       recognized             that   an essential       role   of a mental health
Jackson                                        It




professional in court is to conduct                       an investigative             process which includes examinations                           and



interviews of the defendant.



           The        lack of investigation makes this method                          particularly            unreliable        because without


                                                                    unable to rule out other diagnoses                           and hypotheses         with
more information the testifying                     expert     is




regard to the defendant.                See    Paul S.      Appelbaum              Hypotheticals               Psychiatric Testimony              and the


                                          Am. Acad.                                  169                   The expert            unable to ascertain        all
Death Sentence             12 Bull.                          Psych.           L.            1984.                           is




the   facts    that    might      make    these alternate           hypotheses             or diagnoses         more plausible for the


defendants            situation.      See Mata      v.    State     46 S.W.3d 902 915 Tex.                        Crim. App. 2001rejecting



                               that     did not take into           account        facts    that    the court found          salient    to the    analysis.
experts        testimony


                                                                                                            the question         at issue   has proved
An experts            inability    or failure to rule out other hypotheses                           for




fatal to      the reliability of his proffered testimony.                          See Bennett            v.   PRC Public         Sector    Inc. 931      F.




                                                                            collection                                                  to rule   out
Supp.    484 492 S.D.              Tex.    1996          limited     fact                      impeded          experts      ability




other causes          of Plaintiffs       injury         and indicated        that    experts testimony               was unreliable.


              For the reasons articulated                 above      psychiatric or psychological                     predictions of future



                                                                                                                   such                      is
dangerousness            are not      reliable.     Any expert        testimony             incorporating                   predictions



inadmissible under             Tex. R. Evid. 702.



II.           PSYCHIATRIC OR PSYCHOLOGICAL PREDICTIONS OF A DEFENDANTS
              FUTURE DANGEROUSNESS  ARE IRRELEVANT AND MUST BE EXCLUDED
              UNDER TX. R. EVID. 402 AND 702.




                                                                               18




                                                                                                                                                                  602
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             Even     if found     to   be reliable expert testimony               must be shown         to   be relevant to a factual



issue      in question.     In   determining        relevance         expert testimony         should    be admitted        only   when     it




will aid      the   jury in making         inferences        regarding    fact    issues     more   effectively.     United       Blood Servs.



v.   Longoria        938 S.W.2d          29 30 Tex.           1997 affirming         trial   courts exclusion         of expert testimony



on blood-banking            procedure          and industry Glasscock              v.     Income    Prop. Servs.        888 S. W.2d 176


180 Tex.           App.-Houston          I st Dist. 1994 reversing                trial   court exclusion       of expert testimony


regarding       security     procedures         in commercial office             buildings     because    not an area of expertise



within      knowledge        of reasonable juror.              Psychiatric       and psychological         predictions of future



dangerousness           do not aid the jury in determining                    questions      of fact and are therefore inadmissible


due   to    irrelevance     under       Tex. R. Evid. 702.



             When the jury is equally competent to form an opinion                              regarding      ultimate fact       issues    the



experts testimony            as to      these issues       should be excluded.            K-Mart    Corp. v. Honeycutt             24 S.W.3d


357 360 Tex. 2000                 That a witness has knowledge                      skill    expertise or training           does not



necessarily mean that              the witness       can     assist   the trier-of-fact.        Williams       v.   State    895 S.W.2d


363 366 Tex.            Crim. App.         1994 same.             If a purported        expert testifies to an analysis based               on


factors     that    an average      layperson       juror would generally be aware of and utilize absent the expert



testimony such testimony                  is   irrelevant.     Douglas v. State No. 01-98-01151-CR                      2001       WL

1048533        at   7 Tex. App.-Houston Is Dist. Aug. 31 2001 affirming exclusion of expert
testimony       regarding        the voluntariness of defendants confession.                        Testimony that might be of


some benefit          to the     jury is not admissible unless the jury would not be qualified                              to   answer   the




question      without      the   benefit of the experts specialized knowledge. Speer                           v.   State    890 S.W.2d




                                                                         19




                                                                                                                                                   603
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87 96-97 Tex. App. - Houston 10 Dist.J 1994 affirming                                             exclusion    of expert testimony



regarding          defendants dependent                   personality disorder.



           Psychiatric predictions of future                       dangerousness           are not offered in every capital             case.




There     are      many instances            in   which juries decide the special                 question    of future       dangerousness



without       consideration            of psychiatric testimony.                  See         Jasper v. State No.            73817 2001 WL


1504674            at   1-2   Tex.      Crim. App. Nov.             28 2001           affirming jury finding of future



dangerousness             based       on facts     of crime evidence                of escalating criminal activity and lack of



remorse Conner                 v.    State    No.      73591 2001 WL 1043248                      at   4 Tex. Crim. App. Sep 12 2001
                                        of future                                 based   on defendants        prior   criminal history
affirming jury finding                                  dangerousness



Trevino       v.    State     991     S.W.2d       849 854 Tex.             Crim. App.       1999       same Salazar v. State 38

S.W.2d        141 146 Tex.              Crim. App.         2001      affirming jury finding of future                  dangerousness          based



on facts      of offense        alone.       As such       it is   clear    that    jurors are qualified       to   answer      the future




dangerousness             question          and unreliable psychiatric testimony                       regarding    the same point must be



excluded.



           In      cases where         the State offers          psychiatric        expert testimony        regarding        future




dangerousness as described                        in   Section     IA above          predictions are ad-hoc          determinations          solicited




by a hypothetical             fact    pattern      presented orally          to    the witness     by the State.      This hypothetical fact



pattern
           is generally         limited to the facts             of the specific          crime   for   which the defendant has been


convicted          although         occasionally         incorporates        supplemental         evidence such         as   extraneous



offenses        uncharged           prior    misconduct          and limited character evidence.                   As described above in


Section    IAv the proffered expert rarely has interviewed                                        or investigated the defendant



personally.         The     factors     used in constructing               the hypothetical are sufficient             independent       of any




                                                                               20




                                                                                                                                                         604
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psychiatric        or psychological                   analysis to          form the          basis    of a jury determination. Jasper 2001                      WL

 1502674      at    1-2 Conner 2001 WL1043248                                      at   4         Trevino      991   S.W.2d     at   854   Salazar        38


S.W.2d     at      146.




           Further          a psychiatric             or psychological              spin or interpretation                    of these same       facts   is




unreliable         as described            in    Section         1.   Because psychiatric and psychological                           predictions of



dangerousness              have        been shown           to    be grossly unreliable                   they have no relevance           to    a jurys



determination             of the       factual    question. Unreliable information                              cannot     be considered        helpful        and


therefore relevant                to   a jury.        See Morales v. State                    32     S.W.3d      862865        Tex.    Crim. App.         2000


Naturally testimony                       which       is   unreliable or irrelevant                   would not       assist   a juror in understanding



the   evidence       or determining               a fact         in issue     as   is   required by Rule             702. Griffith         v.    State    983


S.W.2d 282 288 Tex.                       Crim. App.              1998 Evidence                    that   is   not reliable    is   not helpful to the jury



because    it   frustrates          rather       than promotes intelligent                        evaluation      of the facts. Bennett 931



F.Supp.    at   500 finding               testimony          unreliable where                     completely lacks specificity              and borders


on sheer speculation and therefore irrelevant.


          Psychiatric or psychological                                predictions of future               dangerousness        rely   exclusively on



matters within            the   average          jurors common knowledge                              and thus should be excluded.                .K-Mar


Corp 24 S.W.3d               at    361. Whereas relevant scientific                               or expert testimony          assists a juror by




introducing         new facts            or expertise psychiatric predictions of future                                   dangerousness         merely tell


the jury how they should view the facts. Id. This                                            is   not sufficient     to   meet the necessary         criteria




for   relevance.          See also       Flores v. State                871   S.W.2d          714 724 Tex.            Crim. App.        1993 Clinton             J.



dissenting         noting         that    expert psychiatric testimony                            regarding      future    dangerousness         does not



add anything              of substance           to   whatever inference                     of future     dangerousness            may be gleaned        from




                                                                                        21




                                                                                                                                                                      605
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the    facts    themselves.              Speer 890 S.W.2d           at       97 finding that psychiatric testimony                  regarding



defendants dependent                  personality disorder could                   be found    within   the    range     of a laypersons



knowledge.


               For the reasons articulated               above    psychiatric           or psychological           predictions of future



                          are    irrelevant.     Any expert       testimony          incorporating      such       predictions     is
dangerousness



inadmissible under               Tex. R.       Evid. 402 and 702.



III.                                                 OF A DEFENDANTS
               PSYCHIATRIC OR PSYCHOLOGICAL PREDICTIONS
            FUTURE DANGEROUSNESS ARE PREJUDICIAL MISLEADING AND
            CUMULATIVE REQUIRING EXCLUSION UNDER TX. R. EVID. 403.

            Psychiatric          or psychological         predictions of a defendants                 future       dangerousness because


of unreliability          and lack of relevance alone                as      described      in Sections    I   and II above         create        an



unacceptable            danger     for   unfair prejudice.        The        flawed     underlying methodology and high potential



rate   of error render psychiatric or psychological                            future    dangerousness         predictions insignificant                 as




to    whether future        danger       is    any more or less probable.                See Morales       32 S.W.3d        at    865



Naturally testimony which is unreliable or irrelevant                                      would not assist a juror in understanding


the    evidence        or determining           a fact   in issue...          Griffith 983 S.W.2d             at   288 Evidence            that     is




not reliable       is   not helpful       to   the jury because         it    frustrates    rather   than promotes intelligent



evaluation        of the facts.


       A.                Psychiatric           or Psychological          Predictions          of a Defendants Future

                         Dangerousness              Prejudice      the Jury in an Inappropriate                       Irrational         and
                         Indelible       Way Outweighing                 the Predictions             Probative Value.



            Expert testimony             is    placed under      additional         evidentiary constraints            because     courts have



reasoned        that    jurors are unable to evaluate              such       testimony       thoroughly       and therefore            give   it




excessive        weight     regardless of its reliability and veracity.                       Gammill 972 S.W.2d             at   722 citing




                                                                              22




                                                                                                                                                              606
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                                                                    Kelly 824 S.W.2d               573. In capital sentencing
Robinson          923 S.W.2d         at    553. See       also                                at




                    there    are     four preexisting juror biases that               compound the               general tendency            of
proceedings


unchecked                            of expert testimony. These biases affect                       jurors       perceptions        of the
                  acceptance



                  of violent                        the                                                 the                    of clinical expert
likelihood                      recidivism                opportunities for recidivism                          accuracy



testimony         in general    and the accuracy              of expert predictions of future                 dangerousness           specifically.




Such     biases    reduce      the   effectiveness           of traditional    methods of adversarial                testing      in capital




                                      The     result         unfair                         might not         arise in other legal contexts.
sentencing        proceedings.                          is             prejudice that



            Jurors in capital         cases       have a predisposed tendency                to    overestimate          the   likelihood      of



violent recidivism.            Capital jurors estimate the probability
                                                                                            that   a defendant       charged        with capital



murderand given a life sentence                        will    commit another homicide between 25 and 50% whereas


studies show the likelihood                 to    be approximately         0.2% over a forty-year term. J.R. Sorenson                               R.



Pilgrim      Criminology             An Actuarial Risk Assessment of Violence                            Posed by Capital Murder



Defendants 90 J. Crim.                L.         Criminology 1251 1269 2000.                       Jurors estimate the probability



that    a criminal       defendant        convicted       of a violent crime         will    continue      to    engage        in assaultive




behavior     between 50 and 85%. Again studies                           show this sense           to   be greatly       exaggerated the risk


of additional       violent     crimes       in   general      is   approximately      16%. Sorenson                 Pilgrim supra at 1269.



Jurors in capital         cases also have a predisposed                   tendency     to    overestimate          the   opportunity



defendants        will   have to commit acts of violence                   in the    outside       community. Studies                in Texas




indicate    that on average jurors believe                       a defendant    sentenced          to   life in prison will         be paroled


after   fifteen             whereas under            Texas law defendants               given a life          sentence     after    conviction      for
                   years



a capital    crime       must serve        forty    years before becoming             eligible      for parole.      V.T.C.A. Govt Code


  508.145b          2001 Sorenson                    Pilgrim supra at 1255.




                                                                          23




                                                                                                                                                          607
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             Furthermore jurors also believe                   clinicians         to   be capable       of predicting       future




                          at a far more     accurate     rate    than empirical             studies     have    suggested. D.A.        Krauss
dangerousness


B.D.    Sales      The Effects of Clinical            and     Scientific          Expert    Testimony on Juror Decision                    Making        in




                                                                       267 276             301   2001.         Finally jurors have          an
Capital Sentencing 7 Psych. Pub.                     Poly         L.




extreme predisposition               toward acceptance            of clinical opinion                  expert testimony which               is   based



                                                        of the evaluee. Krauss                        Sales supra     at    305. Psychiatric           or
on a subjective personal assessment


                                                                                                                            those based
                       predictions of a defendants
psychological                                                     future          dangerousness particularly                                 on an



experts       ad-hoc      analysis    of a hypothetical fact            pattern         prepared and presented              by the State         are




                                 determinations.        Id.    Jurors weigh clinical opinion                    testimony      heavily in final
presented as clinical



                                          distinguish between more and less accurate
decisions      and often fail        to                                                                          clinical   opinion    testimony.



Id.




             In general        jurors do not scrutinize           expert testimony               as   intensely as lay testimony            and the


                    of credibility        for   expert witnesses         is falsely        enhanced.           Consequently          a jury more
presumption


                          the opinion     of an expert witness as true simply because                             of his or her designation
readily      accepts



as an expert.          Gammill 972 S.W.2d               at    722 citing Robinson                 923 S.W.2d         549 See also           Flores



v.    Johnson      210 F.3d 456 465-6 5th Cir. 2000 Garza J. specially                                         concurringthe           problem


here is not the introduction of one mans opinion                                  on anothers         future   dangerousness but the              fact




that   the   opinion      is   introduced       by one whose         title    and education            not to mention designation                as    an



expert         gives him significant             credibility    in   the eyes          of the jury as one whose opinion                comes


with the imprimatur              of scientific     fact.        Krauss             Sales supra at 273 C. Haney Violence                          and


the    Capital Jury Mechanisms                  of Moral Disengagement                     and the Impulse to Condemn                 to   Death


49 Stan.      L.   Rev.    1447      1469-70         n.113      1997 In this light capital penalty trials sometimes




                                                                             24




                                                                                                                                                              608
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become        forums in which grossly prejudicial                 and unreliable predictions of future                    dangerousness



are   presented with the imprimatur of state authority.                         citations omitted.



           The                                     of jurors      in capital            to   overestimate       the likelihood              of
                   preexisting tendencies                                       cases



violent    recidivism       the   opportunities criminal defendants                   have    for recidivism         as   well as the



              of clinical predictions of future             dangerousness         and the veracity and reliability of
accuracy


clinical   predictions in general             reinforce    the    disproportionate credence            jurors generally give



                  These tendencies                  combined        create     a dangerous       and unacceptable              risk of
expert testimony.



prejudice in capital        sentencing        proceedings.



           Adversarial testing is not a sufficient                 safeguard     against the prejudicial             effect     of



psychiatric       or psychological       predictions of future             dangerousness.        Faulty presuppositions                and



disproportionate acceptance             of expert testimony            may cause        jurors to discredit          expert testimony



and cross-examination             offered to counter        a psychiatric        or psychological         determination              of future



dangerousness.        Krauss          Sales supra at 276 E.H. Mantell                       A Modest     Proposal         to   Dress   the




Emperor Psychiatric                Psychological          Opinion in the Courts 4 Widener                  J.   Pub.      L.   53    65-66



1994 Given            a choice       between an expert who says that he can predict with                             certainty       that   the



defendant         whether confined       in    prison or free       in society       will   kill again    and an expert who says



merely     that   no such prediction can be made members of the jury charged                                 by law with making


the   prediction surely       will   be tempted to opt            for the   expert    who claims       he can help them in



performing        their   duty and who         predicts    dire    consequences         if the   defendant      is   not put to death..



The apparent endorsement                 of a medical or scientific              community can be extremely                     detrimental



to   a defendants substantive           rights.    Perez    v.    State     25 S.W. 3d 830 841 Tex.                  App.-      Houston          1



                                                                      25




                                                                                                                                                     609
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Dist.      2000     finding      trial     court erred in allowing states expert witness testimony                                as to   child



abuse      accommodation           syndrome.


            Adversarial procedures                are   generally insufficient           to   remove      the   prejudice caused           by


psychiatric       or psychological              predictions of a defendants                future     dangerousness.        Krauss             Sales



                                                            or discredit expert witnesses                            cross-examination
supra at 305. The
                                                                                                         through                                   is
                           ability    to    impeach


                                                                                     expert using statements contained
limited.                    counsel             allowed     to                 the                                                        in
              Opposing                     is                    question



treatises     and authoritative           scientific      materials          however     such    cross-examination           is   limited to



                                witness                                                  or publications upon which the expert
publications that         the                   recognizes       as authoritative




has relied. Reynolds v. Warthan                       896 S.W.2d        823 827 Tex. App. - Tyler 12th                      Dist.     1995


citing     Carter v. Steere Tank                Lines Inc. 835 S.W.2d                176      182 Tex.     App.     - Amarillo       70 Dist.

1992 writ denied.            See     also       Bowles    v.   Bourdon 219 S.W.2d 779                    783. Tex.        1949. This


detracts      from the ability       to     legitimately         subject     the testimony       to   the rigors   of adversarial testing.



            Unreliable psychiatric opinion                     testimony       creates a risk that the jury will be impressed                     in




an irrational and indelible               way. The        prejudicial        potential   of such testimony           is   great and parties


                                                                                                                           the prejudicial
confronted        with    such testimony           have limited         if    any means to rebut or remove


impact.



    B.               The Limited Probative Value of Psychiatric or Psychological Predictions of a
                     Defendants Future Dangerousness   Are Outweighed    by Their Cumulative
                     Nature.



            The   State   has no pressing             need for the admission                  of psychiatric       or psychological



predictions of future           dangerousness because                   it   has a variety      of other means available to prove



the Art.    37.071         2b1              special     question. The          predictions      are    generally ad-hoc           determinations



solicited     by a hypothetical fact              pattern      generally limited to the facts             of the specific         crime    for




                                                                             26




                                                                                                                                                        610
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which     the    defendant        has been convicted            occasionally       incorporating        supplemental             evidence such


as   extraneous         offenses       uncharged      prior   misconduct         and limited character evidence.                   The.



hypothetical           fact   pattern with or without           the   supplemental          evidence and         resulting       psychiatric          or



psychological           prediction of future          dangerousness needlessly                present cumulative                evidence



specifically       prohibited by Rule 403.



           Such predictions are needless because                      they lack validity         or reliability and thus offer



nothing    to the       jury in addition to the mere repeat recitation                      of the facts    of the crime or other



evidence        that    has already       been presented and made a part of the                   record.    Merely cumulative


evidence        that   serves no additional           purpose    must be excluded.            Sims v. Brackett.            885 S.W.2d 450



454 Tex.         App. - Corpus Christi 13th Dist.                     1994     reversing       trial   court exclusion           of expert


medical    witness            testimony    as to cause      of patients       intestinal     leak because        not    merely


cumulative             emphasis added. See also Pace                   v.    Sadler    966 S.W.2d          685 Tex. App. - San



Antonio 4th Dist.                1998 excluding personal               narrative      describing facts       already        on the record         in




medical     malpractice           case    because    cumulative       and would have only served                  to    prejudice



defendants.



           The admission              of unreliable psychiatric predictions of a defendants                            future    dangerousness



sheds   no credible scientific              medical        or other light on the individual             circumstances             of the



defendant        at issue.      The   potential     rate   of error of such        predictions     described           in Section    I   Aii
above shows that               a witness    providing       the opinion       is no   more    qualified     to   accurately        do so than


                                                                                            jurors otherwise           have access
any of the members of the jury panel might be. Because
                                                                                      the                                                  to   the




underlying evidence               presented to the opinion
                                                                      witness      in the   hypothetical fact           pattern and have



the authority to base their determination                     of future      dangerousness        on this data alone the opinion




                                                                        27




                                                                                                                                                           611
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               itself is useless      except        for   its   prejudicial        potential.    See             Long v.     State      823 S.W.2d
testimony



259 Tex.       Crim. App.       1991 excluding autopsy                      photographs          in   murder case even though


relevant     and probative          because       of prejudicial          nature and cumulative             effect    where      less
                                                                                                                                        gruesome


                   were already        in   the record           Penry v. Johnson               215 F.3d 504 513              5th Cir.
photographs



                                             expressing concern                 regarding       the   cumulative        effect    and
2000Dennis            J. dissenting



reinforcement of the erroneous admission                                 of psychiatric testimony                regarding    future




dangerousness See             also    Jasper       2001      WL 1502674 at               1-2 Conner 2001 WL1043248                        at      4
                     S.W.2d                                38 S.W.2d               146 juries may find             future
Trevino      991               at    854     Salazar                          at                                            dangerousness



based   on the facts       of the offense alone or some combination of the facts                                   of the offense        the



defendants         prior   criminal    history and juror interpretation                       of remorse or other character


evidence.



           Psychiatric testimony             offering       a prediction of a defendants                  future     dangerousness           is




cumulative      to    other testimony            or evidence       already         presented to the jury.          As a result such


                                           its   overwhelming            potential      for unfair prejudice           indelible       and
testimony especially given


irrational    impression      on the jury and consumption of judicial                             resources and time must be



excluded      under    Rule   403.



           Because      psychiatric        and psychological              predictions of future           dangerousness          impress          the.




jury in an irrational and indelible                 manner do not serve to make                       the fact    of a defendants         future




                                                                                              need of the proponent           of such
dangerousness         any more or less probable and do not                           fill a




predictions that       would not be met otherwise                        the predictions consume             an unnecessary             amount of


time in the sentencing          phase       of a capital        trial.




                                                                           28




                                                                                                                                                         612
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            For the reasons articulated     above   the minimal if any probative                  value of psychiatric or



psychological       predictions of future    dangerousness       is   outweighed by the danger              of unfair



prejudice such       predictions cause.     Any expert     testimony       incorporating such           predictions   is




inadmissible under        Tex.   R.   Evid. 403.



                                                    CONCLUSION

            For the foregoing    reasons fravis Mullis requests             that   this   Court exclude      any and all


psychiatric     or psychological      expert testimony     offered by the State           that   incorporates   a prediction



as   to   whether   he would constitute     a continuing    threat    to   society or his future         dangerousness.



                                                     Respectfully          submitted this         lit
                                                                                                        day of January 2011.




                                                         ROBERT            Ii.


                                                         SBN 12562300
                                                         111 West 15 Street

                                                         Houston       Tx 77008
                                                         713-880-4000 office

                                                         143-869-9912 fax




                                                         GERALD E. BOURQUE
                                                         SBN.027I6500
                                                         24 WaterwayAve. Suite 660
                                                         The Woodlands Texas 77380

                                                         713 862-7766              off ce
                                                         832 813-0321 fax


                                                         Counsel to Defendant Travis Mullis




                                                            29




                                                                                                                               613
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                                                  CERTIFICATE        OF SERVICE


          I
              hereby   certify   that   a true and correct copy of the above and foregoing       instr    t   has

been   furnished to counsel         for the   State   by hand-delivery   of a copy of same   this the    day of

.Januar       2011.



                                                            Robert K. Loper




                                                              30




                                                                                                                    614
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                                                                                                                                 r


                                                          CAUSE NO. 08-CR-0333                                                       FLo            r
                                                                                                                                               oVRT
THE STATE OF TEXAS                                                                      INTHE DIS                         COUR
vs.                                                                                  GALVESTON                               Y   f         S


TRAVIS MULLIS                                                                        122 JUDICIAL DISTRIC                                  o



                                                MOTION INLIMINE TO EXCLUDE
                                PSYCHIATRIC          OR PSYCHOLOGICAL TESTIMONY
                                        CONCERNING FUTURE DANGEROUSNESS

           Pursuant to the Fifth Sixth                             and Fourteenth        Amendments to the United
                                                          Eighth                                                                     States



Constitution            Art.   I        10 13 15 and           19 of the Texas Constitution               Tex. R. Crim. Pro.          28.01



and Tex.      R.    Evid. 401           403 702 703 and 705 and for the reasons set forth below and in the


attached      Memorandum of Law Travis                         Mullis respectfully       moves this Court            to   exclude    all




psychiatric        or psychological             expert opinion      testimony      offered by the State             as to   the probability



that   he will commit future                  criminal acts of violence          that   would constitute            a continuing      threat   to




society under            Tex.      Code Crim. Proc. Ann. Art. 37.071                    2b1Vernon Supp.                       2001.


                         Travis     Mullis has been indicted by the Galveston
                   1.
                                                                                                    County Grand Jury for the


               offense          of capital murder


               2.        The    State    is   seeking the death      penalty


               3.        The    State    seeks    to   call   one or more witnesses          to   offer   psychiatric       or psychological



               expert opinions                or predictions as to Travis         Mullis      eligibility     for   the death    penalty


               under       Tex.     Code Crim.          Proc. Ann. Art. 37.071               2b1Vernon Supp.                     2001.


               4.       The opinions           proffered will be either         scientific    in nature      or based       on personal


               training         and experience.


               5.       The admissibility of these opinions                is   governed          by Tex. R. Evid. 401 403 702


               703 and 705 and Daubert v. Merrell                       Dow Pharmaceuticals                 Inc.     509 U.S. 579




                                                                                                                                                        615
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        1993 Kuhmo Tire Co. v. Carmichael 526 U.S. 137 1999 Kelly v. State                                                 824



        S.W.2d        568 Tex.     Crim. App.              1992 E.I. du Pont        de Nemours and Co. v. Robinson



        923 S.W.2d          549 Tex.       1995 Gammill v. Jack                  Williams Chevrolet Inc.              972 S.W.2d


        713 Tex.        1998 Nenno              v.   State    970 S.W.2d        549 Tex.      Crim. App.       1998.


                                                             predictions as to a whether a defendant
        6.                                                                                                         will
              Psychiatric       or psychological



        constitute     a continuing         threat     to    society    or a defendants       future dangerousness                  are




        inadmissible because              they do not meet the standards               for reliability articulated          in the




        rules    of evidence      and     the    common law. Such               predictions are unreliable due to               a
        their   overwhelming         rate       of error      b   their   lack of acceptance      in the     relevant scientific



        community           c   the subjective              inconsistent    ad-hoc and standardless manner                  in




        which they are formed                d       the   absence     of a proper and adequately            reliable    data



                                                                                                seeks         admit
        source upon which to base them.                        Any testimony        the State           to




        incorporating such predictions does                       not satisfy    the reliability requirement            of Tex. R.


        Evid.     702 and must be excluded.


                                                             predictions of a defendants          future                             are
        7.    Psychiatric or psychological                                                                   dangerousness



        further    inadmissible because                they   1 do      not meet the standards for relevance



        articulated     in the    rules   of evidence           and the common law            2   they do not assist jurors



        in                      a question       of fact      as they are ad-hoc      determinations         solicited    by
             determining



        hypothetical fact         patterns       3 any        probative    value is substantially       outweighed by the


                   of unfair prejudice pursuant                 to    Tex. R.    Evid. 403.
        danger




                                                                  2




                                                                                                                                           616
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                      WHEREFORE PREMISES CONSIDERED                                     Travis    Mullis respectfully




requests that    the Court exclude           any and all   psychiatric    or psychological         expert testimony               offered



by the   State   that    incorporates      a prediction as to whether      he   is   a future    danger   or would constitute



a continuing     threat    to society.




Dated    January        11 2011



                                                             ROBERT K.
                                                             SBN 12562300
                                                             111 West     15h Street

                                                             Houston      Tx 77008
                                                             713-880-9000 office
                                                             713-869-9912 fax




                                                             GERALD E. BO RQUE
                                                             SBN.02716500
                                                             24 Waterway        Ave.     Suite 660

                                                             The Woodlands           Texas 77380

                                                             713 862-7766 office
                                                             832 813-0321 fax

                                                             Counsel to Defendant Travis Mullis




                                                     CERTIFICATE         OF SERVICE

         I   hereby     certify   that   a true   and correct copy of the above and foregoing              instru            nt   has

                                                                                                                         1


been furnished to counsel            for the State     by hand-delivery    of a copy of same          this the   i   t

                                                                                                                             day of


January 2011.




                                                             Robert K.




                                                                3




                                                                                                                                            617
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                                                                                                     JAEAN 9. MURRAY
                                                                                                    CLI%r        OIW hHCT COURT
                                                                                                                   Kip. p
                                           CAUSE NO.08CRO333
                                                                                                            JAN    14   2011




THE STATE OF TEXAS                                               IN THE           122ND    JU     %M         TON COUNTY TEXAS

                                                                                                                                 DEPUTY



V.                                                               DISTRICT               COURT OF

TRAVIS JAMES MULLIS                                              GALVESTON COUNTY TEXAS



                                    MOTION FOR PRODUCTION
                                          OF RECORDS


TO THE HONORABLE JUDGE OF SAID COURT

       COMES NOW TRAVIS JAMES MULLIS                                    Defendant          in the     above        styled   and




to-wit
numbered       cause by and        through      his    counsel         of   record        and     files   this    Motion       for




Production     of Records.       For good      cause    the    Defendant would               show the        following




      1.     TRAVIS JAMES MULLIS is charged by indictment                                 with Capital        Murder. The


             State   of Texas   is seeking    the death penalty.




      2.     The Defendants background                 including all mitigating                 factors     are relevant       to




             the   due administration of justice in a capital                 murder case.


      3.     Defense    counsel    are   charged       with    the     duty       of   seeking-    a full    and complete



             history of the     Defendants      life   beginning        with      all
                                                                                        possible    birth factors.




      4.     The Defendants        birth     records    including these                medical     records of his birth



             mother are relevant      to the    due administration of justice.


      5.     The     Defendants     birth      mother         Sheila        Lee    Wallace         had      serious     health




                                                                                                                                          618
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            problems that          ultimately      caused    her death           within weeks             of     the   Defendants


            birth.




      6.    Carolinas        Medical      Center formerly            Charlotte Memorial                          and     Carolinas



            Medical         Center    Northeast        formerly Cabarrus                    Memorial                         medical
                                                                                                               possess


            records     for Sheila     Lee Wallace and the Defendant                            Travis Wallace/Mullis.



     7.    After      the   death of the Defendants birth mother he was adopted.                                       The records


           regarding         the   adoption     are    likewise    material to the                  due    administration of



           justice.         The Defendants            adoption     occurred                in   either    North Carolina            or




           Maryland.               Defendant       seeks     records        of    his       adoption       from        the   proper


           authorities in either North Carolina or Maryland.




     8.    The Defendant           may be known as Travis              J.   Mullis or Travis              J.   Wallace       and   his



           date of birth is September 20 1986.



     9.    The Defendants             biological      mother may be known                          as   Sheila     Lee   Wallace


           Sheila     Lee    Goodson      Sheila      Lee Moore     and Sheila                  Lee Devlin with          a date of



           birth listed      as   May 31 1949.

     10.   The Defendants            biological     father   is   known          as   Bobby Ray Wallace or Bobby


           Ray Dancy with            a date of birth listed       as February              7 1944.

    11.    The Defendants             mother and father by way                        of    adoption        are    Anne       Marie



           Barry Mullis       DOB 1/12/55           and Gary Lynn Mullis                    DOB 6/26/52.

    12.    The Custodian           of Records     for Carolinas Medical                Center       is Ms.     Keitha Eddins.




                                                                                                                                         619
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                Ms. Eddins       is    the     Director         of Medical     Records     and she can be found                at 1000




                                                                  NC 28203.                                 number is

                704-355-2000.
                Blythe     Boulevard Charlotte                                     The telephone




          13.   The Custodian            of    Records           for Carolinas         Medical      Center-Northeast           is    Ms.



                Geraldine Auton.               Ms. Auton          is   the   Director    of Medical       Records       and she can


                be    fround     at    920     Church           Street   N. Concord            NC 28025.               Ms.   Autons


                telephone      number is 704-403-3593.


          14.   The Director          of Children         Services       for North Carolina             and/or      Maryland    is   not



                known at       this    time and should              be referred        to as the    Custodian         of   Record    for



                Children    Services          of   North Carolina and Custodian                     of Records         for Children




                Services   of Maryland.




          WHEREFORE PREMISES CONSIDERED                                          Defendant         prays the         Custodians       of




Records     for Children         Services          of   North Carolina and Maryland                      Ms.     Keitha Eddins        of




Carolinas       Medical     Center           and        Ms.     Geraldine      Auton      of   Carolinas         Medical


Center-Northeastbe ordered        to    produce           all    medical     records and          adoption          records in their



possession regarding             Sheila       Lee Wallace Bobby Ray Wallace Travis                             J.   Wallace/Mullis



Anne Marie        Barry Mullis and Gary Lynn Mullis                            by January         10 2011 by delivering              the




same with        an   attached        business          records affidavit         to    Gerald     E.
                                                                                                         Bourque        Attorney      at




Law 24 Waterway            Ave.        Suite    660 The Woodlands TX                     77380.




                                                                                                                                           620
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                                                       Respectfully           submitted




                                                       GERALD           E.   BOURQU
                                                       State   Bar No. 02716500

                                                       24 Waterway            Ave.    Suite 660

                                                    The Woodlands TX                    77380

                                                    Telephone 713-862-7766

                                                    Telecopier 832-813-0321




                                                   ROBERT K. LOPER
                                                   State       Bar No. 12562300
                                                    111 West       15h Street

                                                   Houston         TX         77008

                                                   Telephone            713 880-9000
                                                   Telecopier           832 869-9912


                                                   ATTORNEYS FOR DEFENDANT
                                                   TRAVIS JAMES MULLIS




                               CERTIFICATE OF SERVICE


      I   hereby    certify   that   a   true    and     correct    copy         of   the    above       and    foregoing


instrument   has    been      furnished     to    the     District                          on                             of
                                                                             Attorney             this              day


                   2010 by hand      delivery.



                                                                                                 JASON     E.   MURRAY
                                                                                                 tU HK DISTRICT       COURT
                                                                                                           PILE



                                                                                                     JAN       14   2011
                                                  GERALD           E.    BOURQ
                                                                                            GALVESTON COUNTY TEXAS
                                                                                            BY
                                                                                                                           naau




                                                                                                                                  621
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                                                                                                                                                CLERK DISTRICT          COURT
                                                                                                                                                               FILED


      rip            UCMUfl                 7j                                       drs
                                                                                           rRICO   CoU4
                                                                                                        o3                                              JAN

                                                                                                                                          I- -ST01441 GOUNT-31               -1.
                                        SUBPOENA ISSUED IN THE NAME OF THE STATE OF                                                                 S
  This subpoena           not prepared by the office               of Jason E. Murray District                        Clerk Galvesto                                         oa   urv



  CAUSE NO. 08CR0333                                               THE STATE OF TEXAS                                         122 JUDICIAL DISTRICT COURT
  Present Term         2011                                                          VS.                                      Galveston County       Texas
                                                                   TRAVIS        JAMES MULLIS
                                                                        Defendant/s           Name

          TO ANY PEACE OFFICER              OR BY ANY OTHER PERSON WHO IS OTHERWISE                                 QUALIFIED      OF THE STATE OF TEXAS GREETING
                                                      YOU ARE HEREBY COMMANDED TO SUMMON
    WITNESS         NAMES/ADDRESS/VOCATION                                                                                                          DATE/TIME          SERVED

    IOfficer A. Wardlow-Smith 6998-                      P.P.D.



    2 Officer M. Munroe 9894- P.P.D.
    3 Detective      R.   Hesser- P.P.D.


    4 Detective      McNamee-         P.P.D.



    5 Detective      Pironne- P.P.D.


    GPD POLICE OFFENSE             REPORT      NO.2008-00003872



    Upon    receipt of subpoena please         call   Kayla M. Allen at 409766.2488                 OR email me at
                                  PLEASE BE ON STANDBY FOR
    Kayla.allena-co.ealveston.tx.us.                                                                                  and PROVIDE        ME
   WITH AN IMMEDIATE CONTACT NUMBER
 If to be found in your County to be and appear at 830 oclock A. M.                                     on the     7 day of March 2011
 Before     the   Honorable    JOHN ELLISOR              in the    122 District Court of Galveston County                        Texas   to   be held within    and for said
 County     at the   Court House        thereof    in Galveston      then    and there       to testify      as   a witness    on behalf of the State    in a certain   pending
 criminal     felony      action    and there     to remain from      day to day        andfrom term to term until discharged by said                     Court.

 The witness is further commanded                     to produce    at the said      time and place above set forth the following



 Please bring with you                                                                  minor/s


On this day came forward                               19Ln                                                 applicant signature attorney for the State and
files this application        for subpoena        to compel   the attendance         of the above named witness on this                  18
                                                                                                                           day of January 2011 that said
witness     is necessary.




             HEREIN FAIL NOT and make due return                            hereof showing              how you have executed the same.


Witness     my official     signature       on this   18 day of January A.D. 2011 attested to

                                                                            JASON E. MURRAY                   District Clerk      Galveston County Texas

Subpoena      instructions

          Send to Sheriff


X         Pickup                                                            By                                                                                Deputy Clerk


                                                                        RETURN OF SER VICE
Received     this   Subpoena       on the               day of                                     20         and executed       the same as    shown above by delivering         a

copy of this subpoena          to the within      named witnesses           in the   city    of                                  and county    of
Texas
Service     Fee $                                                                                                                     of Officer
                                                                                                                         Signature                  or Qualified    Person




                                                                                                                                                                                        622
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                                                                                                     CLERK DISTRICT        COURT



                                          FILED-Cause No.     08CRO333                                   JAN   1   8   2011




THE    STATE       OF TEXAS                                         IN THE     DISTRICT                        COUNTYTEXAS
                                                                                                jfAff5W
                                                                                                DY
                                                                                                                              DEPUTY
VS.                                                                 GALVESTON COUNTY              TEXAS

TRAVIS          MULLIS                                              122TH    JUDICIAL      DISTRICT


        MEMORANDUM          IN RESPONSE          TO     DEFENDANTS MOTION TO SUPPRESS

TO    THE       HONORABLE     JUDGE    OF       SAID    COURT



        Comes       NOW      THE    STATE        OF    TEXAS         by     and   through       her     Criminal


District           Attorney        Jack         Roady         and         files    this    Memorandum               in


Response           to    Defendants             Motion         to     Suppress           Evidence          namely


statements          and physical           items

                                                         I.



                                    DEFENDANTS ALLEGATIONS

        The       Defendant        alleges        that        his     confession          was     involuntary

and     was       the     result      of        promises           and      coercive      action          by       law


enforcement             officers.          He    further            alleges       that    the     he     was       ndt


warned      of     his statutory          and     constitutional               rights.      Additionally

the   Defendant          alleges      that       he    invoked        his     right to      remain         silent


and   was        repeatedly        interrogated             by      the     officers     after        doing     so.


The   Defendant          further     states        that       he    was     denied     access        to counsel


after       a    timely     request        and     was        not     immediately         taken        before          a



magistrate for              his    statutory           warnings.              Finally       the       Defendant




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 alleges      he       was    arrested              without        a    valid       warrant       and   without             any

 statutory         exception.


                                                                II.


                                                 SUMMARY         OF FACTS

          Travis       Mullis           stands       charged           with    the    Capital       Murder            of    his

 infant      son           Alijah Mullis.                    The        Defendant          is                    to        have
                                                                                                 alleged


intentionally and                   knowingly             caused        the     death      of    Alijah           a    child

under       the    age       of     six        on    the     29th       of    January       2008       in       Galveston


County       Texas.




         After         a     deceased                infant            was     found        by     civilians                 at


approximately 900                       a.m.     CST       at    Seawall        Boulevard          east         of     Condo


Road        Galveston          Police           officers            were      dispatched          to    the           scene.


They     later      interviewed Caren                      Kohberger           at    her    residence            at        1100

Fox    Meadow          212         Alvin            Brazoria           County Texas.              She       positively

identified         a   photograph              of the        deceased          infant            her
                                                                                            as          son          Alijah

Mullis.       She      stated           that    the       defendant           had    left with         their infant.


son    at    430           a.m.     on     that           same      day      and     had    not     returned.               By

1/31/08      12.10          a.m.        CST         the    Galveston           County       District            Attorney

caused      an     alert           to     be     entered            into      TCIC/NCIC           for       a    special


investigative              hold     to    be        placed       on     the    defendant         for    a       possible




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 homicide        of    an    infant    and       also        placed      a     hold       on    a     vehicle       that


 may     be    associated          with     the         crime     namely            a     2002                     with
                                                                                                      Hyundai

 Texas    license        plates     067RJP.




       Galveston         Police     Sergeant            A.   Almandarez informed                      Alvin     Police


 Detective        Patrick      Moore       that         there     had    been        an    out-         cry     of    an


attempted        sexual       assault       of      a     child     by    the       defendant                         to
                                                                                                        alleged

have     occurred        1-29-08.         The     child Cecilia Duarte                           resided      at     the

same      Fox    Meadow       address           along        with       her     mother              her     mothers

boyfriend         her brothers              Caren        Kohberger            the       Defendant           and baby


Alijah.


         Based    upon      interviews          and      a   police      investigation                  on January

31St   2008      at    455 p.m.CST              a       sworn     complaint             was     filed       alleging

Travis    Mullis       committed          the    Felony         Offense        of Enticing              a   Child    on


1-29-08.          That      information             was      also     entered            into       TCIC/NCIC        at


532    p.m.      CST   on 1/31/08.


         On      2-1-08       at    approximately                   150        EST        in     Philadelphia

Pennsylvania           the    Defendant         turned himself                 in    to    the      Philadelphia

Police        Department.      He     was    greeted            initially           by    two       Philadelphia

Police        officers        Andrea        Wardlow-Smith                and    Michael             Munroe.          He


made   spontaneous           and   voluntary oral               statements              that     he    was    wanted




                                                                                                                           625
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in     Texas         for           kidnapping                murder           and        a     stolen           auto.            He


voluntarily              provided identifying                         information             so    that       the    officers


could        check       NCIC        to    confirm       any       outstanding arrest                      warrants          from


Texas.            After        the    defendant          made          the    admission             of     being          wanted

and     with       an     NCIC        confirmation                 he       was     placed          in    handcuffs           and


patted        down.           He    voluntarily made the                      statement            to Officer             Munroe


I stomped            his       head         I    just kept            stomping         his     head.            He    said       it


was     a baby            my        son.         The     defendant             also          stated       that       he    had     a



vehicle           that    he       had     parked       in    a   nearby          lot.        He    also       showed       them


his parking              ticket.


        A     Corporal              Robert         Pawlowski            with        the       Philadelphia                Police


Department           checked              the    computer             and    at     approximately                200        p.m.


EST    provided           the        officers          with       a    copy       of     the       NCIC     confirmation


showing       that        the       Defendant           was       wanted       in      Texas.            The    NCIC       shows


both        the    Enticement               of     a    Minor          from       Brazoria            County         and     the


investigative              hold           for    the    Defendant             and        for       Caren       Kohbergers

vehicle       out        of    Galveston County.                        Based          upon        the    confirmation

Homicide          Detective               Robert       Hesser         was    contacted             by     Officer          Smith


and    he    came       down       and took         custody           of the       Defendant.


        Detectives                 Pirrone       and     McNamme             of     the       Philadelphia                Police


Department              obtained            the        parking          ticket               and     keys        from        the




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 Defendant              and        located              the         vehicle.               According               to     police


 departmental                 policy               the         Detectives               inspected            it     prior         to


 releasing          it    to       a    civilian           wrecker.                At    approximately 330                     p.m.


 EST     they       located             a    Powerline              Daisy     BB        pistol    within           plain       view


in    the     vehicle.


         At      355     p.m.          EST        the     Defendant           was       given     his Constitutional


Miranda          warnings          in       compliance           with        Pennsylvania              law       by.Detective


Hesser        and Rodden.                   He    affirmatively waived                     all of his              rights and


agreed        to    give       a       written          and     audio        recorded           statement.              Then     at


504      and       507        p.m.           EST    the        Defendant            signed        his       written        Texas


statutory           written             warnings           and        he     affirmatively                  waived        those.


The    written           statement               then     began        at     512        p.m.     EST       and     concluded


at    810        p.m.     and          was       signed        by    the      Defendant           at    842        p.m.        EST.


After       the     Defendants                   confession            was       communicated               to    members        of


the    Galveston           County District                      Attorneys Office                       at    915                 on
                                                                                                                        p.m.


2-1-08           Judge        Lonnie             Cox      of     the        56th        Judicial        District           Court


signed       a    capital          murder warrant                   on the         Defendant.


        At       955     p.m.          EST         the    videotaped statement                         was       begun    after


he    was        given     the          Pennsylvania                 warnings.              The        video       statement


concluded          at    1037           p.m.       EST.        After       the     defendants               confession            a



search       incident          to      arrest        was       conducted            and the       defendants              shoes




                                                                                                                                       627
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and     clothing       was       taken        from    him    at     approximately 1115                               EST
                                                                                                            p.m.


on     2-1-08.       The     Defendant             confessed         that       the    clothing           and    shoes


he     had   on were        the    same       he   wore      when    he       stomped        the    childs head

causing       his   death.


        The     Defendant           never          invoked        his      right        to        counsel       or    to


remain        silent.         He        never         requested            that       the          interview          be


terminated.          The      Defendant            initialed         and       signed        his    warnings         and


was     allowed        to        make     any        changes         he       wished         to     his      written


statement.             He        was     never         threatened               coerced             or      promised


anything.


        On    2-2-08        at     630         p.m.        EST    the      Defendant           was       given       his


magistrate          warnings            and     arraigned           on     a     Felony           Fugitive         from


Justice       Complaint            that        had     been        executed           that         same      day      in


Philadelphia.


        On    2-4-08    at       916     a.m.        EST    the     Bail       Commissioner             signed       the


evidentiary search                warrant          for the        Hyundai        vehicle           in   compliance

with    Pennsylvania             law.      At      1115      p.m.       EST    with     the       assistance         of


Galveston       Police       Department               the    vehicle          was   search         and    items of


clothing       paperwork            and baby          items were           recovered.              An    inventory

of the property was                done.




                                                                                                                           628
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                                                               III.


                                        SUD44ARY         OF APPLICABLE LAW




         The       Defendant            was    arrested             in    Philadelphia                Pennsylvania.             A

Court     upon          its       own     motion         may         or     upon       the      motion of          a     party

shall          take           judicial              notice           of     the        constitutions                   public

statutes            rules           regulations                 ordinances                 court       decisions            and

common     law         of     every         other        state            territory             or    jurisdiction           of


the     United          States.         A      party          requesting             that       judicial         notice      be

taken      of          such        matter            shall           furnish           the       court         sufficient

information             to    enable          it    properly to comply with                          the    request         and

shall give          all parties                such      notice           if    any        as   the    court      may deem

necessary              to    enable           all    parties             fairly       to                    to    meet      the
                                                                                             prepare

request.           A        party        is         entitled             upon        timely           request          to    an


opportunity             to    be    heard           as   to     the       propriety of                taking      judicial

notice     and         the     tenor          of     the      matter noticed.                   In    the     absence        of


prior notification                      the        request      may be made after                     judicial         notice

has    been    taken.             Judicial          notice          of    such       matters         may be       taken     at


any    stage       of       the    proceeding.                The        courts determination shall be

subject       to    review         as     a    ruling         on     a    question          of law.         Texas       Rules

of Evidence             Rule       202        Nonn       v.    State           117    S.W.      3d    874   Tex.        Crim.


App.     203.          The        State        would          urge        this       Court       to    take       judicial




                                                                                                                                    629
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knowledge          of     the      Pennsylvania Rules                       of    Criminal Procedure                           Rule


200 and       18    Pa.C.S.A                  5702-5704.          See       Exhibit All.

        Texas       law         states         that        a    written               oral        or     sign            language

statement           of       an         accused          made        as     a        result        of        a       custodial


interrogation                is    admissible              against          the        accused          in       a    criminal


proceeding          in       this        state      if         1 the statement was obtained                                      in


another       state          and        was    obtained          in       compliance              with       the         laws    of


that    state       or this state.                   Texas       Code       of    Criminal Procedure                           Art.


38.22     Sec.          8.        The     State          has     provided              a    sworn        affidavit               of


Pennsylvania             law       expert Ann                  Ponterio          see       Exhibit           B swearing
that      the        defendants                     statements                 are         in     compliance                   with


Pennsylvania             law.


                                                               IV.


                                          ARREST         OF THE       DEFENDANT

        The        Defendant             turned          himself          in     at    a        time    when         a    Felony

warrant     was         filed       out       of    Brazoria           County          Texas.            Additionally

there     was       an       investigative                 hold        for       the       Defendant             and       Caren


Kohbergers               vehicle          out       of         Galveston             County            Texas.              After


confirming         these          hits on NCIC                       Det.      Hesser       took       custody            of    the


Defendant.The                Defendant             was     given          his     Miranda          warnings               during


custodial          interrogation                    both        in        compliance              with       Miranda             v.



Arizona       384        U.S.       436       1966             Texas        law       Texas       Code       of      Criminal


Procedure       Art.         38.22       and       Pennsylvania             law.




                                                                                                                                      630
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                                                                    V.


                                   ORAL       STATEMENTS      BY THE          DEFENDANT




         The       Defendant              made     several          statements                to        law     enforcement


personnel           at       the    time he       surrendered and was                     booked.               Spontaneous


statements              by    a    defendant       do not         implicate          Texas          Code       of Criminal


Procedure               Art.       38.21         38.22        38.23          Sosa        v.    State           769    s.w.2d.


909      Tex.            Crim.          App      1989.             Neither           does           routine           booking


questions.              Pennsylvania v.               Muniz 496          U.S.       582        1990.


         Additionally                     the     Defendants                 custodial              oral        statements


were    videotaped with                   warnings          that    were          knowingly              intelligently

and     voluntarily waived                        and       all     voices          on        the        recording          were


identified.                  Furthermore              the    Defendant             was    given           a    timely       copy

of     the     statement.               Texas     Code       of     Criminal             Procedure              Art.       38.22


Sec.     3.        Additionally                  38.22       sec.        3    shall           not         apply       to     any

statement           which           contains          assertions             of    facts           or        circumstances


that     are       found           to   be     true     and       which       conduce              to     establish          the


guilt    of        the       accused           such    as    the    finding          of       secreted           or    stolen


property           or    the       instrument          with    which          he    states          the        offense      was

committed.               After          the     Defendants               confession                 he        identified       a


location           on    a    Google       map    where       he    had       committed             the        offense      and


where        the    baby          and     other       evidence       were          found.               He     also    stated




                                                                                                                                   631
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that        he    committed          the        offense          in    the       clothing          he      was     wearing.

The     officers          took        custody             of    the        clothing          which         included            his

shoes.            The    pattern          of    the       tread       on     the      bottom of his                shoe        was

consistent              with    the        indentation                that       was       left       on     the    childs

head.           Additionally              DNA       of the      child        was      also      found        on the          shoe.


        The        videotaped              statement              was           also       in      compliance                 with


Pennsylvania             wire       tapping           laws       where          it     shall       not       be    unlawful


and    no prior court                approval             shall       be    required            under      this     chapter

for         A     person            to         intercept          a        wire            electronic              or        oral


communication              where          all parties             to       the    communication               have       given


prior        consent           to     such          interception.                     18    Pa.C.S.A.              Purdons

Pennsylvania Statutes                       and       Consolidated                Statutes            sec.     5704.          The


defendant           consented             to        the        videotaping             of       his     statement               to


Detectives              Hesser        and        Rodden          and        completed             their           necessary

written          forms.


                                                                 VI.


                                    WRITTEN          CUSTODIAL          STATEMENTS


            Additionally the                   Defendant         gave       a    written          statement             to    the

police.           He     was    given           his    Miranda             warnings          and      Texas        Code        of

Criminal Procedure                  Art.       38.22       warnings              namely

a the accused                   prior          to    making the              statement             either          received

from    a    magistrate             the    warning             provided          in    Article         15.17       of        this




                                                                                                                                     632
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code     or    received from the person to whom the statement                                                        is made      a



warning        that           emphasis             added

 1      he    has    the        right to             remain           silent      and    not     make      any       statement

at    all and        that       any          statement           he    makes       may be used            against         him at

his     trial

 2 any statement                        he    makes      may      be used          as   evidence          against         him in


court

3 he has the right                            to    have    a     lawyer          present      to    advise          him prior


to    and during              any   questioning

4       if    he    is    unable             to     employ       a    lawyer        he    has       the    right to         have


a     lawyer        appointed                  to       advise         him        prior     to       and        during       any

questioning               and


5 he has the right                            to    terminate           the       interview         at    any    time.       The

Defendant          knowingly                  intelligently               and voluntarily                  waived         all of

his    rights       and gave                 both    a   written         and oral          statement.


                                                                       VII.


                                                   MAGISTRATE WARNINGS

         The       Defendant             was        taken    before           a   Magistrate             within      48   hours


on    2-2-08.            He    received             his     warnings          in    Philadelphia              by means       of


an electronic                 broadcast             system       and was          also appointed                an   attorney

to    represent           him       for           his    extradition               process.              An     officer      or


person       executing              a    warrant            of       arrest        shall    without             unnecessary


delay    take       the person                 or have       him taken             before       the       magistrate        who




                                                                                                                                      633
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 issued       the       warrant      or    before           the    magistrate named                   in    the       warrant

if     the        magistrate          is        in    the        same       county       where         the       person        is


arrested.                If    the     issuing             or     named           magistrate           is       in    another


county            the     person       arrested             shall       without          unnecessary                 delay     be

taken        before           some    magistrate                  in    the        county        in    which           he     was

arrested.           Texas        Code          of     Criminal              Procedure            Art.           15.16.        The


person        making          the    arrest           or     the       person        having           custody          of    the


person        arrested          shall       without              unnecessary             delay         but       not        later

than     48        hours       after       the        person           is    arrested            take           the    person

arrested or have                 him      taken        before           some      magistrate of the                    county

where        the    accused         was    arrested              or     to    provide         more      expeditiously

to     the    person          arrested          the        warnings          described by              this          article

before        a     magistrate             in        any     other          county       of      this       state.           The

arrested person                may be           taken       before          the    magistrate              in                 or
                                                                                                                 person

the     image           of    the      arrested              person          may     be       presented               to     the

magistrate           by       means       of     an        electronic             broadcast           system.              Texas

Code     of        Criminal          Procedure                Art.          15.17..         If    the           magistrate

determines           that      the        arrest           was    lawful           the    person            arrested          is


considered          a     fugitive         from        justice              for    the   purposes               of    Article

51.13        of     this       code         and         the        disposition              of    the                         is
                                                                                                                person

controlled           by       that     article.                  Additionally               the       Defendant              was

Magistrated when               he    arrived           in    Galveston             County        Texas.




                                                                                                                                    634
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                                                          VIII.


                                          FUGITIVE            FROM JUSTICE




              The    NCIC     that      was    run       in    Philadelphia          before             the          Defendant


was     taken        into     custody         stated          that    there       was     a    felony                complaint

for which            Texas    would       extradite.             When        a     complaint                is       made      to    a



magistrate that               any      person       within       his       jurisdiction                 is       a    fugitive

from         justice        from       another       State           he     shall       issue           a    warrant                of


arrest         directing           a    peace       officer           to     apprehend             and           bring          the


accused         before        him.        Texas          Code        of     Criminal           Procedure                       Art.


51.03..              The     complaint         shall be         sufficient           if       it    recites

1.     The    name of the           person      accused

2.    The     State    from which          he has         fled

3.    The     offense       committed          by the         accused

4.     That     he     has     fled       to       this       State        from     the       State              where         the


offense        was    committed           and


5.    That     the    act     alleged         to   have        been       committed by the accused                                  is


a    violation         of    the       penal       law    of    the        State    from           which             he     fled.


Texas        Code    of     Criminal Procedure                   Art.        51.04.           A                           in
                                                                                                    person                     any

other        State     of     the       United       States          charged        with       treason                    or   any


felony        who    shall     flee       from      justice           and    be    found           in       this          State




                                                                                                                                         635
    Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 242 of 260




shall        on        demand      of        the       executive             authority        of     the        State       from


which       he     fled be delivered                      up       to    be    removed       to    the     State        having


jurisdiction                of    the    crime.         Texas       Code       of Criminal Procedure                        Art.


51.01.           All    peace        officers            of    the        State       shall        give     aid        in    the


arrest           and    detention            of    a    fugitive             from    any    other     State        that       he


may be held             subject          to    a   requisition                by the       Governor        of    the    State


from which             he    fled.       Texas         Code    of Criminal Procedure                       Art.        51.02.


Pennsylvania                also     filed         a    Fugitive             from    Justice        Complaint           after


the    Defendants                arrest.


                                                               IX.


                                                  SEARCH       OF VEHICLE


           The    Defendant             does       not    have          standing       to    contest        the        search


of Caren          Kohbergers                 vehicle       that         he    took    without        her permission


out     of        state.           Additionally                    he        consented        by     providing              the


Philadelphia                officers          with      the    keys parking                 ticket        and     location


of    the    vehicle             after       stating       that         he    was    wanted        for auto         theft.


A    Daisy        BB    pistol          was       found       by     Detectives            Pirrone         and     McNamme


when    they       did their initial                     check       of the         vehicle        before       releasing

it    to     a     civilian          tow          truck.           Then         on    2-4-08          after        a     Bail


Commissioner signed                      a    search       warrant             the     vehicle        was       searched.




                                                                                                                                   636
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Pennsylvania Rules      of Criminal Procedure              and Investigations      Rule


200.



       WHEREFORE       PREMISES         CONSIDERED         the     State   prays   that


Defendants    Motion    to   Suppress      evidence       be denied.


                                  Respectfully submitted




                                  JACK ROADY


                                  Criminal District         Attorney




                                  Donna    W.    Cameron     First Assistant


                                  Criminal District         Attorney

                                  600   59TH    Street     Suite   1001


                                  Galveston        Texas   77551


                                  409     766-2360


                                  FAX      409      765-2914


                               SBOT            03675050




                                                                                          637
Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 244 of 260




                                Certificate of Service




            I    hereby      certify    that    a   true and      correct    copy       of the


foregoing       has   been    served    on   Robert   K.   Loper         attorney for Robert

Stevens         by hand      delivery   on     this the    18th    day    of January        2011.




                                                      JOV                      VV   -
                                                                                        al
                                                            Donna    W.     Cameron




                                                                                                    638
                                                                                                                                                     Case 3:13-cv-00121 Document 119-18 Filed on 01/23/19 in TXSD Page 245 of 260
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                                                                                                                                    v.                                                                                                                                                                                                                                        property                                               property                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               to                                Pittsburgh                                                                                                                                                                                                                                                                                                           to
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                                                                                                                                        v.                                                   and                               such
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        v.                            per                                                                                                         by                                                                                                                          not                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           as




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                                                                     AFFIDAVIT



          COMMONWEALTH OF PENNSYLVANIA

          COUNTY OF PHILADELPHIA


          Before      me the undersigned                 authority in and for the State of Pennsylvania                 on this day

          personally            appeared        Aran Ponterio who after being duly sworn                           deposed      and said



          My name is Ann Ponterio. I am of sound mind over 18 years of age and competent
          to   give   this       affidavit.




      In       1981        1   graduated from St. Bonaventure               University Allegany              New York with a B.A.
      in       Mass Communications and a minor in Business.                              In   1984    1   graduated from New

      England              School of Law Boston                  Massachusetts     with a Doctor             of Jurisprudence Degree.

      In1994           I       graduated from the University            of Pennsylvanias             Fels School     of Government

      with- Masters                in   Government        Administration.     I   have    been licensed         to practice    law in the
      State of Pennsylvania                      since   1984.



      i   am an Assistant                District Attorney        in the Philadelphia         District Attorneys        Office     and

      currently            the Assistant         Chief of the Homicide Unit.             I have     been a prosecutor since          1984
      and have been a trial attorney                      from 1984     to 2003     when      I   became the Assistant          Chief of

  the          Homicide            Unit.    I   worked    as a prosecutor in the Municipal                Court Unit Juvenile         Court

  Unit Rape Unit and Major Trials Unit prior to being assigned to the Homicide Unit in
  1990. 1 have tried over 100 homicide trials 25 rape jury trials and 100 major case trials

  waiver and jury trials. My duties as Assistant Chief are to manage and supervise    19

  attorneys assist them in their preparation and trials and give them advice on legal issues.

  I       train   all the         attorneys      I   supervise through    monthly        training sessions        that are open      to the

  entire unit and through                        individual      training per Assistant        District Attorney               trial. I   also
                                                                                                                       per
  approve search warrants and affidavits of probable                                 cause for arrest warrants for homicide
 detectives                in the Philadelphia Police              Department.


 I have           reviewed              the statements     given by Travis        James Mullis d.o.b. 9-20-86 to officers
                                                      Department on February
                                                                                                               A
                                                                                     1 2008 which statements are
                                                                                                                                 B
 of the Philadelphia                       Police

 attached             hereto        and incorporated herein           for all purposes as Exhibit                    Exhibit              and
 Exhibit              C.

     my legal opinion based on the information and documents provided me and based
                                                                                                                                  A
 It       is


 on my training and experience that all of said statements as contained in Exhibit
 written statement of Travis James Mullis Exhibit
 statement of Travis                       James Mullis were obtained
                                                                                     B
                                                                                   in compliance
                                                                                                  and Exhibit    C    audio-      video
                                                                                                           with the laws of the State

 of Pennsylvania                        and would be admissible in Pennsylvania                    against    Mr. Mullis in a

 criminal             trial.




                                                                                                                                                 64E
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  I    understand that this affidavit                  is to   be used as evidence          in   the case of the   State of Texas

  v.    James Mullis No.08CR0333                            District Court of Galveston            County Texas       122nd

  Judicial         District       in which Mr. Mullis is charged with Capital                       Murder.



  I    have read the above                 statement        which is based on documents and information provided
  to    me and my personal experience                          and   it   is true   and correct.




                                                                Ann Ponterio
                                                                Assistant Chief                  Homicide Unit
                                                                Philadelphia District Attorneys Office




 Sworn and subscribed before me
 thiso     i        day of     Q LLA                2009.

                             47            64



       e1jaza                                   1.et
  NOTARY PUBLIC
 STATE OF PENNSYLVANIA

 COMMONWEALTH OF PENNSYLVANIA
                    NOTARIAL      SEAL
       COLLEEN E. BAUER            Notary    Public

        City   of Phfladei        Phila.   County
       Commission      Eom December 20 2010




                                                                                                                                    6
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                                                                                                                   COURT
                                                                                             CLERK DISTRICT
                                                                                                       FILED


                                             Cause No.          08CRO333                          SAN 19       2011



THE     STATE      OF TEXAS                                          IN THE      DIST     RLTy        tRcW$TY          T
VS.                                                              GALVESTON CO

TRAVIS       MULLIS                                              122TH       JUDICIAL        DISTRICT


         STATES             REQUEST    FOR     PRELIMINARY RULING ON ADMISSIBILITY

TO    THE    HONORABLE            JUDGE   OF SAID        COURT



        Comes       NOW        THE    STATE        OF   TEXAS         by     and    through       her    Criminal


District           Attorney           Jack        Roady         and        files     this      Memorandum              in


Response           to       Defendants            Motion        to     For       Preliminary           Ruling          on


Admissibility under                    The     Texas       Rules       of     Evidence           Rule     104         and


would       show    this Honorable                Court

                                                           I.



                                             SUMMARY        OF FACTS


        Travis          Mullis       stands       charged with             the     Capital       Murder       of      his


infant       son        Alijah        Mullis.           The      Defendant           is      alleged      to       have


intentionally and                  knowingly        caused           the    death    of      Alijah       a    child


under       the    age       of    six    on      the   29th     of        January      2008     in    Galveston


County Texas.




        After           a     deceased            infant        was        found        by     civilians              at


approximately 900                  a.m.      at    Seawall       Boulevard           east     of Condo         Road




                                                                                                                            650
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Galveston           Police          officers           were      dispatched                  to        the    scene.           They

 later       interviewed            Caren        Kohberger           at       her residence                   at       1100     Fox


Meadow         212           Alvin          Brazoria            County              Texas.              She        positively

identified          a   photograph              of the       deceased          infant             as    her    son       Alijah

Mullis.        She      stated           that    the       defendant          had    left          with       their infant


son     at     430       a.m.        on     that       same        day        and     had          not       returned.          By

1/31/08        12.10         a.m.        CST     the       Galveston           County             District             Attorney

caused        an    alert           to    be     entered           into        TCIC/NCIC                for        a    special


investigative            hold        to    be    placed         on   the       defendant                for       a    possible

homicide       of       an    infant       and        also      placed         a    hold          on    a    vehicle          that.


may     be    associated             with       the        crime     namely              a    2002           Hyundai          with


Texas     license        plates          067RJP.




       Galveston         Police          Sergeant          A.   Almandarez informed                          Alvin       Police


Detective          Patrick      Moore           that       there     had       been      an        out-        cry        of    an


attempted          sexual      assault           of    a     child       by    the       defendant             alleged          to

have    occurred         1-29-08.              The    child Cecilia                  Duarte             resided          at    the


same     Fox       Meadow       address              along      with       her       mother                 her        mothers

boyfriend          her brothers                 Caren        Kohberger             the       Defendant                 and baby


Alijah.




                                                                                                                                      651
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           At    355        p.m.     EST       the    Defendant         was       given    his Constitutional


    Miranda      warnings          in    compliance          with      Pennsylvania           law      by    Detective


    Hesser      and    Rodden.           He    affirmatively waived                   all of his            rights and


    agreed      to    give    a     written          and   audio       recorded           statement.           Then    at


    504    and        507     p.m.        EST    the       Defendant          signed       his     written          Texas


    statutory          written            warnings           and        Pennsylvania              warnings            and


    affirmatively waived                  those.           The    Defendant         confessed           that    he    had


attempted             to    sexually          assault       Cecelia          Duarte       early    that       morning.

He     became        afraid        that       she would      tell her             mother Michele               and the


Defendant            would     get      in     trouble.          He    tried to       leave       the    house       that


day       and    Caren       Kohberger           urged      that       he    take    Alijah with             him.      He


shortly          thereafter             committed          the        Capital       Murder        of    Alijah and

then       fled        to     Maryland           and       eventually             Pennsylvania.                In     his


confession             he    discusses           his       actions          with    Cecelia        and       asks     for


forgiveness.


                                                           III.


                                        SUbNARY       OF APPLICABLE LAW



          Same             transaction               contextual              evidence             is         evidence

reflecting             the         context           in    which        a     criminal           act        occurred

recognizing            that       events        do not      occur       in    a    vacuum     and       a    jury has

a    right      to     hear       what        occurred       immediately            before        and       after    the




                                                                                                                            652
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offense        in    order to                realistically              evaluate       the evidence.              Rules      of


Evidence            Rule          404       b.          To    be   admissible          under       rule        prohibiting

evidence        of other                crimes           wrongs         or acts       to    prove       character       of    a


defendant                to        show           action           in     conformity               therewith            same

transaction              contextual                 evidence           must    be    necessary           to    the     jurys

understanding                     of        the      offense.           Necessity            required            for    same

transaction               contextual                 evidence           to      be    admissible               under    rule


prohibiting evidence                           of       other      crimes           wrongs        or     acts    to    prove

character           of        a   defendant              to    show     action        in    conformity           therewith

can    exist        either              because          1 several             offenses           are    so     intermixed


or     connected                   as       to       form          a    single             indivisible            criminal


transaction               such          that       in    narrating        the        one     it    is    impracticable

to     avoid        describing                    the        other       or     2      the        same        transaction


contextual           evidence                 tends           to   establish          some    evidentiary fact

such     as     motive                 or     intent.          Rules      of        Evidence            Rule     404    b.
McDonald            V.            State            148         S.W.3d         598      Tex.App.-Houston                   14

Dist.2004



        WHEREFORE PREMISES                          CONSIDERED            the       State    prays       that


Defendants           Motion              to      Suppress          evidence         be denied.


                                                     Respectfully submitted




                                                     JACK ROADY


                                                     Criminal District                 Attorney




                                                                                                                                  653
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                                       Donna    W.     Cameron First Assistant

                                       Criminal District             Attorney

                                       600    59TH    Street Suite 1001

                                       Galveston           Texas    77551


                                       409      766-2360


                                       FAX       409        765-2914


                                       SBOT          03675050




                                Certificate           of   Service




            I    hereby      certify that       a    true       and correct     copy   of   the


foregoing       has   been    served   on Robert           K.    Loper attorney        for Robert


Stevens         by hand      delivery on this the lrh day                     of January     2011.




                                                                 Donna   W.    Cameron




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